Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 1 of 218 PageID 197




                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  ------------------------------------------------------------------- X

 MAURICE SHNAIDER,
                                                                          Case No: 8:24-cv-01067-MSS-
 LIMOR ROM, individually and as personal                                  SPF
 representative of the ESTATE OF
 JONATHAN ROM a/k/a Yonatan Rom,                                          AMENDED
                                                                          COMPLAINT
 TOMER ROM, individually and as personal
 representative of the ESTATE OF
 JONATHAN ROM a/k/a Yonatan Rom,

 ALONA MIRIAM ROM,

 NOAM ROM,

 ETHAN KESSLER HALLEY a/k/a Eitan
 Kessler Halley,

 ADAM FISCHER HALLEY,

 WENDY KESSLER HALLEY,

 BOAZ KESSLER HALLEY,

 SADIE KESSLER HALLEY,

 JANE KESSLER,

 ROBERT KESSLER,

 HAL DAVID LUBIN, individually and as
 personal representative of the ESTATE OF
 ROSE IDA LUBIN, and as the father and
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 2 of 218 PageID 198




 natural guardian of L.Z.L., J.H.L., and I.E.L.,
 minors,

 ROBIN LYNN LUBIN, individually and as
 personal representative of the ESTATE OF
 ROSE IDA LUBIN, and as the mother and
 natural guardian of L.Z.L. and J.H.L., minors,

 ALEC MEYER LUBIN,

 EVE LAPIDES LUBIN MARX,

 NATHAN LUBIN,

 ALAN HOWARD HALPERN,

 HELLENE KALSIH TRAUB,

 ELAD MOSHE SAADON, individually and as
 personal representative of the ESTATE OF
 HALLEL SHMUEL SAADON, and as the
 father and natural guardian of N.Y.S., S.Y.S.
 and O.I.S., minors,

 DVORA BATYA SAADON, individually and
 as personal representative of the ESTATE OF
 HALLEL SHMUEL SAADON, and as the
 mother and natural guardian of N.Y.S., S.Y.S.,
 and O.I.S., minors,

 TAMIR AHARON SAADON,

 HARVEY SOLOMON LIPNICK a/k/a Chaim
 Shabtai Livneh,

 GEULA SADUN,




                                     -2-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 3 of 218 PageID 199




 AILEEN GREENBERG a/k/a Hana
 Greenberg,

 HAROLD M. GREENBERG a/k/a Aharon
 Mordechai Greenberg,

 YONAH CHAVA LANDAU ZENILMAN,
 individually and as personal representative of
 the ESTATE OF ARI YEHIEL WEINSOFF
 ZENILMAN, and as the mother and natural
 guardian of A.D.Z., T.C.Z., M.N.Z, minors,

 LISA MARTA WEINSOFF,

 ROBERT ALAN ZENILMAN, ELI DOV
 WEINSOFF ZENILMAN,

 YONATAN MEIR WEINSOFF ZENILMAN,

 EITAN PINCHAS ZENILMAN,

 SHIRA RONIT ZENILMAN BRULL,

 ISAAC MARGULIES,

 JACOB MARGULIES,

 ELLYN MARGULIES,

 SIMON MARGULIES,

 ASHER SOLOMON MARGULIES,

 NICHOLAS ALBERT MERKIN, individually
 and as the father and natural guardian of
 I.T.M., minor,




                                     -3-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 4 of 218 PageID 200




 SHARON CELINE STEIN, individually and
 as the mother and natural guardian of I.T.M.,
 minor,

 JONATHAN DOV MERKIN,

                         -and-

 EYTAN LOUIS MERKIN,

                           Plaintiffs,

                     -against-

 AMERICAN MUSLIMS FOR PALESTINE,

 AMERICANS FOR JUSTICE IN
 PALESTINE EDUCATIONAL
 FOUNDATION,

 U.S. PALESTINIAN COMMUNITY
 NETWORK,

 NATIONAL STUDENTS FOR JUSTICE IN
 PALESTINE,

 STUDENTS FOR JUSTICE IN
 PALESTINE CHAPTERS1,

 WITHIN OUR LIFETIME,

 CODEPINK,

 HATEM BAZIAN,

 OSAMA ABUIRSHAID,


      1 Each defendant Chapter of Students for Justice in Palestine is listed on Exhibit 1.




                                            -4-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 5 of 218 PageID 201




 ZAREFAH BAROUD,

 MAGDI ODEH,

 RAFEEQ JABER,

 HATEM ABUDAYYEH,

 TAHER HERZALLAH,

 SALEH SARSOUR,

 SHAKEEL SAYED,

 MUNJED AHMED,

 NERDEEN KISWANI,

                                -and-

 ABDULLAH AKL,

                                   Defendants.

  ------------------------------------------------------------------- X



        Plaintiffs, complaining of Defendants, by their attorneys, THE

BERKMAN LAW OFFICE, LLC, allege for their complaint, upon information

and belief, as follows:


                                 PRELIMINARY STATEMENT
        1.       This is a Complaint for damages under the federal Anti-Terrorism

Act, 18 U.S.C. § 2333 (the “ATA”), as amended by the Justice Against Sponsors


                                                       -5-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 6 of 218 PageID 202




of Terrorism Act (“JASTA”),2 Pub. L. No.114-222 (2016), on behalf of American

citizens who were killed or injured as a result of Hamas’s brutal killing spree

throughout Southern Israel on October 7, 2023, and their families (the

“October 7 Attacks”).

      2.    Plaintiffs seek to hold accountable American Muslims for

Palestine; Americans for Justice in Palestine Educational Foundation; U.S.

Palestinian Community Network; National Students for Justice in Palestine;

Students for Justice in Palestine chapters; Within Our Lifetime; CodePink;

Hatem Bazian; Osama Abuirshaid; Zarefah Baroud; Magdi Odeh; Rafeeq

Jaber; Hatem Abudayyeh; Taher Herzallah; Saleh Sarsour; Shakeel Sayed;

Munjed Ahmed; and Nerdeen Kiswani (collectively, “Defendants”) for their

egregious acts in conspiring with, aiding and abetting, and providing material

support to the Islamic Resistance Movement (“Hamas”)—a designated Foreign

Terrorist Organization (“FTO”)—in its commission of acts of international

terrorism as defined by 18 U.S.C. § 2331.

      3.    Terror organizations like Hamas rely on extensive influence,

widespread social media reach, and proficient, clandestine public relations

strategies in order to establish a vast network necessary to perpetrate

abhorrent acts of terrorism. This wide web of terrorism is crucial for achieving


      2  JASTA provides a civil remedy for anyone “injured…by reason of an act of
international terrorism.” 18 U.S.C. § 2333(a).


                                       -6-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 7 of 218 PageID 203




their goals of intimidation, coercion, and influence. For over 20 years,

Defendants have been helping Hamas promulgate its murderous agenda and

infiltrate American universities, creating effective and efficient arms of

material support, while adeptly concealing their direct links to these arms.

       4.     Hamas is deliberate about spreading its web of influence to the

United States and has acknowledged the importance of its supporters in the

United States to effectuate Hamas’s terrorist goals. In the words of a senior

Hamas official—Bassem Naim—referencing the extensive support received by

Hamas through student protest movements on college campuses in recent

months:

        “We in the Hamas movement believe that any popular movement demanding an end
to the aggression and genocide against our people are useful and supportive activities for our
cause.”3
       5.     The present Complaint demonstrates how Hamas has, over the

last two decades, covertly extended its terrorist influence on college campuses

in the United States, thanks to Defendants’ support and assistance, and

established a student arm of Hamas to facilitate intimidation tactics, coercion

policies, and spread its terrorist agenda among malleable college students.




       3
         Tom O’Connor, Hamas Slams US Crackdown on Pro-Palestinian College Protests,
Newsweek, April 24, 2024, https://www.newsweek.com/hamas-slams-us-crackdown-pro-
palestinian-college-protests-1893962 (last visited Jul 1, 2024).



                                             -7-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 8 of 218 PageID 204




      6.     Defendant American Muslims for Palestine (“AMP”) is the

successor organization in the United States to organizations that have been

designated as terrorist organizations. Americans for Justice in Palestine

Educational Foundation (“AJP”) is the fiscal sponsor of AMP. AMP supports

Hamas and facilitates Hamas’s terrorist influence across the United States.

AMP and U.S. Palestinian Community Network (“USPCN”) are co-founders of

National Students for Justice in Palestine (“National SJP”), which was

established to facilitate the spread of Hamas’s influence in college campuses.4

      7.     National SJP is the terror-linked, violence-promoting, national

umbrella network comprising more than 200 university chapters of Defendant

Students for Justice in Palestine (all chapters collectively referred to as “SJP”)

across the United States. Defendant Within Our Lifetime (“WOL”) is an

offshoot of SJP. Defendant CodePink is a purported non-profit which supports

SJP in many of its violent endeavors.

      8.     Individual defendants Hatem Bazian, Osama Abuirshaid, Zarefah

Baroud, Magdi Odeh, Rafeeq Jaber, Hatem Abudayyeh, Taher Herzallah,

Saleh Sarsour, Shakeel Sayed, Munjed Ahmed, Nerdeen Kiswani, and

Abdullah Akl have all conspired with Hamas’s terrorist enterprise through




      4 Exhibit 2 includes a list of all organizations referenced in this Complaint, including

their acronyms.


                                            -8-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 9 of 218 PageID 205




their establishment of or participation in activities with one or more of the

Defendants, AMP/AJP, USPCN, CodePink, National SJP, SJP, and WOL.

      9.     By spreading Hamas’s terrorist agenda to the United States and

establishing a student arm of Hamas to serve in the United States as its

alter-ego, Defendants have: (a) knowingly conspired with and aided and

abetted     Hamas—a    designated    Foreign   Terrorist   Organization—that

committed grave acts of international terrorism as defined by 18 U.S.C. § 2331;

(b) provided material support and resources to Hamas—a designated Foreign

Terrorist Organization—in the commission of such acts of international

terrorism.

      10.    Defendants all share a common objective with, aided and abetted,

and conspired with Hamas to commit international acts of terrorism in

violation of 18 U.S.C. § 2333. Further, Defendants provided material support

to Hamas in violation of 18 U.S.C. § 2339B. As a result, Defendants are civilly

liable under § 2333 of the ATA to Plaintiffs, who have suffered injury to their

person, property and/or business by reason of Hamas’s acts of international

terrorism.

                       JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 1367 which provides for federal question and

supplemental jurisdiction over all claims related thereto. 18 U.S.C. §§ 2333


                                      -9-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 10 of 218 PageID 206




 and 2334 provides for jurisdiction over civil actions brought by citizens of the

 United States, their estates, survivors, and heirs who have been killed or

 injured by reason of acts of international terrorism.

       12.   Venue is proper in this Court under 18 U.S.C. § 2334(a) because

 Defendant Florida State University SJP, Defendant University of Florida,

 Gainesville SJP, and Defendant University of South Florida SJP are located

 within the Middle District of Florida.

       13.   This Court has personal jurisdiction over non-resident co-

 conspirators pursuant to Fla. Stat. Ann. § 48.193(1)(a)(2) because overt acts in

 furtherance of the conspiracy have occurred in the Middle District of Florida.

 Schrier v. Qatar Islamic Bank, 632 F.Supp.3d 1335, 1351-52 (S.D. Fla.

 September 30, 2022).

       14.   This matter is properly placed in the Tampa Division as the

 University of South Florida is in Tampa and University of South Florida SJP

 is in Hillsborough.

                                THE PARTIES

 I.    The Plaintiffs
       15.   Plaintiff Maurice Shnaider at all times relevant hereto, is and was

 an American citizen domiciled in New York and the brother of Margit

 Silverman, deceased, brother-in-law of Yosi Silverman, deceased, uncle of Shiri




                                       -10-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 11 of 218 PageID 207




 Bibas and Yarden Bibas, and great uncle of Kfir and Ariel Bibas, who were

 kidnapped by Hamas on October 7 and remain in Gaza.

       16.   Plaintiff Limor Rom at all times relevant hereto, is the mother,

 heir, and personal representative of the estate of decedent Jonathan Rom a/k/a

 Yonatan Rom, an American citizen. Plaintiff Limor Rom brings this action

 individually and on behalf of the estate of Jonathan Rom.

       17.   Plaintiff Tomer Rom at all times relevant hereto, is the father,

 heir, and personal representative of the estate of decedent Jonathan Rom a/k/a

 Yonatan Rom, an American citizen. Plaintiff Tomer Rom brings this action

 individually and on behalf of the estate of Jonathan Rom.

       18.   Plaintiffs Alona Miriam Rom and Noam Rom at all times relevant

 hereto are the siblings of decedent Jonathan Rom.

       19.   Plaintiff Ethan Halley a/k/a Eitan Halley, who was severely

 injured in a Hamas terrorist attack, at all times relevant hereto, is an

 American citizen domiciled in Israel, son of plaintiffs Wendy Kessler Halley

 and Adam Fischer Halley, sibling to plaintiffs Boaz Kessler Halley and Sadie

 Kessler Halley, and grandson to plaintiffs Jane Kessler and Robert Kessler.

       20.   Plaintiff Adam Fischer Halley is an American citizen domiciled in

 Israel and the father of plaintiffs Ethan Halley, Boaz Kessler Halley, and Sadie

 Kessler Halley.




                                       -11-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 12 of 218 PageID 208




       21.   Plaintiff Wendy Kessler Halley is an American citizen domiciled in

 Israel and the mother of plaintiffs Ethan Halley, Boaz Kessler Halley, and

 Sadie Kessler Halley.

       22.   Plaintiffs Boaz Kessler Halley and Sadie Kessler Halley at all

 times relevant hereto are American citizens and the siblings of plaintiff Ethan

 Halley.

       23.   Plaintiffs Jane Kessler and Robert Kessler at all times relevant

 hereto are American citizens, parents of plaintiff Wendy Kessler Halley, and

 grandparents of plaintiffs Ethan Halley, Boaz Kessler Halley and Sadie

 Kessler Halley.

       24.   Plaintiff Hal David Lubin at all times relevant hereto, is an

 American citizen domiciled in Georgia and the father, heir, and personal

 representative of the estate of decedent Rose Ida Lubin, an American citizen.

 Plaintiff Hal David Lubin is the father of plaintiffs Alec Meyer Lubin, L.Z.L.,

 J.H.L., and I.E.L. Plaintiff Hal David Lubin brings this action individually, on

 behalf of the estate of Rose Ida Lubin, and as natural guardian of his minor

 children, plaintiffs L.Z.L., J.H.L., and I.E.L.

       25.   Plaintiff Robin Lynn Lubin at all times relevant hereto, is an

 American citizen domiciled in Georgia and the mother, heir, and personal

 representative of the estate of decedent Rose Ida Lubin. Plaintiff Robin Lynn

 Lubin is the mother of plaintiffs Alec Meyer Lubin, L.Z.L., and J.H.L. Plaintiff


                                        -12-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 13 of 218 PageID 209




 Robin Lynn Lubin brings this action individually, on behalf of the estate of

 Rose Ida Lubin, and as natural guardian of her minor children, plaintiffs L.Z.L.

 and J.H.L.

       26.    Plaintiffs Alec Meyer Lubin, I.E.L, L.Z.L., and J.H.L. at all times

 relevant hereto are American citizens and the siblings of decedent Rose Ida

 Lubin.

       27.    Plaintiffs Eve Lapides Lubin Marx, Nathan G. Lubin, Alan

 Howard Halpern, and Hellene Kalsih Traub at all times relevant hereto are

 American citizens, and grandparents of decedent Rose Ida Lubin.

       28.    Plaintiff Dvora Batya Saadon at all times relevant hereto, is an

 American citizen domiciled in Israel and the mother, heir, and personal

 representative of the estate of decedent Hallel Shmuel Saadon, an American

 citizen. Plaintiff Dvora Batya Saadon is the mother of plaintiffs Tamir Aharon

 Saadon, N.Y.S., S.Y.S., and O.I.S. Plaintiff Dvora Batya Saadon brings this

 action individually, on behalf of the estate of Hallel Shmuel Saadon, and as

 natural guardian of her minor children, plaintiffs N.Y.S., S.Y.S., and O.I.S.

       29.    Plaintiff Elad Moshe Saadon at all times relevant hereto, is the

 husband of plaintiff Dvora Batya Saadon and the father, heir, and personal

 representative of the estate of decedent Hallel Shmuel Saadon. Plaintiff Elad

 Moshe Saadon is the father of plaintiffs Tamir Aharon Saadon, N.Y.S., S.Y.S.,

 and O.I.S. Plaintiff Elad Moshe Saadon brings this action individually, on


                                       -13-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 14 of 218 PageID 210




 behalf of the estate of Hallel Shmuel Saadon, and as natural guardian of his

 minor children, plaintiffs N.Y.S., S.Y.S., and O.I.S.

       30.   Plaintiffs Tamir Aharon Saadon, N.Y.S., S.Y.S., and O.I.S. at all

 times relevant hereto are American citizens and the siblings of decedent Hallel

 Shmuel Saadon.

       31.   Plaintiff Harvey Solomon Lipnick a/k/a Chaim Shabtai Livneh at

 all times relevant hereto is an American citizen, the father of plaintiff Dvora

 Batya Saadon, and grandfather of decedent Hallel Shmuel Saadon.

       32.   Plaintiff Geula Sadun at all times relevant hereto is the mother of

 plaintiff Elad Moshe Saadon and grandmother of decedent Hallel Shmuel

 Saadon.

       33.   Plaintiffs Aileen Greenberg a/k/a Hana Greenberg and Harold M.

 Greenberg a/k/a Aharon Mordechai Greenberg at all times relevant hereto

 were and are American citizens and great grandparents of decedent Hallel

 Shmuel Saadon.

       34.   Plaintiff Yonah Chava Landau Zenilman, at all times relevant

 hereto, is an American citizen domiciled in Israel and the wife, heir, and

 personal representative of the estate of decedent Ari Yehiel Weinsoff Zenilman,

 an American citizen. Plaintiff Yonah Chava Landau Zenilman is the mother of

 plaintiffs A.D.Z., T.C.Z. and M.N.Z. Plaintiff Yonah Chava Landau Zenilman

 brings this action individually, on behalf of the estate of Ari Yehiel Weinsoff


                                       -14-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 15 of 218 PageID 211




 Zenilman, and as natural guardian of her minor children, plaintiffs A.D.Z.,

 T.C.Z. and M.N.Z.

       35.   Plaintiffs A.D.Z., T.C.Z. and M.N.Z., at all times relevant hereto

 are the children of decedent Ari Yehiel Weinsoff Zenilman and plaintiff Yonah

 Chava Landau Zenilman.

       36.   Plaintiffs Lisa Marta Weinsoff and Robert Alan Zenilman, at all

 times relevant hereto, are American citizens and parents of decedent Ari

 Yehiel Weinsoff Zenilman.

       37.   Plaintiffs Eli Dov Weinsoff Zenilman, Yonatan Meir Weinsoff

 Zenilman, Eitan Pinchas Zenilman and Shira Ronit Zenilman Brull, at all

 times relevant hereto, are American citizens and siblings of decedent Ari

 Yehiel Weinsoff Zenilman.

       38.   Plaintiff Isaac Margulies, who was severely wounded in a Hamas

 terrorist attack, at all times relevant hereto, is an American citizen domiciled

 in Israel, son of plaintiffs Jacob Margulies and Ellyn Margulies and sibling to

 plaintiffs Simon Margulies and Asher Solomon Margulies.

       39.   Plaintiff Jacob Margulies is an American citizen domiciled in

 Illinois and the father of plaintiffs Isaac Margulies, Simon Margulies, and

 Asher Solomon Margulies.




                                       -15-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 16 of 218 PageID 212




       40.    Plaintiff Ellyn Margulies is an American citizen domiciled in

 Illinois and the mother of plaintiffs Isaac Margulies, Simon Margulies, and

 Asher Solomon Margulies.

       41.    Plaintiffs Simon Margulies and Asher Solomon Margulies at all

 times relevant hereto are American citizens and the siblings of plaintiff Isaac

 Margulies.

       42.    Plaintiff I.T.M., who was severely injured in a Hamas terrorist

 attack, at all times relevant hereto, is an American citizen domiciled in Israel,

 son of plaintiffs Nicholas Albert Merkin and Sharon Celine Stein and sibling

 to plaintiffs Jonathan Dov Merkin and Eytan Louis Merkin.

       43.    Plaintiff Nicholas Albert Merkin is an American citizen domiciled

 in Israel and the father of plaintiffs I.T.M., Jonathan Dov Merkin, and Eytan

 Louis Merkin. Plaintiff Nicholas Albert Merkin brings this suit individually

 and as natural guardian of his minor child plaintiff I.T.M.

       44.    Plaintiff Sharon Celine Stein is an American citizen domiciled in

 Israel and the mother of plaintiffs I.T.M., Jonathan Dov Merkin, and Eytan

 Louis Merkin. Plaintiff Sharon Celine Stein brings this suit individually and

 as natural guardian of her minor child plaintiff I.T.M.

       45.    Plaintiffs Jonathan Dov Merkin and Eytan Louis Merkin, at all

 times relevant hereto, are American citizens and the siblings of plaintiff I.T.M.




                                       -16-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 17 of 218 PageID 213




 II.   The Defendants
       46.   American Muslims for Palestine (“AMP”) is an association initially

 founded in Illinois with national headquarters in Falls Church, Virginia. It

 lists as its address 6404 Seven Corners Place, Ste. N, Falls Church, VA 22044.

       47.   Americans for Justice in Palestine Educational Foundation

 (“AJP”), doing business as American Muslims for Palestine, is a 501(c)(3) tax-

 exempt organization incorporated in California and located at 6404 Seven

 Corners Place, Suite N, Falls Church, VA 22044-2034. AJP is the fiscal sponsor

 for AMP.

       48.   U.S. Palestinian Community (“USPCN”) was founded in 2007.

 USPCN is an affiliate of Popular Front for the Liberation of Palestine, a

 Foreign Terrorist Organization.

       49.   Defendant SJP is an association of more than 200 university

 campus chapters. Each Defendant chapter is listed on Exhibit 1.

       50.   Defendant National SJP was founded in 2010 by leaders of AMP

 and USPCN, two organizations linked to U.S.-designated terror organizations.

 Defendant National SJP is an umbrella organization comprised of all of the

 Defendant SJP chapters.

       51.   Defendant CodePink is a 501(c)(3) tax-exempt organization with a

 mailing address listed as 578 Washington Blvd, #395, Marina Del Rey, CA

 90292.


                                      -17-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 18 of 218 PageID 214




       52.   Within Our Lifetime (“WOL”) was previously known as NYC

 Students for Justice in Palestine until 2018 when co-founder and former chair

 of NYC SJP, Defendant Nerdeen Kiswani, rebranded the group as Within Our

 Lifetime.

       53.   Defendant Hatem Bazian is a founding member of AMP and the

 founder of SJP. He is the chairman of the AMP national board.

       54.   Defendant Osama Abuirshaid is the Executive Director and board

 member of AMP.

       55.   Defendant Zarefah Baroud serves as the Digital Media Associate

 of AMP, producing propaganda for later dissemination among SJP chapters.

 Ms. Baroud’s father is Ramzy Baroud, a scholar at the Center for Islamic and

 Global Affairs (“CIGA”), a Turkish “think tank” that hosts conferences

 attended by Hamas and Muslim Brotherhood leadership. Mr. Baroud is also

 the Editor-in-Chief of The Palestine Chronicle, a newspaper controlled by a

 U.S.-based nonprofit that employed a Hamas operative caught holding three

 Israeli hostages. Defendant Zarafeh Baroud resides with her father in Seattle.

       56.   Defendant Magdi Odeh is a founder of USPCN and AMP.

       57.   Defendant Rafeeq Jaber is a founder of USPCN. He was a speaker

 at AMP’s inaugural conference in 2006 and is a regular speaker at AMP

 conferences.




                                      -18-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 19 of 218 PageID 215




       58.   Defendant Hatem Abudayyeh served as the first director of

 USPCN and currently leads the organization as the national chair.

       59.   Defendant Taher Herzallah is the Associate Director of Outreach

 and Community Organizing for AMP and serves as AMP’s liaison to SJP and

 as a liaison between SJP chapters across the country.

       60.   Defendant Saleh Sarsour is an AMP board member. Salah Sarsour

 was the chairman of the 2006 convention where AMP was formed. Salah

 Sarsour is AMP’s chapter coordinator and an important fundraiser. His

 business, Prime Furniture, sponsored AMP conventions and events, including

 the very first convention in 2006.

       61.   Defendant Shakeel Sayed is an AMP board member.

       62.   Defendant Munjed Ahmed is an AMP board member.

       63.   Defendant Nerdeen Kiswani is the chairperson and co-founder of

 Defendant, Within Our Lifetime. Kiswani was an organizer and president of

 the City University of New York School of Law’s chapter of SJP. She was also

 co-founder and chair of NYC SJP which was renamed Within Our Lifetime.

 She was also the vice president and former president of SJP at Hunter College

 and at the College of Staten Island.

       64.   Defendant Abdullah Akl is a WOL organizer and also serves as the

 Director of Advocacy & Civic Engagement for the Muslim American Society.




                                        -19-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 20 of 218 PageID 216




                         FACTUAL ALLEGATIONS

             The State of Israel Is Created and a Terror Front Is
                             Formed to Destroy It
       65.    The United Nations adopted the UN Partition Resolution in

 November 1947, which envisioned the creation of a Jewish State and an Arab

 State and was followed by the Declaration of the Independence of the State of

 Israel on May 14, 1948. The State of Israel was immediately recognized as a

 sovereign state by the United States and admitted as a full member-state of

 the United Nations. Nonetheless, since 1947, several Arab states and

 Palestinian terror groups have fought wars with Israel, rejected its right to

 exist, and sought to destroy its very existence. These Palestinian terror groups

 have used every means available, including, but not limited to, war, suicide

 bombings, kidnappings, hijackings, economic and academic boycotts, and the

 launching of rocket barrages into the State of Israel.

       66.    Following the signing of the Oslo Accords between Israel and the

 Palestine Liberation Organization (“PLO”) in 1993, the Palestinian National

 Authority (“PA”) was created and was given quasi-governmental responsibility

 for the administration of certain areas of land located in the West Bank of the

 Jordan River and in Gaza.

       67.    The Arab-Palestinian radical rejectionist terror groups Hamas,

 Popular Front for the Liberation of Palestine (“PFLP”), Palestinian Islamic



                                       -20-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 21 of 218 PageID 217




 Jihad (“PIJ”), and others have not recognized Israel as a sovereign nation-

 state. These violent rejectionist groups banded together with others to form a

 rejectionist terror front, which continues to this day against the peace process,

 against Israel, and against people residing in and visiting the State of Israel.

        68.     Over the years, this terror front has spread globally, including to

 the United States. Referring to this global terror outreach, Hamas, in a recent

 article on the website of its military wing, the al-Qassam Brigades, states:

        69.     “In the context of talking about the soft power here of the

 Palestinian resistance, we say very clearly: It has transcended Palestinian

 geography to reach the entire global geography, and perhaps no liberation

 movement during the past four decades has received such solidarity and desire

 for support.”5

        70.     This transcension is exemplified by an Instagram post from April

 19, 2024, in which a woman in New York City near a Columbia University

 protest, donning a Keffiyeh, passionately declares, “We are Hamas! Yes! We’re

 all Hamas, pig! Long live Hamas!”6




        5   “The most important industry... the Palestinian fighting human industry” by
 Mahmoud Al-Rantisi, 01-25-2024, www.alqassam.ps/arabic/‫أخبار‬-‫تقارير‬-‫( القسام‬Arabic translated
 using Google Translate).
        6    Jewish    Breaking   News   @Jewishbreakingnews   ,   INSTAGRAM,
 https://www.instagram.com/reel/C55y2UVNuLy/?igsh=MWd2aGt2ZjI3MjFmaQ==


                                             -21-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 22 of 218 PageID 218




       Hamas Is a Global Movement Founded with the Mission of
                          Destroying Israel
       71.   In 1986, a secret meeting took place in Hebron consisting of seven

 people - Sheik Ahmed Yassin, Muhammad Jamal al-Natsheh, Jamal Mansour,

 Sheikh Hassan Yousef, Mahmud Muslih, Jamil Hamami and Ayman Abu

 Taha- at which the Palestinian Islamic Resistance Movement (“Hamas”) was

 born.7 Hamas was as an offshoot of the Muslim Brotherhood, a radical Islamic

 group founded in Egypt before World War II. Hamas ignited the outbreak of

 the first intifada, a Palestinian attack against Israel. Hamas is blatantly

 antisemitic and preaches anti-Israel propaganda. Hamas’s charter calls for the

 destruction of Israel and the establishment of Islamic rule in all of Israel, Gaza,

 and the West Bank. Hamas is also extremely anti-American and rejects

 achieving a peaceful resolution between Israel and the Palestinians.

       72.   Hamas is divided into three interconnected wings: (1) a political

 organization; (2) Hamas’s social service component (the “Da’wa”); and (3) a

 military operational wing known as the Izz-al-Din al-Qassam Brigades.

 Although these components have separate responsibilities, the Hamas

 organization operates seamlessly, with each component working together to

 conduct and support the military operations and achieve the illegal objectives

 of the terrorist group as a whole.


       7 Son of Hamas, by Mosab Hassan Yosef (2010, 2011)




                                         -22-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 23 of 218 PageID 219




       73.   Hamas works in full cooperation at many levels with the other

 Gaza-based FTOs, such as the PIJ. There is little to nothing that happens in

 Gaza that Hamas does not know about, approve of, and support as it was, prior

 to October 7, 2023, in total control of Gaza.

       74.   Under Hamas’s rule, rocket fire aimed at the State of Israel from

 Gaza dramatically increased to such a degree that three counter-terror

 military operations (2008-2009, 2012, and 2014) were carried out by Israel to

 halt the rocket launches. Moreover, Hamas has regularly and repeatedly

 violated cease fires reached or brokered by others with Israel.

       75.   Hamas siphons significant sums of money from charitable

 organizations and routes significant sums of money that it collects for

 charitable and humanitarian purposes to terrorist and military uses. Even the

 funds utilized for charitable purposes free up other funds for specific terrorist

 acts. Hamas uses funds purportedly collected for charitable purposes

 (including funds of the United Nations Relief and Work Agency for Palestine

 Refugees in the Near East (“UNRWA”)) to, among other things, provide

 weapons, explosives, the building of terror tunnels, weapons storage,

 safehouses for and transportation of operatives, training, and salaries for its

 terrorist operatives and recruiters.

       76.   Funds siphoned from allegedly reputable charitable organizations

 and non-governmental organizations, as well as non-reputable ones, such as


                                        -23-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 24 of 218 PageID 220




 UNRWA, directly support Hamas’s military operations, including the

 launching of rockets and incendiary terror offensives. These funds also support

 Hamas’s propaganda activities, which increase its fundraising, attract terror

 activists as recruits, broaden their influence and coercion, enhance their

 communication and public relations, spread their hate and their mandate,

 provide them international media and social media credibility and support,

 and promote Defendants National SJP and SJP antisemitic initiatives.

        77.    Hamas is a self-described global movement and anti-United

 States. A quote in an article on the Hamas military wing’s website states that

 “[t]he Hamas movement is … the hope of the Palestinian people at home and

 abroad…[and] has become the hope of the Arab, Islamic and free peoples in

 this world that suffers from the injustice and oppression of the forces of

 colonialism and tyranny led by the United States of America. Its protégé is the

 Zionist entity state and its allies around the world.”8

        78.    In 2005, Israel unilaterally withdrew from Gaza, leaving it under

 the control of the Palestinian Authority (“PA”). Israel relocated all Israeli

 citizens who had been living in Gaza. The PA and Hamas have consistently

 incited intifadas to attack Israelis and to teach its children to hate and murder



        8“Enthusiasm       and     enthusiasm”        by   Wael     Al-Manama,       12-14-2022,
 www.alqassam.ps/arabic/‫مقاالت‬-‫القسام‬/7406/‫حماس‬-‫( واالنطالقة‬translated from Arabic to English with
 Google Translate) (emphasis added)


                                               -24-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 25 of 218 PageID 221




 Jews. In 2007, Hamas took over Gaza. Since it took control of the Gaza Strip

 in 2007, Hamas has continued to perpetrate countless terrorist attacks against

 Israel and innocent civilians within it, including suicide bombings, rocket

 launches, car bombings, and shootings. Hamas also has publicly represented

 that it intends to continue attacks against Israel until Israel is destroyed.

       79.   On October 7, 2023, a form of terror, not seen since the Holocaust,

 was inflicted by Hamas-controlled Gaza. Hamas launched its most atrocious

 attack yet into Southern Israel, when over 3,000 Hamas terrorists crossed into

 Southern Israel from the Gaza Strip and proceeded to brutally massacre, rape,

 burn alive, torture, and mutilate thousands of people, with 1,200 murdered,

 most of whom were civilians, including infants, women, children, and elderly

 (the “October 7 Attacks”). Hamas simultaneously launched thousands of

 rockets at civilian targets in Israel. During the October 7 Attacks, the terrorists

 kidnapped more than 240 people (including infants and children) and forcibly

 took them into the Gaza Strip where they held them against their will in

 horrific conditions and sexually abused many of the girls, women and men.

       80.   Following the October 7 Attacks, Israel responded with a military

 air and ground campaign in the Gaza Strip with the purpose of destroying

 Hamas’s military capabilities, eliminating or arresting Hamas operatives, and

 rescuing the hostages.




                                        -25-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 26 of 218 PageID 222




               Hamas Is Formally Designated as A Terrorist
                             Organization
       81.   In 1997, the United States Secretary of State designated Hamas

 as a Foreign Terrorist Organization (“FTO”) pursuant to Section 219 of the

 Immigration and Nationality Act and the Antiterrorism and Effective Death

 Penalty Act of 1996. The designation of Hamas as an FTO has been renewed

 every two years since 1997.

       82.   In 2001, Executive Order No. 13224 designated Hamas a

 “Designated Foreign Terrorist Organization.” That Executive Order also

 blocked all property and interests in property of Hamas. Designated entities

 under Executive Order 13224 are so designated if “the Secretary of State, in

 consultation with the Secretary of the Treasury and the Attorney General” has

 determined that they “have committed, or … pose a significant risk of

 committing, acts of terrorism that threaten the security of U.S. nationals or

 the national security, foreign policy, or economy of the United States.”

 Executive Order 13224, § 1(b).


             Palestinian National and Islamic Forces (“PNIF”)
       83.   In 2000, under the authorization of Yasser Arafat and the

 leadership of terrorist Marwan Barghouti, the Palestinian National and

 Islamic Forces (“PNIF”) was formed as a coalition with the purpose of




                                     -26-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 27 of 218 PageID 223




 coordinating the agenda of its members and executing joint attacks against

 Israel.

       84.     PNIF is a coordinating framework for several Palestinian national

 and religious factions, including five designated terrorist organizations:

 Hamas, PFLP, the Popular Front-General Command, PLF, and PIJ. The

 coalition was and remains an actual body of representatives from these

 member organizations, with an official logo and official declarations.

       85.     To this day, terror organizations inside PNIF, including Hamas,

 play a critical leading role in its operations, philosophy, strategic planning, and

 implementation of terror activities against Israel and the Jewish people. PNIF

 is divided on the regional level between the West Bank and Gaza with various

 committees on the district level.

       86.     Hamas is one of the most prominent actors within PNIF in Gaza.

 Senior Hamas figures have served as representatives of the PNIF since its

 inception.


             The BDS and Its Ties to Hamas and Other Terrorists
       87.     During the Second Intifada, Palestinian leadership adopted

 further strategies to embolden their resistance against Israel, including the

 enhanced strategy of boycotting Israel economically, academically, and

 diplomatically. Palestinian groups increased their use of anti-Israel civil

 society diplomacy to undermine Western support for Israel. One of these

                                        -27-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 28 of 218 PageID 224




 groups was the Palestinian Campaign for the Academic and Cultural Boycott

 of Israel (“PACBI”).9 PACBI formed in Ramallah in 2004 as a primarily

 academic-led organization comprising Palestinian professors operating out of

 Birzeit University.10 PACBI set the tone of the Boycott Divestment and

 Sanctions (“BDS”) movement by framing it as a struggle against “colonial

 oppression of the Palestinian people, which is based on Zionist ideology.”11

        88.    “By framing its activism as simultaneously “anti-colonial” and

 opposed to Zionism—which is the belief in and support for a Jewish state in

 Jews’ biblical homeland—PACBI and the BDS campaign embedded an ethno-

 religious conflict within broader left-wing narratives of anti-imperialism.

 Framing BDS within an ‘anti-imperialist’ narrative explains the movement’s

 ability to appeal to progressive Western academia.”12

        89.    On July 9, 2005, more than 170 Palestinian political parties,

 unions, associations, coalitions, and organizations, representing “Palestinian

 refugees, Palestinians under occupation and Palestinian citizens of Israel,” in




        9 See PACBI, Twitter, https://twitter.com/pacbi?lang=en, April 15, 2022

        10 See Diker and Shay, The PACBI Deception: Palestinian Academic and Cultural

 Boycott of Israel (PACBI) Unmasked.
       11 “Call for an Academic and Cultural Boycott of Israel,” Palestinian Campaign for the

 Academic and Cultural Boycott of Israel, July 6, 2004, https://bdsmovement.net/pacbi/pacbi-
 call, accessed April 15, 2022.
         12 The Company They Keep, Organizational and Economic Dynamics of the BDS

 Movement, a report by the National Association of Scholars, by Dr. Ian Oxnevad, April 2023.


                                            -28-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 29 of 218 PageID 225




 furtherance of their planned campaign of terror against Israel, endorsed the

 Boycott Divestment and Sanctions Call (“BDS Call”).

       90.     PNIF—which is comprised of several FTOs, including Hamas—

 backed the BDS Call and facilitated its acceptance by major sectors of

 Palestinian civil society globally. In the months and years following the BDS

 Call, Palestinian civil society activists and pro-Palestinian activists abroad

 began meeting to organize and formalize the BDS campaign globally as

 another means of terror against Israel. As elaborated on below, AMP, National

 SJP and SJP chapters across the United States have adopted the BDS Call and

 have joined in and conspired with the BDS campaign as a means of terror

 against Israel and as a means of materially supporting Hamas.

       91.     In 2007, PACBI helped found the Palestinian BDS National

 Committee (“BNC”), which serves as a coalition of organizations advocating for

 punitive economic measures against Israel.13 Since the founding of the BNC,

 which includes Foreign Terror Organizations, PNIF has been a leading

 member of the BNC, steering its vision and agenda.

       92.     The BNC was established “as the Palestinian coordinating body

 for the BDS campaign worldwide,” with the role of strengthening and




       13   Rosen and Leibovitz, “BDS Umbrella Group Lined to Palestinian Terrorist
 Organizations.”


                                         -29-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 30 of 218 PageID 226




 spreading “boycott as a central form of civil resistance.”14 However, the real

 purpose of the BNC movement is the elimination of Israel as a sovereign

 nation-state.

       93.      PNIF, in several official published statements, called for

 Palestinian civil society “to reinforce national directives to boycott Zionist

 Israeli and American products and especially to boycott normalization

 projects” and for leaders to “sever all political and economic ties with the Israeli

 enemy.”

       94.      However, PNIF not only called on civil society institutions and

 organizations to boycott, but also expressed its desire to partner with them to

 integrate them into the use of terror. Collaboration between PNIF and civil

 society institutions was a strategic decision made by PNIF to expand the use

 of terror and gain widespread popular support globally.

       95.      PNIF’s involvement in the BNC and its significance goes beyond

 paper and its listing as the first member coalition in the BNC. PNIF propelled

 the boycott strategy back in 2000 and pushed the BDS Call to the “higher ups”

 in 2005. PNIF is the official representation of all the political national and

 Islamic factions, without which the BNC would not have the power it has



       14   https://bdsmovement.net/pt/bnc Ma’an Development center, Buycott Divestment
 and    sanction,   Lessons    learned    in    effective solidarity,   https://www.ngo-
 monitor.org/data/images/File/MaanCtr-PalestinianBDS-oct09.pdf


                                           -30-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 31 of 218 PageID 227




 gained in pushing its agenda to use BDS as another form of terror in its quest

 to remove Israel as a sovereign nation-state and to remove the Jewish people

 from the lands of Israel. The BNC itself has referred to PNIF as a key player

 inside the BNC.

       96.   PNIF itself has stated that the BDS campaign against Israel is

 part of the Palestinian national strategy against Israel.

       97.   There is also a PNIF representative on the BNC Secretariat and

 significant overlap in PNIF/BNC personnel, as the organizations are

 intertwined and unified in their commitment to terrorize and demonize Israel

 and to spread that demonization of Israel globally.


         Hamas Has Established a Network in the United States
                  Through a Web of Organizations
       98.   For more than 20 years, Hamas has extended its influence on the

 “free people of the world.” A web of organizations linked to Hamas formed and

 then disappeared in the United States, only to reappear as newly formed

 Hamas-linked organizations shrouded in secrecy to conceal such connections

 to Hamas. The Hamas organizational network in the United States includes

 and incorporates Defendants AMP/AJP, USPCN, National SJP, SJP, WOL,

 and CodePink.

       99.   In 2000, the parents of David Boim, a student who was murdered

 by Hamas operatives as part of a terror attack in Jerusalem, initiated a lawsuit


                                       -31-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 32 of 218 PageID 228




 in the United States District Court for the Northern District of Illinois (the

 “Boim Action”). The Boims brought claims under the civil liability provisions

 of the ATA, 18 U.S.C. § 2333(d)(2).15 Among the defendants in the Boim Action

 were the Holy Land Foundation for Relief and Development (“HLF”), the

 American Muslim Society (“AMS”), and AMS’s alter egos operating under the

 name Islamic Association for Palestine (“IAP”, together with AMS,

 “IAP/AMS”). The Boim Action culminated in a $156 million judgment against

 these organizations under the ATA for providing material support to terrorist

 organizations (the “Boim Judgment”).


 The Holy Land Foundation (HLF)
       100. HLF was founded in Indiana in 1988 as the Occupied Land Fund,

 one year after the founding of Hamas and with funds supplied by a senior

 leader of Hamas, Mousa abu Marzook. HLF was later incorporated in

 California in 1991 and renamed to the Holy Land Foundation. HLF moved to

 Texas in 1992 and was located across the street from the business of Ghassan

 Elashi, Infocom Corporation. Infocom and Elashi were convicted in 2005 for

 dealing in the property of a Specially Designated Terrorist and conspiracy to

 commit money laundering. The violations included sending money to Marzook.




       15 Boim v. Quranic Literacy Institute et al., 127 F. Supp. 2d 1002 (N.D. Ill. 2001).




                                                 -32-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 33 of 218 PageID 229




         101. On December 4, 2001, HLF was designated as a terrorist

 organization, and its assets were frozen by the FBI and Treasury. Treasury

 officials stated that HLF’s primary purpose had been to subsidize Hamas. In

 January 2002, while HLF’s leaders were being investigated by the government,

 HLF’s leaders helped launch and were active in a purportedly new

 organization—KindHearts      for   Charitable    Relief   and    Development

 (“KindHearts”).

         102. KindHearts was nothing more than a new legal entity created to

 front the same pro-Hamas organization first established by HLF nearly two

 decades earlier. KindHearts shared a bank account and employees with HLF.

 IAP raised funds for KindHearts. Future AMP President Hatem Bazian spoke

 at a KindHearts fundraiser in 2004. Former IAP leader and Defendant Osama

 Abuirshaid became a KindHearts fundraiser and organizer after IAP closed

 down.

         103. HLF’s efforts to continue its operations while hiding under a

 different name were ultimately unsuccessful. On February 19, 2006, the

 United States Treasury Department invoked a “Block Pending Investigation”

 and froze the assets of KindHearts, stating that the organization was the

 “progeny” of HLF, and that it provided “support for terrorism behind the facade

 of charitable giving.” KindHearts disbanded in 2011.




                                      -33-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 34 of 218 PageID 230




       104. In 2008, five individuals, including three HLF officers (Shukri Abu

 Baker, Ghassan Elashi and Mohammad El-Mezain), the director of HLF’s New

 Jersey office (Abdulrahman Odeh), and a speaker and entertainer at HLF’s

 fundraising events (Mufid Abdulqader), as well as HLF as an organization

 were convicted of violating the anti-terrorism laws for providing assistance or

 material support to Hamas. In a comprehensive 96-page opinion, the United

 States Court of Appeals for the Fifth Circuit upheld the convictions.16 By the

 time the Fifth Circuit’s decision was handed down, HLF claimed that it had

 ceased to function as a distinct organization.


 The Islamic Association for Palestine (IAP)
       105. An entity or group of persons and entities operating under the

 name “Islamic Association for Palestine” (“IAP”) operated continuously in the

 United States from the time it was established in the early 1980s until it

 closed. In 1981, Khaled Mishal directed the creation of IAP. Khaled Mishal was

 then a senior member of the Muslim Brotherhood in Gaza and from 2004 until

 May 2017 was the leader of Hamas. Khaled Mishal described IAP as one of the

 “first pillars of Hamas.” On August 22, 2003, Khalid Mishal was designated as

 a Specially Designated Global Terrorist. IAP acted as the primary voice and

 propaganda arm for Hamas in the United States. It published Arabic-language



       16 United States v. El-Mezain, 664 F.3d 467 (5th Cir. 2011).




                                               -34-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 35 of 218 PageID 231




 newspapers directed to the Palestinian population in the United States

 advocating     Hamas     doctrines,    it    issued   Hamas     press    releases    and

 communiqués, and published the Hamas charter, which explicitly calls for the

 destruction of Israel and the murder of Jews.

       106. In 1983, Marzook was tasked to strengthen IAP. Marzook

 transferred $150,000 to both IAP and HLF. A native of the Gaza Strip, during

 his time in the U.S., Marzook developed several personal networks and public

 organizations devoted to supporting Hamas in Palestine. On August 29, 1995,

 Marzook was designated by the U.S. Department of the Treasury as a Specially

 Designated Terrorist. He was expelled from the United States in 1997. During

 his deportation hearing, he admitted to being the head of Hamas’s political

 wing in the U.S. After leaving the U.S, Marzook went on to become one of

 Hamas’s most senior leaders.17


 American Muslim Society (AMS)
       107. AMS was incorporated in Illinois in 1993. In 1994, AMS applied

 for the name of “Islamic Association for Palestine in Chicago.” Prior to its

 incorporation, AMS’s principals acted as the local chapter of IAP. The AMS

 group took over leadership of IAP in 1996, with Rafeeq Jaber as its president.



       17 Lorenzo Vidino, The Hamas Networks in America: A Short History, GW program

 on extremism       https://extremism.gwu.edu/sites/g/files/zaxdzs5746/files/2023-10/hamas-
 networks-final.pdf


                                             -35-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 36 of 218 PageID 232




 During the Boim Action, AMS was both the Chicago branch and the national

 office of IAP, and it was the primary voice for Hamas in the United States.

 Although it was formally a separate corporate entity, the Seventh Circuit

 Court of Appeals ultimately determined that AMS was in reality one of the

 various alter egos of the IAP umbrella organization and pursued the same

 objectives and mission.

       108. One of the core missions of IAP/AMS was to promote and facilitate

 funding for Hamas. As explained in a comprehensive summary judgment

 ruling in the Boim Action:

       109. “Turning to the question of whether IAP and AMS desired to help

 Hamas’ activities succeed, and, in fact, engaged in some act [to help] those

 activities succeed, the record contains an abundance of evidence that both of

 these propositions is, in fact, true.”18

       110. IAP/AMS and HLF leaders also established close and consistent

 relations with Hamas leadership in Gaza and the West Bank. In 1988,

 Abdullah Azzam, who founded Al-Qaeda with Osama bin Laden, was the

 featured speaker at the annual IAP conference. Azzam made an impassioned

 plea at the conference to donate funds to Hamas and referred explicitly to

 Sheikh Ahmed Yassin, the terror group’s spiritual leader in Gaza, as a worthy



       18 Boim v. Quranic Literacy Institute, 340 F. Supp. 885, 908 (N.D. Ill. 2004).




                                             -36-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 37 of 218 PageID 233




 recipient of donations. Sheikh Said Mohammed Siyam, one of Hamas’s most

 senior political and military leaders from Gaza and a protégé of Hamas co-

 founder Sheikh Abdel Aziz al-Rantissi, spoke at the 1989 convention.

        111. HLF top fundraiser Mufid Abdelqader was the half-brother of head

 of Hamas’s political bureau Khaled Meshal. Abdelqader and Meshal were the

 cousins of top HLF official Akram Meshal and the brothers of Mufida

 Abdelqader, who married the son of top HLF speaker and fundraiser for

 Hamas Mohammed Siam. A daughter of Siam, Raida, married Islam Siam,

 another HLF official. Shukri Abu Baker was HLF President and CEO and the

 brother of Hamas leader Jamal Issa (Jamal Abu Baker). He was also a member

 of IAP National’s advisory board. Mousa Abu Marzook is the cousin of

 Mohammed El Mezain, who was HLF’s Director of Endowments and his wife,

 Nadia Elashi, is the sister of Ghassam Elashi, HLF’s Chairman of the Board,

 who also set up IAP in California.19

        112. In 2004, individuals openly affiliated with HLF and IAP/AMS

 faced considerable legal peril. By 2005 elements of the United States Hamas

 network (most notably HLF and its principals) had been indicted by the federal

 government for their connections with Hamas. Fawaz Mushtaha, who was an

 IAP board member through 2004, fled the United States; a substantial trove of


        19         https://www.investigativeproject.org/case_docs/us-v-holy-land-foundation/
 2301/hlfs-familial-relationships-to-hamas- leaders-overseas.pdf


                                            -37-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 38 of 218 PageID 234




 Hamas data was found buried in the backyard of his former residence. The

 data was important evidence in the government’s criminal case against HLF.

       113. When time came to pay the Boim Judgment, IAP/AMS and HLF

 claimed to be out of business and to have ceased operations. HLF’s monetary

 assets had been seized by the United States, HLF and several of its leaders

 were subsequently convicted of terrorist activity. IAP/AMS said that they were

 ceasing operations and had few assets left because of the burden of the Boim

 Judgment.


 American Muslims for Palestine (AMP)
       114. At the end of 2005, an organization emerged under a new name,

 “American Muslims for Palestine” (“AMP”), with the same fundamental

 mission and purpose of IAP/AMS. In 2009, AMP leaders incorporated

 Americans for Justice in Palestine (“AJP”) as a Section 501(c)(3) organization

 to provide fundraising capabilities. 20 AJP later became the operating entity for

 the organization and is now doing business as AMP.

       115. Following the Boim Judgment, IAP/AMS and HLF faced intense

 scrutiny from the enforcement proceedings in the Boim Action as well as from

 criminal prosecutions being pursued by the Department of Justice. The timing

 of the formation of AMP coincided precisely with the shutdown of its


       20    “#GazaUnderAttack,”      SalsaLabs,    accessed   November   11,   2023.
 (https://palestine.salsalabs.org/ampdonate2023/index.html)


                                           -38-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 39 of 218 PageID 235




 predecessors, IAP/AMS. The organizers referred to this initial phase of AMP

 on a Yahoo bulletin board as the “transition.” Among the initial organizers of

 the “transition” group were Hatem Bazian and Magdi Odeh. Each had

 previously had a role with IAP/AMS or HLF. At least four individuals who

 worked for or on behalf of HLF went on to work for or on behalf of AMP.

       116. The AMP organization that emerged strikingly replicated the

 IAP/AMS organization that had ostensibly shut down under the burden of the

 Boim Judgment and ongoing criminal prosecutions. AMP ended up with

 largely the same core leadership as IAP/AMS; it serves the same function and

 purpose; it holds nearly identical conventions and events with many of the

 same roster of speakers; it operates a similar “chapter” structure in similar

 geographic locations; it continues to espouse Hamas’s terrorist ideology; and it

 continues to facilitate fundraising for groups that funnel money to Hamas.

 Utilizing and attaching this former IAP/AMS leadership was critical to AMP

 moving forward and achieving success. According to AMP President Hatem

 Bazian, Osama Abuirshaid’s “involvement was a necessity” Abuirshaid was the

 editor of IAP’s newspaper. He is now AMP’s executive director. Former

 IAP/AMS board member and manager Abdelbasset Hamayel testified in Boim

 that he was brought into AMP to “help the organization start functioning,”

 exactly as he had done for IAP/AMS.




                                       -39-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 40 of 218 PageID 236




         117. The new AMP/AJP entities have continued to occupy the same role

 in Hamas’s international fundraising and propaganda network as the

 IAP/AMS organization once held. They continue to maintain the IAP/AMS

 organization’s position as the most prominent Islamic organization in the

 United States acting on behalf of Hamas. AMP resulted from an effort to re-

 create an organization that would continue to play IAP/AMS’s role after

 IAP/AMS shut down.

         118. Some of Abuirshaid’s earlier terrorist connections with IAP/AMS

 include the following:

         -He served on the Preparatory Committee of IAP’s Fourth Annual

         Convention.21

         -He is listed on the 2001 AMS Annual Report as “Newspaper Editor.”22

         -He is listed under “Confirmed Speakers and Moderators” for IAP’s 5th

         Annual Convention.23

         -He served on AMS Board of Directors in 2002.24




 21
    “All Palestine is Sacred,” Islamic Association for Palestine Fourth Annual Convention, Chicago, IL, Nov. 23-25,
 2000 (Conference Program), https://www.investigativeproject.org/documents/438-iap-fourth-annual-convention-
 program.pdf#page=2
 22
    AMS Annual Report (2001), https://www.investigativeproject.org/documents/1113-ams-annual-report-2001.pdf
 23
    “(IAP) 5th Annual Convention: American Muslims: A Bridge of Understanding & Cooperation,” Chicago, Dec.
 21-25, 2001, https://www.investigativeproject.org/documents/1114-iap-5th-annual-convention-chicago-2001.pdf
 24
    “From AMS/IAP,” Fax from Rafeeq to James Fennerty, Oct. 29, 2002,
 https://www.investigativeproject.org/documents/1115-osama-abu-irshaid-uasr-affiliation.pdf
 https://www.investigativeproject.org/documents/misc/815.pdf#page=2 [Note: Jim Fennerty is described in the Dec.
 2001 IAP Convention Program as an attorney and civil rights activist]


                                                       -40-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 41 of 218 PageID 237




          -Starting in June 2002, he worked as an outreach coordinator for AMS

          to coordinate with local chapters for events and assist them with

          fundraising.”25

          -He served as editor of IAP’s Arabic periodical, Al-Zaytouna.26

          119. Defendant, Abuirshaid, now as the executive director of AMP,

 continues to occupy the same roles in Hamas’s network as those he held in the

 IAP/AMS organization. He regularly publishes articles in English and Arabic

 promoting Hamas and has also published interviews that highlight his

 communications with Hamas leader Abu Marzook and other Hamas leaders in

 Gaza.27 In 2014, Abuirshaid was featured in an article on the website of

 Hamas’s self-declared military wing, the al-Qassam Brigades.28 Throughout

 the years, Abuirshaid has tweeted and posted on Facebook his praise and

 support of Hamas.29 On March 22, 2014, Abuirshaid tweeted in Arabic: “[I]f




 25
    Abuirshaid v. United States Citizenship and Immigration Services, et al., “Petition for Review of Denial of
 Application for Naturalization” (E.D. Va.), p. 6, https://mlfa.org/news/american-muslim-leader-takes-oath-of-
 citizenship-after-11-years-of-delays/
 26
    “Osama Abu-Irshaid,” IslamOnline.net, https://archive.is/RPgj2. See also AMS Annual Report (2001).
          27 Osama Abuirshaid, “The dialectic of religion and politics in Hamas’ thought and

 practice,” Loughboro University, March 22, 2013.
        28 Osama Abuirshaid, “ ‫[عرب يمكرون بمقاومة غزة‬Arabs are plotting the Gaza resistance,” Al-

 Qassam (Palestinian ‫مقاالت‬-‫القسام‬/4746/‫عرب‬-/Authority), July 19, 2014. (Archived version
 available at https://www.alqassam.ps/arabic )‫يمكرون‬-‫بمقاومة‬-‫;غزة‬
 https://x.com/JSchanzer/status/1787119908469293316
 29
    Canary Mission, Canary Mission,
 https://canarymission.org/individual/Osama_Abuirshaid (last visited Jul 1, 2024).


                                                        -41-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 42 of 218 PageID 238




 you heard someone who continues to ramble about Hamas ‘divorcing’ the

 resistance, then spit in his face and apologize to your spit for defiling it.”30

            120. In November 2021, Abuirshaid attended a conference in Jordan

 titled “Towards the Features of a New Arab Strategy to Deal with the Arab-

 Israel Conflict” that included representatives from Hamas and the PFLP.31 In

 December 2023, Abuirshaid appeared on Alhiwar.tv expressing support for

 Hamas and Hamas’s desire for “Palestine from the river to the sea.”32

            121. AMP leaders and members have been vocal in the United States

 for their support of Hamas’s terrorist agenda. The Canary Mission put out a

 video with some of the following quotes33:

                 • Hatem Bazian, Chairman and AMP founder, on social media, “The
                   ‘Jewish nation’ is the central myth of Zionism. It needs to be
                   dismantled.”

                 • Naveen Ayesh, Executive Director, AMP Missouri posts on social
                   media, “I want to personally set Israel & all the Israelis in it on
                   fire &watch them burn to ashes. Burn you bastards.”

                 • Mohamad Habehh, Director of Community Outreach, AMP NJ on
                   social media, “Who said Arabs are trained to hate Jews?? What we
                   have towards them is natural.”

 30
      https://x.com/OsamaAbuirshaid/status/447262775325491200
            31   “Head of Palestinian American lobby group joins conference with terror-group
 members,” Jewish News Syndicate,
         December 3, 2021, https://www.jns.org/head-of-palestinian-american-lobby-group-
 joins-conferencewith-terror-group-members/, accessed May 1, 2022.
 32
      https://x.com/ShaiDavidai/status/1738214541324873786
            33 CanaryMission.org/AMPifNotNow




                                                      -42-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 43 of 218 PageID 239




               • Leena Yousef, AMP Chicago activist on social media, “I believe in
                 holocaust. One of my fav [sic] parts of history.” “Remember
                 Hitler?? He shoulda [sic] finished them allllll [sic] off.”

               • Taher Herzallah, Associate Director of Outreach and Grassroots
                 Organizing in a speech, “What if, as Muslims, we wanted to use
                 violent means to resist occupation? Is that wrong?”

           122. AMP frequently hosts conventions which attract thousands of

 people at which terrorist-affiliated speakers are featured. At the 2011 AMP

 convention speakers included, Defendant Rafeeq Jaber, Defendant Taher

 Herzallah, Jamal Said (unindicted co-conspirator in the HLF trial), and Sarah

 Mufid Abdulqader (daughter of one of the convicted HLF members). Munjed

 Ahmad, then AMP vice-chairman, spoke and claimed that AMP is “the means

 to the end. The end is that we will all be in Palestine, a free Palestine …” and

 AMP “is the only organization in the United States that has decided to take

 this challenge under the banner of Islam.”34

           123. On May 22, 2021, Defendant Taher Herzallah of AMP hosted a

 virtual event titled “Palestine, A Continuous Struggle for Liberation.”35 In

 answering a question as to why Hamas is in power and if there is support for




 34 IPT News, American Muslims for Palestine’s Web of Hamas Support [incl. Hatem Bazian],

 Campus Watch, https://www.meforum.org/campus-watch/19673/american-muslims-for-
 palestine-web-of-hamas (last visited Jul 2, 2024).
 35
      https://www.facebook.com/IslamicCenterSD/photos/4428002860543864


                                                    -43-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 44 of 218 PageID 240




 Hamas, Herzallah answered, “Hamas plays an integral role in policy and

 society I think that is just the reality that we have to acknowledge. . . when the

 dust settles and when the history of Palestine is written in a hundred years,

 Hamas will play an integral role in that history.”36

          124. In a December 2023 speech to a San Diego mosque, Defendant

 Herzallah, who runs the outreach program at AMP and acts as a campus

 liaison for the SJP chapters, said, “This is the time to agitate to make Zionists

 feel very uncomfortable on campus – we're not here for their comfort.”37

          125. AMP also frequently sponsors protests in support of Hamas. In a

 rally in Paterson, New Jersey on May 16, 2021, protestors carrying a big

 banner with “Justice for Palestine” and an AMP logo on it were invoking a

 Hamas founder, Ahmed Yassin, and Abu Ubeida, spokesperson for Hamas’s

 military wing, and chanting in Arabic “Abu Ubeida O Beloved, strike, strike

 into Tel Aviv O Zionist O Occupation, we seek no truce nor a solution, the

 Palestinian won't be humiliated,” 38On May 21, 2021, AMP co-sponsored a

 protest in Minneapolis, MN39 where protestors could be heard chanting in

 Arabic, “Put a sword on top of a sword, we are the men of Muhammad Deif

 [head of the military wing of Hamas] O our people, join us, the blood of the



 36
    https://www.facebook.com/IslamicCenterSD/videos/375856873847153 (minute 47)
 37
    https://www.youtube.com/watch?v=rQcu8VRihjU
 38
    https://www.facebook.com/Palestinianamericancommunitycenter/videos/226858442582301
 39
    Fight Back! News, Minneapolis to protest the killings of over 200 Palestinians, Fight Back! News (2021),
 https://fightbacknews.org/articles/minneapolis-protest-killings-over-200-palestinians (last visited Jul 2, 2024).


                                                          -44-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 45 of 218 PageID 241




 martyrs is precious to us The blood of the martyrs is calling out, free my

 homeland Out of Gaza came the decision, Intifada and victory.”40

            126. As detailed in the chart below, the leadership of both IAP/AMS and

 AMP consisted of several individuals which substantially overlapped:




            127. The continuity in leadership between IAP/AMS and AMP is

 obvious and striking. “In typical [Muslim Brotherhood] fashion, IAP, HLF, and

 other entities of the MB/Hamas network in the US were founded and operated

 by a small group of men who for the most part originated from the same towns

 . . ., had long known each other, were often tied to one another by kinship

 and/or business ties, and, most importantly, shared the same adherence to the




 40
      https://www.facebook.com/watch/?v=299369208431008 (translated, minute 2:23)


                                                      -45-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 46 of 218 PageID 242




 MB/Hamas worldview.”41 This same group of men founded AMP in the U.S. to

 continue the Hamas enterprise in the U.S.

        128. AMP is a front and the new name for the same terrorist enterprise

 previously conducted by IAP/AMS. They have inherited and purposefully made

 use of IAP/AMS’s goodwill, knowledge, reputation, networks, donors,

 fundraising capabilities, and other valuable intangible assets to carry out the

 same fundamental mission and activities as IAP/AMS. They have also

 continued IAP/AMS’s informal methods of operation, with no accountability to

 any members; with a small, unelected board of directors that has few formal

 meetings and virtually no minute books or formal resolutions; and a disdain




        41   https://extremism.gwu.edu/sites/g/files/zaxdzs5746/files/2023-10/hamas-networks-
 final.pdf


                                             -46-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 47 of 218 PageID 243




 for basic corporate practices and separateness. In every meaningful respect,

 AMP is nothing more than a disguised continuance of IAP/AMS—stripped of

 the burden of the Boim Judgment and the ignominy of having been found liable

 for aiding and abetting the murder of an American teenager. AMP is the alter

 ego and successor of IAP/AMS and, since its founding, has carried on the

 Hamas conspiracy in the United States.

       129. The IAP/AMS organization’s most valuable and critical assets

 were the intangible assets that enabled it to raise money, propagate its

 message, build its network and power, and achieve its political objectives. The

 constant hard work of the organization and its leaders over two decades had

 made the organization, in IAP National’s words, “the largest Muslim, Arab,

 and Palestinian American grassroots organization dedicated to the cause of

 Palestine.” The IAP/AMS organization’s substantial standing in the

 Palestinian community was untarnished by the fact that it and its partner,

 HLF, and certain of its leaders had been found liable for violation of the ATA.

 The leaders of IAP/AMS were well-connected with Hamas leadership in Gaza,

 which vivified the organization, provided it with legitimacy in its community

 and afforded direction on what political line to adopt. The IAP/AMS

 organization’s valuable intangible assets and connections to Hamas simply

 transitioned to AMP.




                                      -47-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 48 of 218 PageID 244




 https://docs.house.gov/meetings/FA/FA18/20160419/104817/HHRG-114-FA18-

 Wstate-SchanzerJ-20160419.pdf



 US Palestinian Community Network (USPCN)
       130.   US Palestinian Community Network (“USPCN”) was founded in

 2007 by former IAP/AMS members, Rafeeq Jaber, former IAP/AMS president,

 and Magdi Odeh, former IAP employee. Both are listed on USPCN’s

 incorporation documents. USPCN is an affiliate of the PFLP, a Foreign

 Terrorist Organization. Jaber was a founder of AMS and president of IAP, and

 he remained the president and a director of IAP/AMS until the end and


                                     -48-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 49 of 218 PageID 245




 directed the purported wind-up of these organizations in 2004 and 2005.

 Additionally, Hatem Abudayyeh, who served as the first director of USPCN

 and currently leads the organization, was raided by the FBI in 2010 for

 suspected terror financing. He also served as the spokesperson for convicted

 Palestinian terrorist Rasmea Odeh’s Defense Committee.

       131.   The establishment of IAP/AMS and HLF by Hamas-affiliated

 leaders, the financial and other support funneling back and forth between

 these associations and Hamas, the overlapping of terrorist-affiliated

 leadership of IAP/AMS, HLF and AMP and the evolution of defunct IAP/AMS

 and HLF into AMP show how the terror organization, Hamas, operates. For

 decades, Hamas has formed a discreet worldwide web of associations quietly

 working together, conspiring with, and materially supporting the Hamas

 terrorist agenda. As elaborated on below, this worldwide terrorist conspiracy

 web was continued when AMP and USPCN formed National SJP to infiltrate

 the Hamas terrorist agenda into the SJP chapters across the United States

 and to garner support for Hamas from students across the United States to

 form the student arms of Hamas.


 Hamas Is Generously Funded by a Global Network of Terrorism
       132. Hamas’s international funding and support network had its

 origins with the Muslim Brotherhood even before Hamas was founded.

 Beginning in the 1950s, the International Muslim Brotherhood, through its

                                     -49-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 50 of 218 PageID 246




 “Western Brothers,” took root in the United States establishing an intricate

 network of interconnected organizations and activists to promote and fund its

 goals. Among those groups and activists in the United States was the

 “Palestine Committee” established by Brotherhood leaders in Gaza and the

 United States in the 1980s to publicly support and fund the emerging terror

 network.

        133. After Hamas was established in 1987, “[t]he International Muslim

 Brotherhood directed its Palestinian Committees throughout the world,

 including in the United States, to help Hamas.”42 The Palestine Committee

 then created a group of organizations, run by a small group of identifiable

 activists, to fulfill this mandate. These were not membership organizations.

 They were controlled by a small group of self-appointed leaders who paid little

 if any attention to corporate forms or legal requirements. The Palestine

 Committee in the United States established three related entities with distinct

 roles and tasks to carry out the mission of helping Hamas, IAP AMS, and HLF.

 “These three organizations, each operating in its field but all deeply

 interconnected, constituted the public face of the secret structure of the

 [Muslim Brotherhood]/Hamas in America.”43 As internal Palestine Committee


        42 See Order, United States v. Holy Land Foundation, No. 04-CR-00240 (N.D. Tex. May

 24, 2010) [Dkt. 1447, p. 9].
        43 https://extremism.gwu.edu/sites/g/files/zaxdzs5746/files/2023-10/hamas-networks-

 final.pdf


                                           -50-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 51 of 218 PageID 247




 documents obtained by the FBI confirm, IAP and HLF constituted the main

 entities of the public-facing, pro-Hamas machinery set up by Musa Abu

 Marzook, the head of the Palestine Committee.44

       134. HLF acted as a direct financial conduit to Hamas institutions and

 was referred to by its leaders as “the Treasury” or “the Fund.” HLF operated

 as Hamas’s chief U.S. fundraising source from 1993 to 2001.45 In 2001, the U.S.

 Treasury designated HLF as a source of financing for Hamas.46 On August 8,

 2002, the United States District Court for the District of Columbia issued a

 written opinion in Holy Land Foundation for Relief and Development v.

 Ashcroft, 219 F.Supp. 2d 57, 70 (D.D.C. 2002) finding that “between 1992 and

 1999, HLF contributed approximately 1.4 million dollars to eight Hamas-

 controlled “zakat” (or charity) committees.... HLF grant lists also establish

 that, between 1992 and 2001, HLF gave approximately five million dollars to




       44          https://www.investigativeproject.org/case_docs/us-v-holy-land-foundation/
 2962/central-committee-organization- chart.pdf
        45 “Shutting Down the Terrorist Financial Network,” US Department of the Treasury

 Press Release, December 4, 2001.
        46 Jonathan Schanzer, Congressional Testimony: “Israel Imperiled: Threats to the

 Jewish State”, Joint Hearing before House Foreign Affairs Committee, Subcommittee on
 Terrorism, Nonproliferation, and Trade and the Subcommittee on the Middle East and
 North Africa, Washington, DC, April 19, 2016, available
 at: https://docs.house.gov/meetings/FA/FA18/20160419/104817/HHRG-114-FA18-Wstate-
 SchanzerJ-20160419.pdf?ref=stanfordreview.org



                                            -51-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 52 of 218 PageID 248




 seven other Hamas-controlled charitable organizations, including a hospital in

 Gaza.”

       135. IAP functioned as a promoter and fund-raiser for the network of

 front organizations supporting Hamas, including by promoting HLF and by

 directing donors to give money to HLF. One of the core missions of IAP/AMS

 was to promote and facilitate funding for Hamas and Hamas ideology and

 political positions. As explained in the summary judgment ruling in the Boim

 Action: “IAP and AMS (as well as the various organizations within the national

 IAP umbrella) contributed money, on a number of occasions, to HLF, and

 routinely and consistently encouraged people to donate money to HLF, and

 otherwise assisted in HLF’s fundraising endeavors.”47

       136. AMP, as the successor to IAP/AMS and HLF, has indirectly

 provided material support to Hamas by arranging to have payments sent to

 purported charitable organizations, which act as intermediaries. At its annual

 conventions, AMP sets aside space for a variety of vendors and organizations

 that are also event sponsors—just as IAP did at its annual conventions.

 Prominent among these sponsors are charities devoted to the Palestinian

 cause, including (among others) Baitulmaal, Inc., Zakat Foundation, Islamic

 Relief and United Muslim Relief, and Union of Good. These organizations raise



       47 Boim v. Quranic Literacy Institute, 340 F. Supp. 885, 910 (N.D. Ill. 2004).




                                             -52-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 53 of 218 PageID 249




 funds at the AMP conventions to send overseas for the ostensible purpose of

 “ameliorating the suffering in Gaza.” Each of these organizations has close

 connections with Hamas and disburses funds through Hamas operatives.

       137. Hamas actively raises funds from a worldwide network of sources,

 including from the United States. On the Hamas military wing’s website, Abu

 Ubaida, the Hamas military spokesperson, tweeted in 2019:

       “Today we will begin sending hundreds of millions of messages directed
       by the Al-Qassam Brigades to the phones of millions of the people of our
       Arab and Islamic nation and the free people of the world in eight
       different languages. They are reliable and correct messages and aim to
       facilitate the process of supporting the resistance and jihad with money.
       We call for dealing with, promoting and disseminating these
       messages.”48

       138. Hamas receives much of its financing through the global network

 of charities known as the Union of Good, which is operated by the Muslim

 Brotherhood and was headed by the late Dr. Yussuf al-Qaradawi, an extremist

 Sunni Muslim scholar based in Qatar who was on the U.S. Watch List and

 notorious for his antisemitic views. The Union of Good, in turn, raises funds

 that are, in part, channeled through an entity known as the Palestine Relief

 and Development Fund and/or Interpal. The Union of Good is comprised of

 more than fifty Islamic charitable foundations worldwide. The U.S.



       48   Al-Qassam    Brigades      2019-07-03,   www.alqassam.ps/arabic/twitter   (Arabic
 translated using Google Translate).



                                              -53-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 54 of 218 PageID 250




 Government has designated several of these foundations, including Interpal,

 as Specially Designated Global Terrorists. HLF, the predecessor of AMP, was

 one of the members of the Union of Good and a large financier of Hamas.

       139. Baitulmaal, Inc., which was designated in 2008 by the United

 States Department of the Treasury as a Specially Designated Global Terrorist

 group, is one of three United States charities on the “approved list” of the

 Union of Good. Gaza-based Unlimited Friends Association for Social

 Development (“UFA”) is closely aligned with senior Hamas leaders and openly

 states that it provides support to the children of “martyrs,” a code-word for

 deceased Hamas terrorists. UFA openly states that it channels funds from

 Baitulmaal to the “families of martyrs of the Palestinian people.” UFA and

 Baitumaal share staff. Baitulmaal is a consistent supporter of AMP and has

 sponsored numerous AMP events including its conventions.

       140. UFA receives direct support from additional AMP event sponsors

 including Helping Hands for Relief and Development, the Zakat Foundation of

 America, and United Muslims Relief. These funds are raised at AMP

 conventions. In August 2015, AMP, under the supervision of Abuirshaid,

 organized an event in Detroit, Michigan on behalf of United Muslim Relief that

 raised approximately $200,000. In 2016, a poster on the AMP’s Facebook page

 called upon the public to donate money through the “Al Meshkah Charitable




                                      -54-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 55 of 218 PageID 251




 Society.” Al Meshkah is a conduit to Hamas and was so designated by the

 Government of Israel in February 2008.

       141. AMP has also continued to provide material support to Hamas

 through its open fundraising support for a pro-Hamas organization called Viva

 Palestina. This intermediary organization is the creation of George Galloway,

 a member of the British Parliament. It claims to provide “humanitarian aid”

 to the Palestinian people. This aid consists of money and assistance provided

 directly to Hamas. In March 2009, the Viva Palestina activists arrived in Gaza

 with funds and equipment. The “activists” were received, and Galloway was

 personally thanked, by Ahmed Al-Kurd, Hamas’s Minister of Social Welfare.

 (The U.S. Department of the Treasury had, on August 7, 2007, previously

 designated Al-Kurd and the Al- Salah Society, a charity that Al-Kurd operates

 in Gaza, as a “front for Hamas.”) Galloway handed substantial sums of money

 and equipment directly to Hamas leader Ismail Haniyeh, stating, “But I, now

 here, on behalf of myself…are giving three cars and £25,000 in cash to Prime

 Minister Ismail Haniya. Here is the money. This is not charity. This is

 politics.”49 This “gift” was a small portion of the funds and equipment that was




       49   MEMRI, British MP George Galloway Defies International Sanctions against
 Hamas and Compares Tony Blair to..., Middle East Media Research Institute, March 25,
 2009, https://www.memri.org/tv/british-mp-george-galloway-defies-international-sanctions-
 against-hamas-and-compares-tony-blair (last visited Jul 2, 2024).


                                           -55-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 56 of 218 PageID 252




 given to Hamas by Viva Palestina. The beneficiaries included the same

 organizations in Gaza that had been funded by HLF.

       142. Galloway has paid tribute to AMP “who of all the organizations

 with which I’ve worked here in the United States are far and away producing

 the biggest meetings and the biggest fundraising, and I want to congratulate

 them on that. In New Jersey, they organized a fundraising dinner to which I

 spoke. We raised $360,000 in two hours.” AMP hosted numerous fundraising

 events for Galloway and Viva Palestina, including on January 30, 2010, in

 Secaucus, New Jersey where Galloway asked the audience “to give me

 something to go back to Gaza with…” Other fundraisers for Viva Palestina

 included (a) in Minneapolis in June 2009 hosted by AMP board member

 Hussein al-Khatib, (b) in Brooklyn, New York on May 21, 2010, and (c) in

 Chicago, Illinois on May 23, 2010. Abuirshaid was a frequent speaker at these

 events in support of Galloway and Viva Palestina. By organizing and

 supporting fundraisers for Viva Palestina with knowledge that the funds were

 being sent directly to Hamas and Hamas-supported organizations, AMP

 continued an IAP/AMS core mission of raising funds for Hamas.

       143. Given AMP’s active fundraising for organizations who send those

 funds to Hamas, AMP provides both direct and indirect financial support to

 Hamas. In the Boim Action, Magistrate Judge Keys found indirect support to

 be a basis for IAP/AMS’s liability under the ATA. “Nor should donors to


                                     -56-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 57 of 218 PageID 253




 terrorism be able to escape liability because terrorist and their supporter

 launder donations through a chain of intermediate organizations.”50 The

 Seventh Circuit likewise held that such indirect support was material support

 for Hamas that could give rise to liability under the ATA.


       SJP and National SJP Are Founded by Organizations and
                    Individuals Linked to Terror
       144. The roots of SJP and National SJP were planted several years

 before their actual establishment. The Palestine Committee strongly opposed

 the Oslo Peace Accords signed in 1993. Members of the Palestine Committee

 decided to convene a meeting to discuss strategy and their opposition to the

 peace treaty in a hotel in Philadelphia (the “Philadelphia meeting”) attended

 by top leaders of the Hamas support network in the U.S. (IAP/AMS and HLF).

 The FBI placed wiretaps inside the hotel which revealed internal discussions

 on how to improve support for Hamas in the U.S.

       145. During the Philadelphia meeting, the Hamas-affiliated attendees

 discussed the need to “educate” the American Muslim community by

 convincing them that the peace accords harmed the Palestinians, and that

 Hamas was the only force worth supporting. The meeting attendees

 encouraged the spreading of this message among the youth. “We don’t want




       50 Boim v. QLF, 340 F. Supp. 2d at 910.




                                           -57-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 58 of 218 PageID 254




 the children of the [American Muslim] community who are raised here in

 schools and in Islamic schools and non-Islamic schools to grow up surrendering

 to the issue of peace with Jews,” stated one unidentified speaker, “I mean, we

 don’t see in ten years the growing generation in America surrendering to peace

 with Jews. Therefore, there must be curricula and teaching materials which

 spread in Islamic schools and in weekend schools.” Another speaker suggested

 the use of annual conferences to disseminate books and introduce speakers who

 could raise awareness over the need to support Hamas. One speaker stressed

 the need to increase the Committee’s “influence with Congress.” “This can be

 achieved by infiltrating the American media outlets, universities and research

 centers.”51 This 1993 meeting by Hamas-affiliated leaders marked the

 beginning of the spread of the Hamas network to the youth in the U.S. to create

 a student arm of Hamas.

        146. To this day, Hamas propounds this ideology of creating a global

 youth network of Hamas supporters. In an April 26, 2023 article on the Hamas

 military wing’s website, a member of the Hamas movement’s leadership

 abroad, Hisham Qassem, called “on our revolutionary youth to mobilize in


        51 The wiretaps of the Philadelphia meeting were introduced as evidence in the 2007

 Holy Land Foundation trial through dozens of separate documents, all publicly available (see
 NEFA Foundations’ website: http://www.nefafoundation.org/hlfdocs.html). For a detailed
 summary of the wiretaps, see Josh Lefkowitz, “The 1993 Philadelphia Meeting: A Roadmap
 for Future Muslim Brotherhood Actions in the U.S.,” NEFA Foundation report, November
 15, 2007.


                                            -58-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 59 of 218 PageID 255




 general, and to unite in Al-Aqsa, in defense of it, to confront the Zionist

 incursions. He called on the Arab and Islamic nation, its peoples and leaders,

 and all the free people of the world to support Al-Aqsa.”52

        147. SJP and National SJP are an outgrowth of AMP, an organization

 whose leaders are members and supporters of Palestinian and Islamist terror

 organizations. AMP supports various SJP chapter initiatives and provides

 financial support as well. SJP campus chapters are encouraged to reach out to

 AMP to trade strategies and get non-students to attend student government

 meetings about divestment.53




        52   https://www.alqassam.ps/arabic/news/details/18838 “Qasim Calls on the
 Revolutionary Youth to Mobilize in Support of Al-Aqsa” (Arabic translated using Google
 Translate).
        53   The Forward, Students For Justice In Palestine Relies On Hate, The Forward
 (2018), https://forward.com/community/393199/students-for-justice-in-palestine-relies-on-a-
 network-of-hate/ (last visited Jul 2, 2024).


                                            -59-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 60 of 218 PageID 256




 https://gop-waysandmeans.house.gov/wp-content/uploads/2023/11/Schanzer-

 Testimony.pdf

       148. SJP was founded at the University of California, Berkeley as an

 offshoot of General Union Of Palestine Students at San Francisco State

 University (“GUPS”), in 2001 by Hatem Bazian who was a GUPS leader when

 he studied at SFSU.

       149. Defendant SJP is an association of now more than 200 university

 campus chapters.

       150. In June 2010, the terrorist-linked USPCN organized the Palestine

 Program at the US Social Forum (the “Forum”).54 National SJP was organized

 and founded at the Forum. The Forum was in part sponsored by the BNC. The

 primary constituent of the BNC is the PNIF which is composed of five U.S.-

 designated terrorist organizations: Hamas, the Popular Front for the

 Liberation of Palestine, the Popular Front—General Command), the Palestine

 Liberation Front, and Palestinian Islamic Jihad.55

       151. The Forum provided the backdrop and venue for AMP’s

 establishment of National SJP. The US Social Forum Palestine Program




       54   US Social Forum, “Welcome to Palestine at the US Social Forum!” published
 10/10/11, accessed 07/19
        55     https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf


                                          -60-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 61 of 218 PageID 257




 included an AMP call to establish SJP National and provided AMP’s phone

 number as the contact.56




 https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-

 Long-Version.pdf

       152. AMP has always operated as an enterprise driven by a core group

 of like-minded individuals. As elaborated on above, this core group of

 individuals is largely the same group that ran IAP/AMS seeking to continue

 the same enterprise. Much like the chapter-based approach employed by its

 predecessor, IAP/AMS, the successor, AMP, adopted a similar strategy to

 expand its influence and propagate its terrorist ideologies across the United

 States. This included modeling National SJP into a similar chapter system to



       56https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-

 Version.pdf


                                         -61-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 62 of 218 PageID 258




 broaden its presence across college campuses. It is no coincidence that

 Americans for Justice in Palestine, which is now doing business as AMP, has

 a similar name to Students for Justice in Palestine. AMP/AJP established

 National SJP for the purpose of expanding the Hamas network and creating a

 student arm of Hamas.

       153. BNC frequently collaborates with National SJP by hosting

 speakers at national conferences. Many of the speakers speak about the BDS

 campaign as a means of terror against Israel. AMP is a leading driver of the

 BDS campaign and SJP “is the most visible arm of the BDS campaign on

 campuses in the United States.”57




 2010 advertisement by the terror-affiliated American Muslims for Palestine

 calling on students to form National Students for Justice in Palestine.


       57    https://docs.house.gov/meetings/FA/FA18/20160419/104817/HHRG-114-FA18-
 Wstate-SchanzerJ-20160419.pdf


                                       -62-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 63 of 218 PageID 259




       154. SJP founder and Defendant Hatem Bazian chairs AMP and

 receives a yearly salary from AMP. Prior to and since founding the first SJP

 chapter at UC Berkeley, Bazian perpetrated a number of subversive,

 anti-American, antisemitic and terror-supporting acts. Bazian has worked as

 a fundraising speaker for KindHearts, the successor of HLF and a charity that

 was dismantled by the U.S. State Department in 2006 for funding Hamas.

 Bazian has known Rafeeq Jaber, president of IAP/AMS, since the mid-1990s

 and was a regular participant in IAP/AMS events, including as a speaker for

 at least five separate IAP conferences and events. In 2004 he was a featured

 speaker at a fundraiser for KindHearts together with Mohammed el-Mezain,

 a leader of HLF, who is now in prison for providing money to Hamas. He also

 appeared along with Abuirshaid on a panel moderated by Jaber at the 2006

 AMS convention. As with Abuirshaid and Hamayel, Bazian maintains ties

 with foreign organizations tied to Hamas. For example, in 2014, Bazian spoke

 at a fundraiser in the United Kingdom for Interpal, an organization that was

 designated by the United States Treasury in 2003 as a Specially Designated

 Global Terrorist because of its affiliation with Hamas.

       155. Bazian has made speeches, many exclusively to students,

 declaring, “It’s about time that we have an Intifada in this country [USA].

 We’ve been watching Intifada [violent uprising] in Palestine, we’ve been

 watching an uprising in Iraq [against U.S. soldiers] and the question is that:


                                      -63-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 64 of 218 PageID 260




 what are we doing? How come we don’t have an Intifada in this country? …The

 only language the [Israeli] slave master understands is the language of

 violence.”58

       156.     A Taher Herzallah, another AMP employee, serves as the

 organization’s liaison to SJP.59 Herzallah has called for violence against Israel

 and was twice arrested for anti-Israel activity, including disrupting a U.S.

 congressional hearing. One of his duties, in addition to providing funds,

 speakers, and educational support to campus SJP chapters, is serving as an

 AMP liaison to help organize National SJP conferences. The AMP website

 states that Herzallah is the “Associate Director of Outreach and Community

 Organizing for American Muslims for Palestine.” He is the “liaison between

 campus activism groups on campuses across the country,” helping “groups

 procure grants, materials and speakers.” He is also “instrumental in helping

 students set up programs and activities.”60

       157. Herzallah declared that “Israelis have to be bombed, they are a

 threat to the legitimacy of Palestine, and it is wrong to maintain the State of

 Israel. It is an illegitimate creation born from colonialism and racism.”




       58 https://www.youtube.com/watch?time_continue=157&v=Y2k5QaUOBE4

 59
   AMP, AMP (2012), https://www.ampalestine.org/media/media-room/news/amp-campus-
 coordinator-meets-new-sjp-chapters (last visited Jul 2, 2024).
         60 “Our Team,” American Muslims for Palestine, accessed November 12, 2023.

 (https://www.ampalestine.org/about- amp/our-team)


                                       -64-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 65 of 218 PageID 261




 Social media post of AMP employee Taher Herzallah endorsing terror against

 Israelis and the Israel Defense Forces and referring to it as “The most beautiful

 site in my eyes”

         158. Zarefah Baroud, another AMP employee, has been overseeing

 AMP’s social media activity since at least 2019 and assists National SJP with

 its social media activity. AMP executive director Abuirshaid regularly travels

 to Turkey, where he meets with Sami Al-Arian, who was convicted in the U.S.

 in 2006 for providing material support to PIJ.61 These events are hosted by

 CIGA, which Al-Arian founded, and where Zarefah Baroud’s father is a




 61
   See @JSchanzer, X (formerly Twitter) (May 5, 2024, 10:04 AM),
 https://x.com/JSchanzer/status/1787121140311171531; Press Release, U.S. Dep’t of Justice, Sami Al-Arian Pleads
 Guilty To Conspiracy To Provide Services To Palestinian Islamic Jihad (Apr. 17, 2006),
 https://www.justice.gov/archive/opa/pr/2006/April/06_crm_221.html.


                                                      -65-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 66 of 218 PageID 262




 “scholar.” Al-Arian’s daughter previously worked as AMP’s Media and

 Communications Coordinator,62 a role now filled by Zarefah Baroud.

         159. Numerous connections exist between AMP board members,

 employees, volunteers, keynote speakers, and Hamas. In some cases, AMP

 leaders and supporters have been implicated for fundraising for Hamas.

         160. In one case, Saleh Sarsour, an AMP board member, used his

 furniture store in Milwaukee to pass money to Adel Awadallah, the leader of

 the Izz ad-Din al-Qassam Brigades, Hamas’s militant wing. Salah Sarsour is

 a permanent resident of the United States but is deeply connected to Hamas

 figures in the Middle East and has a background as a Hamas operative and

 funder. He was imprisoned in Israel on October 14, 1994 for activities on behalf

 of Hamas. Israeli police records state that he was indicted for sheltering and

 providing a weapon to a Hamas militant. Salah Sarsour’s brother, Jamil

 Sarsour told Israel Police after he was arrested in 1999 in Israel that Salah

 and he had opened a special bank account to fund Hamas. According to Jamil,

 this money, in the form of 39 checks drawn on the account, was given directly

 to the Hamas military wing including to Adel Ahmad Awadallah, the military

 head of Hamas on the West Bank with whom Salah Sarsour had once shared

 a prison cell. Salah had sent Jamil to the West Bank to deliver the funds to



 62
   Leena Al-Arian, PALESTINE CONVENTION [2018], https://palestineconvention.org/amp2018/speaker/leena-al-
 arian/ (last visited July 7, 2024).


                                                  -66-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 67 of 218 PageID 263




 Awadallah and others. Awadallah was identified by the government as a “high-

 ranking Hamas military leader who was responsible for facilitating several

 deadly terrorist attacks carried out in Israel.”63 Jamil Sarsour also told Israel

 Police that he had a close relationship with Hassan Yousef, the political head

 of Hamas on the West Bank.

       161. Salah Sarsour was the chairman of the 2006 convention where

 AMP was formed. Salah Sarsour testified that he was consulted by Hatem

 Bazian on organizing AMP. Salah Sarsour is AMP’s chapter coordinator and

 an important fundraiser. His business, Prime Furniture, sponsored AMP

 conventions and events, including the very first convention in 2006.

       162. AMP regularly features the family members of the HLF’s convicted

 leadership at its conferences. AMP publishes fundraising appeals for HLF’s

 jailed leaders. In May of 2023, AMP sponsored an event featuring one of the

 HLF’s leaders, Mohammed El-Mezain, as well as other family members of top

 Hamas leadership.64 “AMP’s admiration for the jailed leaders of the Holy Land

 Foundation mirrors that of Hamas itself.”65 Just days after the October 7

 Attacks, senior Hamas leader Ali Barakeh announced that Hamas was


       63 United States v. Marzook, No. 03-cr-978 (N.D. IL) Dkt. No. 59, p.6. (Filed 8/19/04).

       64 “19 and 21 May, San Diego: Free the Holy Land Five! Documentary screenings and

 events,” Samidoun, May 19, 2023. (https://samidoun.net/2023/05/19-and-21-may-san-diego-
 free-the-holy-land-five-documentary-screenings- and-events)
       65        https://gop-waysandmeans.house.gov/wp-content/uploads/2023/11/Schanzer-
 Testimony.pdf


                                             -67-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 68 of 218 PageID 264




 demanding the release of the Holy Land Foundation’s leaders in any

 agreement to release the hundreds of hostages held in Gaza.66

        163. AMP has received funds from the AFR Foundation run by Mostafa

 Afr. According to the Middle East Forum, the Muslim American Youth

 Association specifically registered its offices to AFR’s office. The Muslim

 American Youth Association, according to the FBI, has played pivotal roles in

 building Hamas infrastructure in the United States.67

        164. The current active AMP/AJP has also inherited the network of

 supporters, management, and donors that previously served IAP/AMS and

 HLF. The Mosque Foundation in Bridgeview, Illinois, together with its

 individual leaders, is a significant supporter and funder of AMP/AJP, just as

 it was a constant supporter and funder of IAP/AMS and HLF. The support of

 the Mosque Foundation and its affiliates and leaders was an essential asset of

 IAP/AMS. In many cases, the Mosque Foundation participated directly in the

 IAP/AMS organization’s activities, often with blurred (or non-existent)

 boundaries between the Foundation and IAP/AMS.

        165. The Mosque Foundation has a history of donating and directing

 money to terrorist organizations. It previously donated and solicited significant


        66   @MarioNawfal, X, October 9, 2023. (https://twitter.com/marionawfal/status/
 1711589703936290905)
       67 https://www.ngo-monitor.org/reports/funding-for-students-for-justice-in-palestine-

 sjp/


                                            -68-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 69 of 218 PageID 265




 funds to HLF and KindHearts as well as to Benevolence International

 Foundation and Global Relief Foundation, both of which were designated as

 financiers of terrorist organizations by the United States Treasury

 Department in 2002. The Mosque Foundation directly subsidizes and supports

 AMP by paying the salary of AMP’s “voluntary executive director,” Abdelbasset

 Hamayel, who had previously been a central leader of IAP/AMS and an

 employee of KindHearts.

       166. The Mosque Foundation’s Imam, Sheikh Jamal Said, was the

 ultimate religious authority for IAP/AMS and, in the words of Rafeeq Jaber,

 Sheikh Said is the “religious leader of the community.” Sheikh Said was

 identified by the government as a member of the Palestine Committee. He was

 also identified in 1993 as Treasurer and a member of the Board of Trustees of

 the Al-Aqsa Educational Fund, Inc., a funder of Hamas based in Oxford,

 Mississippi. In 1993, the Al-Aqsa Educational Fund, Inc., described by the

 government as a “financier of terror disguised as a charitable organization…,”

 was designated by the U.S. Department of the Treasury as a Specially

 Designated Global Terrorist Entity.

       167. There has been, and continues to be, substantial intertwining of

 the leadership and supporters of the Mosque Foundation and what was the

 IAP/AMS organization and what is now AMP.

       168. On November 15, 2023, Dr. Jonathan Schanzer, Senior Vice


                                       -69-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 70 of 218 PageID 266




 President for Research at the Foundation for Defense of Democracies, testified

 before the House Ways and Means Committee regarding the nexus between

 antisemitism, tax-exempt universities, and terror financing:

       Most of what can be gleaned about AMP’s donors derives from its annual
       fundraising conferences—which often feature family members of senior
       Hamas leadership as speakers. Although AMP’s official party line is that
       it does not discuss Hamas explicitly, it has also published fundraising
       appeals for the imprisoned leaders of the Holy Land Foundation. The
       mission, goals, donors, and fundraising infrastructure of AMP share a
       striking resemblance to the charities that were dismantled more than a
       decade ago. All four members of AMP’s most senior leadership
       previously worked for these groups. Many of AMP’s donors, board
       members, and corporate sponsors have also been active with entities
       proven to support Hamas.68

       169. On October 31, 2023, the Attorney General’s Office of Virginia

 announced an investigation into AMP, stating that there is “reason to believe

 that the organization may be soliciting contributions … without first having

 registered…. In addition, the Attorney General will investigate allegations

 that the organization may have used funds raised for impermissible purposes

 under state law, including benefitting or providing support to terrorist

 organizations.”69




       68       https://gop-waysandmeans.house.gov/wp-content/uploads/2023/11/Schanzer-
 Testimony.pdf
       69 NGO Monitor, Students for Justice in Palestine (SJP): Available Funding and Other

 Information » ngomonitor, ngomonitor (2023), https://www.ngo-monitor.org/reports/funding-
 for-students-for-justice-in-palestine-sjp/ (last visited Jul 2, 2024).


                                           -70-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 71 of 218 PageID 267




               National SJP Serves to Unify and Support the SJP
                                  Chapters
        170. National SJP serves as the unifying umbrella organization for all

 the SJP chapters. Composed of students, a national steering committee and

 recent graduates, National SJP provides support and resources to more than

 200 SJP chapters.70 The homepage of its website states, “Supporting almost

 300 Palestine solidarity organizations across occupied Turtle Island, we aim to

 develop a student movement that is connected, disciplined, and equipped

 with the tools necessary to achieve Palestinian liberation.”71

        171. While some chapters choose their own names, they all follow the

 “Points of Unity.”72 The Points of Unity stems from the 2005 BDS call for

 guidelines that make up the BDS movement; the statement was adopted by

 National SJP at its conference in 2011 at Columbia University.73 The “Points

 of Unity,” among other things calls for “ending Israel’s occupation and

 colonization of all Arab lands and dismantling the Wall.”74




        70 National SJP, “About,” https://www.nationalsjp.org/

        71   National Students for Justice in Palestine, National Students for Justice in
 Palestine, https://nationalsjp.org (last visited Jul 2, 2024).
        72     https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf
        73 National SJP, “Points of Unity,” https://www.nationalsjp.org/

        74 National SJP, “Points of Unity”




                                             -71-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 72 of 218 PageID 268




       172. National SJP coordinates inter-campus events, curates a national

 newsletter, assists SJP chapters with boycott and divestment resolutions,

 organizes media and press, and plans the annual National SJP Conferences.75


             Qatar Supports Hamas and Generously Funds U.S.
                Universities with Significant SJP Chapters
       173. In July 2019, Dr. Charles Asher Small, Director of The Institute

 for the Study of Global Antisemitism and Policy (“ISGAP”), presented before

 the Department of Justice the findings of a research project examining the

 illicit funding of U.S. universities by foreign governments, foundations, and

 corporations with connections to terrorism and terror financing.76

       174. The ISGAP study revealed that Qatar is by far the largest foreign

 donor to U.S. universities. ISGAP also found a direct correlation between the

 funding of universities by Qatar and the active presence at those universities

 of SJP chapters.77 According to a study published in 2022 by the National

 Association of Academics in the United States, in the period between 2001 and

 2021—precisely after the September 11 attacks –Qatar donated $4.7 billion to




       75     https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf
        76 “VOLUME II Examining Undocumented Foreign Funding of American Universities:

 Implications for Education and Rising Antisemitism,” ISGAP (2020), https://isgap.
 org/post/2020/09/volume-ii-examining-und
        77    https://isgap.org/wp-content/uploads/2023/11/The-Corruption-of-the-American-
 Mind_DKFormat2.pdf


                                           -72-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 73 of 218 PageID 269




 universities in the United States. The recipients, however, did not report part

 of the money received, as required by law.78

            175. Qatar donates substantially to Carnegie Mellon, Cornell, Harvard,

 MIT, Texas A&M, Yale, Northwestern, Johns Hopkins, Georgetown, and the

 University of Chicago, which received, US$495.8 million, US$402 million,

 US$401 million, US$379 million and US$364 million, respectively as of the

 report dated 30 March 2020, much of which goes unreported.79 Columbia

 University has also received large amounts of funding from Qatar over the

 years which Columbia has not reported to the Department of Education.80

            176. Qatar is one of Hamas’s largest political and financial patrons—as

 evidenced in the October 25, 2023 testimony of Chairman Blaine Luetkemeyer

 in front of the Committee of Financial Services. Qatar’s publicly reported

 annual support to Hamas ranges from $120 million to $480 million. These

 funds benefit Hamas leaders directly through payroll and kickback schemes




            78 Sophie Shulman, Tuition of terror: Qatari money flowed into U.S. universities - and

 now         it’s     fueling         violence,    ctech,      October         30,    2023,
 https://www.calcalistech.com/ctechnews/article/jwhsqhrat (last visited Jul 2, 2024).
         79 US universities’ foreign funders: How much do we know?, University World News,

 https://www.universityworldnews.com/post.php?story=20231208230952463 (last visited Jul
 2, 2024).
 80
      https://isgap.org/wp-content/uploads/2024/06/Columbia_University_Report_2024_.pdf


                                                       -73-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 74 of 218 PageID 270




 and indirectly through social services and government operations that help

 Hamas maintain political control over Gaza.81

        177. Over $1.95 billion in contracts and gifts have been transferred

 from Qatar to Cornell University since 2001.82 Cornell University is one of the

 largest recipients of money from Qatar, especially via Qatar’s proxies that are

 owned outright by the state.83 Cornell University failed to disclose Qatari grant

 money it received in its official financial statements, even though it did report

 the grants to the U.S. Department of Education.84 Since the October 7 Attacks,

 Cornell University has come under scrutiny for its metastasizing levels of




        81 Richard Goldberg, How America and Its Allies Can Stop Hamas, Hezbollah, and

 Iran      from    Evading    Sanctions    and    Financing      Terror,     FDD       (2023),
 https://www.fdd.org/analysis/2023/10/25/how-america-and-its-allies-can-stop-hamas-
 hezbollah-and-iran-from-evading-sanctions-and-financing-terror/ (last visited Jul 2, 2024).
         82 College Foreign Gift and Contract Report, College Foreign Gift Reporting,

 https://sites.ed.gov/foreigngifts/; Maryam Zafar, “Report: Cornell’s ties to Qatar and China
 under      federal     investigation,”   The   Cornell    Daily     Sun,   July    11,   2019,
 https://cornellsun.com/2019/07/11/report-cornells-ties-to-qatar-and-china-under-federal-
 investigation/; “Reporting Foreign Gifts and Contracts at Cornell University,” Cornell
 Division      of     Financial     Services,   last    updated      September     22,    2023,
 https://finance.cornell.edu/our-policies/reporting-foreign-gifts; “Compliance with Section 117
 of the Higher Education Act,” Cornell University Statements, October 21, 2020,
 https://statements.cornell.edu/2020/20201021-section-117.cfm;        “Resolution:   SA    R16:
 Addressing Labor Issues in Qatar,” Office of the Assemblies, November 8, 2015,
 https://assembly.cornell.edu/resolution-actions/sa-20152016-16-3.
         83 https://isgap.org/wp-content/uploads/2024/03/Cornell_Ten_Billion_Dollar.pdf

        84   “College Foreign Gift and Contract Report,” College Foreign Gift Reporting,
 https://sites.ed.gov/foreigngifts/.


                                             -74-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 75 of 218 PageID 271




 antisemitism on its campus.85 At Cornell, many Jewish students express

 feeling unsafe and were warned by the Jewish Hillel organization to avoid the

 school’s Center for Jewish Living.86

        178. On March 21, 2024, the chairman of the House Ways and Means

 Committee, Representative Jason Smith, sent a letter to Cornell President

 Martha E. Pollack asking for answers to Cornell University’s response to the

 “eruptions” of antisemitism on campus following the October 7 Attacks,

 explanations around the “culture of antisemitism that developed and grew

 beneath the surface for decades,” and details surrounding Cornell’s receipt of

 “donations and/or funding from foreign sovereignties or governments.”87




        85   Jacob Mack, “Cornell among 3 Ivy league schools under DOE investigation for
 potential discrimination,” Ithaca Journal (2023), https://eu.ithacajournal.com/story/news/
 2023/11/17/cornell-among-colleges-facing-federal- scrutiny-under-title-iv/71619448007/ .
        86 Lisa Rozner and Naveen Dhaliwal, “Echoing concerns at Cornell, Jewish students

 at Columbia University say they’re experiencing antisemitism,” CBS New York (2023),
 https://www.cbsnews.com/newyork/news/echoing-concerns-at-cornell-jewish-students-at-
 columbia-university-say-theyre-experiencing-antisemitism/ .
         One Cornell student, Patrick Dai, made threats to “stab” and “slit the throat” of
 Jewish men, rape Jewish women and throw their bodies off a cliff, and behead Jewish
 babies.86 Dai warned that “I will bring an assault rifle to campus and shoot all you pig Jews,”
 and “Palestine will be free! Glory to Hamas!” in online chatrooms, claiming to be a Hamas
 soldier. (That student is now facing federal felony charges). Mack, “Cornell among 3 Ivy
 league schools under DOE investigation for potential discrimination,” Ithaca Journal (2023),
 https://eu.ithacajournal.com/story/news/2023/11/17/cornell-among-colleges-facing-federal-
 scrutiny-under-title-iv/71619448007/.
         87   https://gop-waysandmeans.house.gov/wp-content/uploads/2024/03/Antisemitism-
 Ltr-to-Universities.pdf


                                              -75-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 76 of 218 PageID 272




       179. The ISGAP report found that “[t]he state of Qatar uses its

 resources to support and provide safe haven to the Muslim Brotherhood and

 their ideologues. This includes Hamas and other organizations that are

 proscribed as terrorist entities in the United States and other Western

 countries.”88 The October 7 Attacks were committed by Qatari-funded

 terrorists and came after Qatar had funded, protected, and disseminated

 Islamist extremist ideology and organizations around the globe for years.89

       180. It is alarming, yet unsurprising, that Qatar—one of the largest

 financial supporters of Hamas—is also the largest foreign donor to U.S.

 universities with SJP chapters, clearly showing how terrorists operate by

 creating a worldwide web of financial support. It is no coincidence that Qatar,

 a major supporter of Hamas, is the primary foreign contributor to universities

 hosting SJP chapters. Qatar’s financial backing of Hamas and the student arm

 of Hamas in the United States ensures that the worldwide conspiracy thrives.


          National SJP And SJP Chapters Receive Funding and
               Support from Terror-Linked Organizations
       181. While the visible funding for SJP activities comes from student

 governments, SJP chapters also receive funding from terrorist-linked



       88 https://isgap.org/wp-content/uploads/2024/03/Cornell_Ten_Billion_Dollar.pdf

       89 UK Parliament Defence Committee, Written evidence submitted by Steven Merley,

 Global      Islamist      Terrorism      inquiry/GIT0002,       March       13,        2018,
 https://committees.parliament.uk/writtenevidence/87421/pdf/.


                                           -76-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 77 of 218 PageID 273




 organizations.90 When Jonathan Greenblatt, the Chief Executive Officer of the

 Anti-Defamation League (“ADL”), was asked what basis the ADL had for

 alleging that SJP chapters might be funding or receiving funds from Hamas,

 he said that the chapters “are mirroring the position of Hamas.”91

        182. The numerous SJP branches on university campuses are not

 registered as 501(c)(3) nonprofit organizations. Therefore, they are not subject

 to laws requiring financial disclosure. In general, the funding distributed by

 the student governments in the universities to their respective SJP chapters

 does not match the scope of activities of the respective SJP chapters, indicating

 other non-transparent and illicit sources of funding.92

        183. Westchester People’s Action Coalition Foundation (“Wespac”), a

 Westchester, New York-based organization, serves as a fiscal sponsor for

 National SJP and WOL. This is an arrangement in which a nonprofit collects

 donations on behalf of other groups that do not have nonprofit status

 themselves. As a fiscal sponsor, Wespac receives and administers donations on

 behalf of National SJP. Wespac then keeps a percentage of the donation and


        90    https://www.ngo-monitor.org/reports/bds_on_american_campuses_sjp_and_its_
 ngo_network/
       91 Emma Green, How a Student Group Is Politicizing a Generation on Palestine, The

 New Yorker, December 15, 2023, https://www.newyorker.com/news/annals-of-education/how-
 a-generation-is-being-politicized-on-palestine (last visited Jul 2, 2024).
        92 NGO Monitor, Students for Justice in Palestine (SJP): Available Funding and Other

 Information » ngomonitor, ngomonitor (2023), https://www.ngo-monitor.org/reports/funding-
 for-students-for-justice-in-palestine-sjp/ (last visited Jul 2, 2024).


                                            -77-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 78 of 218 PageID 274




 gives the rest to National SJP.93 Wespac’s revenue has more than doubled since

 2019. For the pro-Palestinian groups donating to Wespac, fiscal sponsorship

 means they can receive tax-deductible donations and grants. The arrangement

 does not require the fiscal sponsor to detail the organizations it collects funding

 for. Wespac does not make its fiscal sponsorships public. For National SJP, the

 only sign of the relationship is a line of text at the bottom of an online donation

 page or a notice of Wespac’s office address on the donation receipt.94 The

 utilization of Wespac as a fiscal sponsor enables organizations and individuals

 with ties to terrorism to conceal their donations and financial backing of

 National SJP, obfuscating the links between them.

        184. Wespac also serves as a fiscal sponsor for terrorist-affiliated

 USPCN (co-founder of National SJP).95 Wespac is also a campaign supporter

 for many PFLP terrorists, demanding their release.96 Wespac has sponsored




        93 https://www.adl.org/resources/blog/wespac-westchester-peace-action-committee

        94   LUKE TRESS/JTA, Westchester charity manages funding for hardline pro-
 Palestinian groups, The Jerusalem Post, February 2, 2024, https://www.jpost.com/israel-
 hamas-war/article-784837#google_vignette (last visited Jul 2, 2024).
        95 NGO Monitor, Students for Justice in Palestine (SJP): Available Funding and Other

 Information » ngomonitor, ngomonitor (2023), https://www.ngo-monitor.org/reports/funding-
 for-students-for-justice-in-palestine-sjp (last visited Jul 2, 2024).
        96 NGO Monitor, WESPAC (Westchester Peace Action Committee Foundation) »

 ngomonitor, ngomonitor (2024), https://www.ngo-monitor.org/ngos/wespac_foundation/ (last
 visited Jul 2, 2024).


                                            -78-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 79 of 218 PageID 275




 and participated in Israel Apartheid Weeks sponsored by SJP chapters on

 college campuses.97

        185. AMP is also a financial supporter of National SJP and SJP. In

 2014, AMP gave $100,000 to SJP, and in a 2016 Facebook post from AMP

 Chicago, students are seen holding large-sized checks from AMP made out to

 various SJP chapters.98 AMP initiated a fundraising drive in 2022 for National

 SJP. A statement for the fundraising drive announced that “we at AMP are

 increasing our support for student organizing and are working with student

 leaders on developing their skills to enhance the work for Palestine in

 America.”99 As shown above, AMP raises funds for several terrorist-linked

 organizations and receives funding from terrorist-linked organizations. AMP

 receives funds through various organizations that have supported and

 contributed to the development of Hamas. AMP, in turn, helps fund National

 SJP and the SJP chapters with these terrorist-linked funds.




        97 Id.

 98
   Ari David Blaff, Meet the student group — with alleged links to Hamas — driving the
 anti-Israel encampments, National Post (2024),
 https://nationalpost.com/news/canada/national-students-for-justice-in-palestine (last visited
 Jul 2, 2024).
         99 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023.




                                             -79-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 80 of 218 PageID 276




         National SJP Conferences Are a Platform for Terrorist
                              Support

 The 2010 U.S. Social Forum
       186. In June 2010, AMP called for SJP members from around the

 United States to attend a two-day conference in Detroit—the 2010 U.S. Social

 Forum—considered by organizers and participants to be the first National SJP

 conference. Awad Hamdan, AMP’s former “National Protection and Programs

 Directorate” chair posted on Students for Justice in Palestine—Northeastern

 Illinois University’s Facebook page that AMP would sponsor SJP members

 from across the country to attend the conference to “unite SJP work and to

 strengthen work for Palestine in the US [sic].”100

       187. Other BDS organizations and BDS-supporting individuals also

 encouraged BDS supporters to join them at the World Social Forum’s 2010

 summit in Detroit, because the summit provided an opportunity for BDS-

 supporting students to unite and form a national framework.101 Student BDS

 activist Andrew Dalack similarly wrote in The Electronic Intifada urging BDS-

 supporting individuals and organizations to attend the conference because

 “participation allows…Palestinian-Americans…to align themselves more

 firmly within the Left to build another world together.”83 Other BDS-




       100 https://jcpa.org/wp-content/uploads/2017/11/SJP_Unmasked_Final_edited.pdf

       101 https://jcpa.org/wp-content/uploads/2017/11/SJP_Unmasked_Final_edited.pdf




                                          -80-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 81 of 218 PageID 277




 supporting organizations in the U.S. such as terrorist-affiliated USPCN also

 encouraged attendance at the 2010 U.S. Social Forum.102

       188. A keynote address at the 2010 U.S. Social Forum was sponsored

 by terrorist-affiliated BNC and featured BDS leader Jamal Juma, who has

 devoted his career to advocating for the dissolution of Israel. Juma is one of the

 BNC’s founders and has called for violence against Israel. The Free Gaza

 movement, which organizes flotillas and missions to Gaza that include

 cooperation with Hamas leaders, also sponsored a workshop at this first

 National SJP conference.

       189. A special “Palestine track” was created at the 2010 U.S. Social

 Forum for SJP members so that they could organize and form a national group.

 According to the U.S. Social Forum’s website, the goal of the Palestine Program

 was “[to] seed divestment on every campus, educate our fellow students, and

 build meaningful relationships with social justice movements across all our

 campuses.”103 Different organizations sponsored sessions in the “Palestine

 Program” including USPCN, CodePink, U.S. Campaign to End the Israeli

 Occupation, Wespac, and Israel Apartheid Week (USA). There were over 70




       102 http://uspcn.org/2009/12/31/uspcn-at-the-us-social-forum-join-us-in-planning/

       103 “Students for Justice in Palestine, National Convention 2010,” US Social Forum




                                            -81-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 82 of 218 PageID 278




 presentations, activities, and workshops devoted to BDS and Palestinian

 issues at the three-day conference.104

       190. The       first   National   SJP     conference,   with   its   widespread

 recruitment of student members of SJP chapters, speaker sponsorships and

 workshops, planted the seeds of alignment between all member SJP chapters

 and Hamas. Hamas affiliated AMP and BNC helped organize and sponsor

 various parts of the event, creating a forum for developing the SJP chapters

 into the student arms of Hamas and their means of spreading Hamas

 propaganda.


 Subsequent Conferences Endorsing and Promulgating Terrorism
       191. National SJP’s association with terror did not end at the 2010

 convention—in fact, it was only beginning. Almost every subsequent

 conference featured either BNC representatives or convicted terrorists, and/or

 highlighted campaigns connected to the BNC and terror organizations.105 Prior

 to its dissolution, IAP National organized annual conventions, conferences and

 meetings, which included members of Hamas as speakers brought from the

 Middle East at IAP’s expense as well as local pro-Hamas speakers. These




       104   Namira Islam, “Palestine at US Social Forum 2010,” SJP National, The US
 Palestinian Community Network, USPCN, 8
        105   https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf


                                          -82-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 83 of 218 PageID 279




 conferences and conventions were a hallmark of entities in the Hamas

 network, including IAP/AMS.

       192. Modeled after these IAP National annual conferences, AMP (the

 de facto successor of IAP/AMS) runs national and local conventions and

 conferences directed to the identical audiences of the events run by the

 IAP/AMS organization, with largely the same organizers, speakers and

 agenda. Similarly, AMP has sponsored and planned many National SJP

 conferences with the same or similar speakers and agenda imbued with Hamas

 ideology and teachings. “The annual national conference is held on a university

 campus each year. This conference, attended by over 200 local chapters, serves

 as a conduit for antisemitic terrorism and antisemitic discourse to enter US

 college campuses.”106

       193. At the 2011 AMP convention in Chicago, various terrorist-

 affiliated individuals were speakers, including Jamal Said (unindicted co-

 conspirator in the HLF trial), Defendant Rafeeq Jaber, Sami Al-Arian (pled

 guilty in 2006 to providing goods and services to PIJ), Abdelhaleem

 Ashqar (accused of racketeering for his alleged support for Hamas), Defendant

 Taher Herzallah, and Sarah Mufid Abdulqader (daughter of convicted HLF

 member).


       106     https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf


                                          -83-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 84 of 218 PageID 280




         194. At the 2011 Chicago convention, Defendant Hatem Bazian

 declared that “(t)he universities—it’s gonna [sic] be the front line moving

 forward, the front line. Why? Because this is the next generation.”107 During

 the same session, a student from the University of Chicago’s SJP praised AMP

 for its unyielding support. “They don’t just fund us, you know money doesn’t

 mean much in reality; it’s the support.”108 The same student claimed that “it's

 easier” to be “involved with the liberation of Palestine” as an American. “You

 are in a position of privilege, not just as a white American, but as Americans

 in general…Take advantage of it students. I stress to you on campus, as

 activists, take advantage of the school's Wi-Fi. Take advantage of the school's

 resources.”109 Munjed Ahmad, the AMP vice-chairman added “Why AMP?

 Because AMP is the . . . means to the end. The end is that we will all be in

 Palestine, a free Palestine. . . [AMP] is the only organization in the United

 States that has decided to take this challenge under the banner of Islam.”110

         195. A session at the 2012 National SJP conference featured a speech,

 via video, by the late PIJ terror operative Khader Adnan Mohammed Musa

 who was a spokesperson for Islamic Jihad, a U.S. designated terrorist


         107 IPT News, American Muslims for Palestine’s Web of Hamas Support [incl. Hatem

 Bazian], Campus Watch, https://www.meforum.org/campus-watch/19673/american-muslims-
 for-palestine-web-of-hamas (last visited Jul 2, 2024).
        108 Id

 109
     American Muslims for Palestine’s Web of Hamas Support, The Investigative Project on Terrorism,
 https://www.investigativeproject.org/3346/american-muslims-for-palestine-web-of-hamas (last visited Jul 2, 2024).
 110
     Id.


                                                       -84-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 85 of 218 PageID 281




 organization. Adnan was imprisoned numerous times by Israel and had incited

 terrorism and murder, especially in the form of suicide bombings targeting

 civilians.111 Adnan had also established contacts with SJP chapters across the

 United States. In 2013, SJP at American University in Washington D.C.

 organized a Skype call with Adnan.112 SJP branches at Bowdoin College, Tufts

 University, Union Theological Seminary, Ryerson University, and Columbia

 University have expressed solidarity with Adnan on social media. Several

 National SJP conference leaders have also demonstrated support for Adnan

 including a “statement of solidarity” on National SJP’s social media accounts.

       196. The WeDivest campaign, endorsed by the BNC, was featured

 prominently in the 2012 National SJP conference. The 2012 conference also

 proudly labeled the terror-affiliated BNC as one of its organizational endorsers

 in conference literature. The 2014 National SJP conference closing session

 featured Hind Awwad, the national coordinator of the BNC in Ramallah.

       197. At its 2014 conference, National SJP hosted Hind Awwad, the

 national coordinator of the BNC in Ramallah. National SJP’s 2015 conference

 featured convicted terrorist Rasmea Odeh as its keynote speaker. Odeh was

 imprisoned for her participation in two suicide bombings as a member of the


       111 https://www.youtube.com/watch?v=CtPQ4EqePqw

       112

 https://www.facebook.com/photo.php?fbid=10152575022815034&set=pb.818130033.-
 2207520000.1508237856.&type=3&theater


                                         -85-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 86 of 218 PageID 282




 PFLP, a U.S. designated terror organization. At the 2018 Conference,

 Mohammad Nabulsi, a National SJP leader, led the hundreds of student

 attendees in a chant that called for violence: “Intifada, Intifada, long live the

 Intifada.”113

       198. The 2019 National SJP conference was held at the University of

 Minnesota—Twin Cities. It was themed: “Beyond Struggle: From Roots to

 Branches Towards Liberation.” On its website, National SJP indicated that the

 goal of the conference was to create a “solidarity movement” to push for policies

 that “demand the end of” the State of Israel. While in previous years, National

 SJP went to great lengths to hide the conference’s content and attendees from

 the public, in 2019, the group took it to a new level. Venue organizers went so

 far as to cover the hall’s windows, making it impossible for anyone to see in,

 and the conference schedule was not released to the public.114 Despite National

 SJP’s efforts to hide, Canary Mission identified 89 attendees of their 2019

 conference, all of whom have terrorist affiliations or outwardly support

 Hamas’s terrorist agenda, including the conference panelist, Defendant Taher

 Herzallah.115




       113     https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf
       114 https://canarymission.org/campaign/NSJP2019

       115 Id.




                                           -86-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 87 of 218 PageID 283




       199. On National SJP’s website, the registration page for its February

 2023 conference promoted “agitation” against Zionism on campus: “As our

 universities continue to provide material and ideological support for projects

 of Zionism and U.S. Imperialism, the student movement for Palestine

 personifies grassroots power—transforming our campuses into bases for

 political organization and agitation.”116 The promotion of agitation on college

 campuses by National SJP was just months prior to the October 7 Attacks.

       200. National SJP annual conferences feature speeches by convicted

 Palestinian terrorists from Hamas, and the conference steering committee

 frequently demonstrates support for Palestinian terrorists, often linking social

 media posts to the terror groups themselves. The National SJP conferences

 train student SJP members in using violence and extreme tactics on campus

 in disrupting Israel-friendly events and promoting divestment campaigns

 inspired by and developed in coordination with terrorists and terror-affiliated

 organizations featured at the conferences, including Hamas. The National SJP

 conferences are a platform for Hamas to train student SJP members to be the

 student arm of Hamas and the future leaders of Hamas.

       201. On May 24-26, 2024, “The People’s Conference for Palestine” was

 held in Detroit, Michigan, with National SJP and USPCN listed as two of the



       116 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023.




                                           -87-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 88 of 218 PageID 284




 convening organizations.117 The purpose of the conference was to convene pro-

 Hamas groups to plan unified action in the U.S. against Israel, as stated on its

 website: “We are in an unprecedented moment in history. . . we are also part

 of building a mass movement that is committed to struggling for Palestinian

 national liberation . . . The movement for Palestine has never been stronger:

 but with this strength comes a monumental responsibility. This moment calls

 on us to strengthen our relationships, our strategies, our tactics, and our unity

 for the struggle ahead. We must build a shared assessment of the moment, and

 chart out the next phase of our struggle.”118


 National SJP Publicizes Propaganda Endorsing Terrorism
            202. In 2023, National SJP started a quarterly publication. Their

 website states, “Welcome to National Students for Justice in Palestine’s newest

 initiative: ‫( المقاومة المكتوبة‬The Written Resistance). Published quarterly, this is the

 space to platform student experiences and analysis. The Written Resistance is

 the only newsletter directly serving the student movement, designed to foster

 discussion and help us unite the student movement for Palestinian

 liberation.”119 The words “unite the student movement for Palestinian




 117
       https://peoplesconferenceforpalestine.org
 118
       Id.
            119 https://nationalsjp.org/twr




                                                   -88-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 89 of 218 PageID 285




 liberation” are in bold and italics on the website stressing the publication’s goal

 of uniting SJP with Hamas’s jihadist mission.

         203. The first issue of The Written Resistance was published in

 September 2023, just a few weeks prior to the October 7 Attacks. One

 anonymous contributor to this newsletter wrote in an article titled Different

 Struggles One Path, “(I)t is essential for progressive causes not to shy away

 from standing up for all forms of resistance. Palestinians have the right to

 resist Israeli occupation and, under international law, cannot be criticized for

 doing so. People quickly forget that the occupation forces are equipped with the

 highest-grade equipment and weaponry while Palestinians make do with what

 little they have.”120 This was an eerie foreshadowing of the October 7 Attacks

 where all forms of resistance by Hamas were implemented. The article ended

 with:

         204. “I call upon the revolutionary and progressive peoples of the world

 to continue to support the just cause of Palestinian liberation, for we all walk

 the same path in our fights against all forms of injustice and subjugation.

 Without the mutual support of all our struggles, we are all bound to fail. I’ll

 end with a quote from the Prophet Muhammed: ‘The parable of the believers




         120 https://drive.google.com/file/d/146rxpcBYGu1cZBdLpwDFN2sav5lxXdxe/view




                                          -89-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 90 of 218 PageID 286




 in their affection, mercy, and compassion for each other is that of a body. When

 any limb aches, the whole body reacts with sleeplessness and fever.’”121

       205. The second issue of The Day of Resistance was published in

 January 2024, after the October 7 Attacks. The Letter from the Editors in the

 beginning stated:

       Dear Readers,

       Time is hardly linear, and progress can be volatile and unpredictable.
       Since October 7th, 2023, over 100 SJP chapters have newly formed or
       been re-chartered, answering the call to combat the imperialist
       and Zionist forces on our campuses that are structurally and
       institutionally facilitating the ongoing genocide of the Palestinian
       people of Gaza. Hundreds of thousands of students have worked
       tirelessly to uphold the Palestinian liberation struggle and challenge the
       US empire from within. Students have taken to the streets, occupied
       offices, organized campaigns, disrupted Zionist propaganda, and
       mobilized the largest campus anti-imperialist coalitions since the peak
       of the New Left in the 1960s.

       Despite facing a resurgence of severe state and institutional repression,
       the student movement has upheld the core demand of the
       Palestinian people: the dismantlement of the Zionist entity and
       the liberation of Palestine—from the river to the sea. However, this
       moment requires us to recognize that our progress during quieter
       periods laid the groundwork for this intense moment of change.
       The past months underscore the importance of analyzing the underlying
       currents of history, which can help inform our actions in times of
       urgency and crisis. Remember that our transformative potential is ever-
       present, even if it feels dormant during seemingly ‘normal’ times.

       As the editorial board of this publication, it is our honor to platform
       thoughts and perspectives from students worldwide. The intensity and


       121 https://drive.google.com/file/d/146rxpcBYGu1cZBdLpwDFN2sav5lxXdxe/view




                                         -90-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 91 of 218 PageID 287




       resilience displayed by students since October and long before
       have not only been a testament to our power but have also sparked
       questions able to push the boundaries of our collective understanding.
       We hope the words of your fellow students and comrades can inform the
       development of the struggle, both on campus and off. As we continue
       to walk in step with our anti-imperialist comrades across the
       world, the coming months will certainly usher in an era of
       escalating crisis in the belly of the beast. Already, the gears of the
       imperial war machine have begun to pick up speed. Yet, through our
       unprecedented unity and commitment to liberation, our movement will
       face this turmoil with clear eyes. Onward, comrades, your work is
       an inspiration to us all.

       Until liberation,

       Editorial Board - National Students for Justice in Palestine”122

       206. This letter from the editors sums up the entire covert conspiracy

 that has transpired over the last 20 years whereby the terrorist organization

 Hamas has extended its terrorist influence on college campuses in the United

 States by infiltrating National SJP and SJP chapters, establishing student

 arms of Hamas to spread intimidation tactics, coercion policies, and a terrorist

 agenda. SJP chapters and their members are “answering the call” to bring

 terrorism to college campuses; they have “upheld the core demand” of Hamas

 to “liberate Palestine- from the river to the sea;” they are “walking in step”

 with Hamas as “comrades” of Hamas “until liberation.”




       122 https://drive.google.com/file/d/1c-7VEJ1LCDD-TZQcz8Sng8F_ugL7XzcR/view




                                         -91-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 92 of 218 PageID 288




 National SJP Is Affiliated           with    Radical     and    Hamas-loving
 Organization, CodePink
       207. National SJP also coordinates many of its activities with

 CodePink, a radical United States organization that maintains ties to

 numerous U.S.-designated terror organizations. It has extensively documented

 its numerous visits to Hamas in Gaza, has publicly endorsed PFLP terrorist

 Khalida Jarrar, and has engaged with Hezbollah as well as with former

 Iranian President Mahmoud Ahmadinejad.

       208. National SJP and CodePink coordinate closely on activities,

 events, and even share office space and personnel. CodePink appears to be

 training university students in extreme protest tactics, such as civil

 disobedience and disrupting public speaking events. It also cohosts protests

 with SJP leaders and other prominent BDS organizations and its cofounders

 and staff meet with SJP chapters across the United States. Furthermore,

 CodePink uses SJP members to create propaganda for CodePink-organized

 protests.

       209. Since 2015, CodePink has posted ads to its website saying that it

 seeks interns focusing on “Palestine work,” listing the address 1247 E Street

 SE as the internship location. This same address was used by National SJP as

 its mailing address in its 2016 newsletter. However, CodePink lists its regional




                                       -92-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 93 of 218 PageID 289




 DC office at a different location. 123 The DC office of CodePink seems to be

 hosting only this project dedicated to Palestine-related issues, using the same

 space as National SJP, if not devoting the position exclusively to National

 SJP.124 CodePink refers to the Palestinian BDS National Committee, a

 committee deeply intertwined with Hamas, as “an ally.”

       210. In 2009 alone CodePink organized seven trips to Gaza. On each

 visit they were welcomed by Hamas.125 When addressing concerns for

 participant safety on the trips, CodePink founder Medea Benjamin stated that

 “Hamas has pledged to ensure our safety.”126 On another trip Benjamin

 received a letter penned by Hamas that she planned to deliver directly to U.S.

 President Barack Obama. The letter was signed by Ahmed Yusef, former

 Deputy Foreign Minister and former Senior Political Advisor to former Hamas

 President Ismael Haniyeh.127




       123 http//:www.codepink.org/contact_us

       124https://www.codepink.org/codepink_looking_for_dc_intern_focusing_on_

 palestine_work
        125 https://www.youtube.com/watch?v=AW-Vz6CvMD4

       126      https://web.archive.org/web/20100209091309/https://www.thereminder.com/
 localnews/greaterspringfield/massachusettswomen/
        127   https//:www.commondreams.org/views/2009/06/04/hamas-delivers-peace-letter-
 president-obama


                                           -93-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 94 of 218 PageID 290




 National SJP and SJP Chapters’ Stated Mission Aligns with Hamas
       211. “Terrorists are increasingly using the hidden parts of the Internet

 to avoid surveillance, relying on the open web for recruiting but then moving

 to encryption and the Dark Web for more nefarious interactions.”128 The

 Department of Homeland Security came out with a report in September 2019

 which stated that the development of the “dark web,” and the proliferation of

 “encryption and anonymizing technology” created major implications for

 terrorism because “violent extremists can disseminate their message globally

 and foster online communities that lure vulnerable individuals…Online

 extremist communities lionize attackers, encouraging others to follow their

 footsteps.”129 Because of the dark web, much of the activity between terrorists

 like Hamas and U.S. youth goes unnoticed.

       212. Several anti-Israel organizations are active on college campuses,

 but the most visible and organized is SJP. SJP is the most prominent and

 active anti-Israel and anti-Zionist student group, consisting of over 200

 chapters across the country. “SJP in different forms is the campus organization

 most directly responsible for creating a hostile campus environment saturated




       128 Terrorists Use the Dark Web to Hide, USATODAY/ Published March 27, 2017

       129       https://www.dhs.gov/sites/default/files/publications/19_0920_plcy_strategic-
 framework-countering-terrorism-targeted-violence.pdf


                                            -94-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 95 of 218 PageID 291




 with anti-Israel propaganda agendas and events, BDS initiatives, and

 intimidation.”130

         213. A New York Times Article describes the intentionally loose

 structure of SJP:

         214. “But unlike many national campus groups—whether they are

 sororities, fraternities, religious or political—Students for Justice in Palestine

 is by design a loosely connected network of autonomous chapters. There is no

 national headquarters and no named leader. There is a national student

 steering committee, but it is anonymous. The group has never registered as a

 nonprofit, and it has never had to file tax documents.

         215. One of the people who founded it about 30 years ago, Hatem

 Bazian, has described the setup as ‘a symbolic franchise without a franchise

 fee.’

         216. That deliberate lack of hierarchy has been crucial to the

 network’s ascent, allowing chapters to spring up with few obstacles,




         130   NGO Monitor, The NGO Network Orchestrating Antisemitic Incitement on
 American      Campuses »        ngomonitor,   ngomonitor       (2024),   https://www.ngo-
 monitor.org/reports/ngo-network-orchestrating-antisemitic-incitement-on-american-
 campuses/ (last visited Jul 2, 2024).


                                           -95-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 96 of 218 PageID 292




 according to interviews with 20 people and a survey of videos, academic

 writings, archival news accounts and public records.” 131

       217. A study by the Network Contagion Research Institute, an

 information verification think tank, found the presence of SJP on campuses

 “significantly correlated with antisemitic activity.”

       218. Several leading universities have banned SJP from their campuses

 because of their harassment of Jewish students and affiliation with Hamas.

       219. The mission of National SJP mirrors Hamas’s Charter. National

 SJP proclaims its mission to be:

       220. “[T]o elevate the student movement for Palestinian liberation to a

 higher level of political engagement. We aim to develop a connected, disciplined

 movement that is equipped with the tools necessary to contribute to the fight

 for Palestinian liberation.”132

       221. This parallels language in the 2017 Hamas Charter:

       222. “Resistance and jihad for the liberation of Palestine will

 remain a legitimate right, a duty and an honour [sic] for all the sons and

 daughters of our people and our Ummah.”


       131 Alan Blinder, How a Pro-Palestinian Student Group Became a Leader of Campus

 Protests,        The       New        York   Times,        November       17,      2023,
 https://www.nytimes.com/2023/11/17/us/students-justice-palestine-campus-protests.html
 (last visited Jul 2, 2024).https://www.nytimes.com/2023/11/17/us/students-justice-
 palestine-campus-protests.html
         132https://nationalsjp.org/about




                                          -96-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 97 of 218 PageID 293




       223. The Hamas charter calls for the annihilation of Israel through

 “jihad” (i.e., holy war) and seeks to establish an Islamic state in place of Israel,

 “from the (Jordan) River to the (Mediterranean) Sea.” It advocates the use of

 violence and terrorist attacks to achieve its ends. The leaders of IAP/AMS, and

 HLF, and the organizations themselves, were well-known vocal advocates and

 proponents of this ideology and political program. AMP and AJP—which

 stepped into the shoes of IAP/AMS, and HLF—have adopted this terrorist

 ideology as well.


 SJP Promulgates and Supports Hamas Ideology
       224. As the offshoot of AMP, SJP and its chapters likewise adopted

 Hamas’s terrorist ideology and openly support the use of violence to achieve

 their political goals. SJP rallies regularly call for an “intifada,” a phrase for

 “uprising” which encourages resistance, most prominently in the form of

 violence, against Israel, and call for Palestine to be free “From the River to the

 Sea,” which would eliminate the existence of Israel. “From the River to the Sea”

 is a common call-to-arms for pro-Palestinian activists, especially student

 activists on college campuses. It calls for the establishment of a State of

 Palestine from the Jordan River to the Mediterranean Sea, erasing the State

 of Israel and its people, by any means necessary, including violence, terrorism,

 and murder. SJP consistently condones violence and utilizes its rallies to

 support and legitimize the Hamas terrorist ideology.

                                        -97-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 98 of 218 PageID 294




       225. In an interview, Dan Diker, President of the Jerusalem Center for

 Public Affairs, explained that SJP is a Palestinian terror organization front.133

       226. SJP chapters have expressed public support for and solidarity with

 Hamas on social media. A Facebook post “In solidarity with the innocent

 Palestinian prisoners” by University of Alabama Birmingham’s SJP chapter

 named three terrorists as “innocent” hunger-striking prisoners. One terrorist,

 Abdullah al-Barghouti, is currently serving 67 consecutive life sentences in

 Israel after pleading guilty to bomb-making for Hamas in 2004. Bombs

 assembled by al-Barghouti killed 66 people and injured 500 others. Two

 members of Islamic Jihad were also glorified in the post.134 Hamas terrorists

 clearly serve as role models and leaders for SJP.

       227. SJP activists have also used violence and intimidation against

 Jewish students. In 2002, 79 members of SJP at Berkeley were arrested for

 disrupting a Holocaust memorial event. In 2010, the head of Berkeley’s SJP

 chapter rammed a Jewish student with a shopping cart. In 2014, an SJP

 member directed antisemitic slurs at a Jewish student and punched him in the

 face. In May 2021, several individuals participating in a protest organized by


       133Dr.   Dan Diker, Unmasking the Ivy League Jihad of Students for Justice in
 Palestine, Jerusalem Center for Public Affairs (2023), https://jcpa.org/unmasking-the-ivy-
 league-jihad-of-students-for-justice-in-palestine/ (last visited Jul 2, 2024).
       134

 https://m.facebook.com/story.php?story_fbid=459003287460029&substory_index=0&id=
 407357742624584


                                           -98-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 99 of 218 PageID 295




 an SJP offshoot brutally assaulted a Jewish man in New York City near Times

 Square.135




 Coloradans for Justice in Palestine ‒ Moe Zeitawi, Twitter

       228. SJP’s defiance of university administrations and the law have been

 illustrated in a series of disturbances over the past several years at the

 University of California Irvine (“UCI”). Since its founding in 2006, the UCI

 chapter of SJP alone has been embroiled in several incidents involving

 altercations, harassment, and intimidation of pro-Israel events and students

 on campus. The group has been reprimanded repeatedly by the university

 administration. In June 2010, UCI SJP members, known as the “Irvine 11,”

 were arrested for violent verbal disruptions of a presentation by Dr. Michael

 Oren, former Israeli ambassador to the United States, subsequently a member

 of Knesset and Deputy Minister of Public Diplomacy in the Prime Minister’s

 Office.136 In September 2011, the “Irvine 11” were found guilty of criminal



       135https://www.fdd.org/analysis/2023/12/04/7-things-to-know-about-campus-

 support-for-hamas-and-antisemitism/
       136 https://jcpa.org/pdf/sjp_unmasked_2023.pdf




                                           -99-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 100 of 218 PageID 296




 misdemeanor charges and sentenced to three years of informal probation by

 an Orange County, California court. AMP campus liaison Taher Herzallah was

 one of the “Irvine 11.”137


 Within Our Lifetime—A Front for More Violence
       229. In early 2018, NYC SJP rebranded itself as Within Our Lifetime

 (“WOL”). The group wrote in 2018, “We know Palestine, within our Lifetime.

 Palestine will be freed, refugees will return, and all of historic Palestine will

 be decolonized.” The group noted that its new name “empowers and ignites our

 fire to be a part of resisting zionism [sic] and building the path towards

 liberation.” In the group’s short history, it has stated multiple times that its

 goal is to “liberate all of Palestine within our lifetime,” implying the

 replacement of Israel with a Palestinian state. According to the group’s founder

 Nerdeen Kiswani, “The only way forward for a free Palestine is through

 resistance... As with all anti-colonial struggles, a concrete way forward is

 through fight back, in all of its forms.”

       230. In 2021, WOL launched a campaign to “Globalize the Intifada”

 which comes from the “urgent need to defend our lands, resist our oppressors,

 and break free from the genocidal grip of U.S. imperialism and Zionism.”138



       137http://www.ocweekly.com/news/taher-herzallah-irvine-11-defendant-is-

 unrepentant-at-ucsanta-barbara-6484944
       138 https://jcpa.org/pdf/jihad_unmasked_2023.pdf




                                           -100-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 101 of 218 PageID 297




 This language mirrors the 2017 Hamas charter and demonstrates that WOL

 (previously NYC SJP) considers itself a part of Hamas in the fight to “liberate

 Palestine” by any means necessary “in all of its forms.” Defendant Nerdeen

 Kiswani was arrested at a pro-Hamas rally in January 2024. Kiswani

 has called for the death of Zionists and for Israel’s destruction and spread

 incitement to violence as the chairperson of WOL. Kiswani has also glorified

 intifada, honored leaders of the PFLP and expressed support for terrorism in

 her activism.139

       231. In June 2021, Defendant Kiswani participated in a conference,

 “Challenging Apartheid in Palestine: Reclaiming the Narrative, Formulating

 a Vision,” hosted by the Istanbul Sabahattin Zaim University. Conference

 organizers and sponsors, as well as other participants, were linked to various

 terrorist groups, including Hamas, Islamic Jihad, Hezbollah, and the Popular

 Front for the Liberation of Palestine (PFLP).140




       139 https://canarymission.org/individual/Nerdeen_Kiswani

       140   NGO Monitor, The NGO Network Orchestrating Antisemitic Incitement on
 American      Campuses »        ngomonitor,   ngomonitor       (2024),   https://www.ngo-
 monitor.org/reports/ngo-network-orchestrating-antisemitic-incitement-on-american-
 campuses/ (last visited Jul 2, 2024).


                                          -101-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 102 of 218 PageID 298




         232. In March 2022, Instagram banned WOL after it posted a collage

 featuring women who have engaged in terrorism against Israel, including Leila

 Khaled and Rasmea Odeh.141

         233. Since the October 7 Attacks, “WOL has been the central organizing

 force in the series of ‘Flood’-themed protests in New York City since Oct. 7,

 including multiple bridge and highway blockades, a November riot at Grand

 Central Station, the vandalism of the New York Public Library, and protests

 at the Rockefeller Center Christmas-tree lighting.”142

         234. In November 2023, WOL posted maps on its Instagram account

 detailing the locations of Jewish organizations in New York City and saying

 they had “blood on their hands.”143




         141David    Isaac, Instagram bans anti-Israel group after it posts collage featuring
 terrorists, JNS.org (2022), https://www.jns.org/instagram-bans-anti-israel-group-after-it-
 posts-collage-featuring-terrorists/ (last visited Jul 2, 2024).
 142
     Park MacDougald, The People Setting America on Fire, Tablet Magazine, May 6, 2024,
 https://www.tabletmag.com/sections/news/articles/people-setting-america-on-fire-soros-tides-wespac (last visited
 Jul 2, 2024).
 143
     What is Within Our Lifetime, the group behind NY’s most extreme anti-Israel protests?, The Times of Israel
 (2024), https://www.timesofisrael.com/what-is-within-our-lifetime-the-group-behind-nys-most-extreme-anti-israel-
 protests/ (last visited Jul 2, 2024).


                                                      -102-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 103 of 218 PageID 299




         235. In February 2024, Instagram deactivated the WOL accounts as

 well as that of Defendant Kiswani due to “violations of community

 guidelines.”144 WOL has also been banned from Facebook.145

         236. In a May 18, 2024 rally held in Bay Ridge, Brooklyn, Defendant

 Nerdeen Kiswani led a sea of anti-Israel demonstrators in a series of chants

 against both Israel and the U.S.146 Kiswani predicted that the next generation

 of politicians will be more receptive to the goal of eliminating Israel. She yelled

 to a cheering crowd that President Biden is the oldest president in American

 history, and he will die soon. “His generation will die with him, so we already

 know that the future is on our side. The world can get on board, or they can be

 on the wrong side of history.”147




         144NGO     Monitor, The NGO Network Orchestrating Antisemitic Incitement on
 American      Campuses »       ngomonitor,        ngomonitor   (2024),    https://www.ngo-
 monitor.org/reports/ngo-network-orchestrating-antisemitic-incitement-on-american-
 campuses/ (last visited Jul 2, 2024).; Instagram removes accounts for leading NYC pro-
 Palestinian   group     Within      Our    Lifetime,   The   Times     of  Israel   (2024),
 https://www.timesofisrael.com/instagram-removes-accounts-for-leading-nyc-pro-palestinian-
 group-within-our-lifetime/ (last visited Jul 2, 2024).
 145
     Contact - Within Our Lifetime, Within Our Lifetime - United for Palestine (2021),
 https://wolpalestine.com/sample-page/contact/ (last visited Jul 2, 2024).
 146
     The Algemeiner, Anti-Israel Activist Leads Chants in New York Predicting Biden’s Death, Calling for ‘No More
 Zionists in Palestine’ - Algemeiner.com, Algemeiner.com - The fastest growing Jewish newspaper in America. Your
 one stop source for all news and commentary from Israel and the Jewish world, Jewish art, Jewish culture, Jewish
 music, analysis, opinion, blogs and more... (2024), https://www.algemeiner.com/2024/05/23/anti-israel-activist-
 leads-chants-new-york-predicting-bidens-death-calling-no-more-zionists-palestine/ (last visited Jul 2, 2024).;
 https://x.com/MEMRIReports/status/1793227253343473691
 147
     Id.


                                                     -103-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 104 of 218 PageID 300




          SJP Chapters Instigate Violence, Harassment, and
                Antisemitism on College Campuses
        237. SJP Chapters and their members have openly displayed

 increasing amounts of antisemitic and violent rhetoric against Israel over the

 past several years.

        238. In 2017, a student at Saint Xavier University and workshop leader

 at a National SJP conference tweeted: “‘Barack Obama, shut up about gay

 marriage and go kill all the Jews.’” The student also made no secret that he is

 a fan of terrorist group Hamas, posting: ‘YES I SUPPORT HAMAS!’ and

 ‘Hamas promotes peace.’”148

        239. In July 2018, Stanford University SJP leader Hamzeh Daoud

 posted on Facebook: “I’m gonna physically fight Zionists on campus next year

 if someone comes at me with their ‘Israel is a democracy’ bullsh*t. And after I

 abolish your ass I’ll go ahead and work every day for the rest of my life to

 abolish your petty ass ethno-supremacist, settler-colonial state.”149

        240. In May 2017, the SJP chapter at Northwestern University hosted

 Rasmea Odeh, who was convicted by an Israeli court for her role in a 1969




        148    https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf
        149 Holden Foreman, Daoud’s Facebook post, originally threatening to ‘physically fight’

 Zionists,     sparks       debate,     The    Stanford      Daily,    July       22,     2018,
 https://stanforddaily.com/2018/07/22/norcliffe-ra-threatens-to-physically-fight-zionists-in-
 facebook-post/ (last visited Jul 2, 2024).


                                            -104-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 105 of 218 PageID 301




 bombing that killed two Israelis but was later released as part of a prisoner

 exchange. During her presentation she called on her audience to “continue to

 fight American Zionism.”150 In February 2015, the DePaul University SJP

 chapter held a fundraiser honoring Odeh and celebrating her “resilience.”151

 According to the group’s Facebook event, all proceeds from the fundraiser went

 towards Odeh’s legal defense fund to pay for her defense on federal charges of

 immigration fraud, for which she was ultimately convicted.152 In September

 2015, SJP at UC San Diego celebrated Odeh at a general member meeting,

 sharing a photo of the convicted terrorist with her fist raised.153 In May 2017,

 SJP at the University of Chicago posted a statement calling Odeh their “brave

 community leader,” who “taught [them] so much about the continuous struggle

 for liberation.”154

       241. In April 2018, Julia Kassem, a speaker at an SJP event at Wayne

 State University, posted that “Resistance to occupation by any means

 necessary is not [by definition] violence,” and called on her listeners to fight

 oppression “by any means necessary including armed resistance.” She


       150   The Forward, Convicted Terrorist On Campus Unifies Jewish Students, The
 Forward (2017), https://forward.com/news/372112/jewish-students-mustered-a-rare-unity-
 to-protest-this-palestinian-activist/ (last visited Jul 2, 2024).
        151 https://www.facebook.com/events/400784890046595

       152 https://www.facebook.com/events/400784890046595

       153 https://www.facebook.com/sjpucsd/photos/a.82120682364/10153623607717365/?

       154        https://www.facebook.com/SJPUChicago/posts/statement-regarding-zionist-
 propaganda-posted-on-the-university-of-chicago-campu/1238351482928872/


                                          -105-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 106 of 218 PageID 302




 concluded, “There’s a quote I just want to say from George Habash of the PFLP

 from 1967 that the only language that the enemy understands is the language

 of revolutionary violence.”155

       242. SJP’s mock eviction notices have also been a popular antisemitic

 intimidation tactic. SJP members at universities including Harvard, NYU, and

 Northeastern have placed these notices under the doors of Jewish students,

 leading those students to report antisemitic fears and harassment by SJP.

       243. SJP rallies have featured Islamist war cries for the destruction of

 Israel. In July 2014, Florida International University’s SJP co-sponsored a

 rally in front of Miami’s Israeli consulate. Protestors chanted “Khaybar,

 Khaybar, oh Jew, Muhammad’s army will return,” a reference to a massacre

 of Jews by Muslims in 628 CE.

       244. Also in 2014, UCLA’s SJP chapter hosted a presentation by

 Palestinian BDS leader Omar Barghouti, the founder of the Boycott, Divest

 and Sanctions (BDS) Movement. The event was called “International

 Solidarity with Palestine: Towards a Global Intifada.” Barghouti justified

 Palestinian terror, claiming that Jews held positions within the former Nazi

 regime. In 2017, Columbia SJP similarly held a demonstration on Holocaust

 Memorial Day featuring Barghouti. In April 2019, Omar Barghouti was barred



       155 https://www.facebook.com/sjpwsu/videos/1657889307621160/




                                         -106-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 107 of 218 PageID 303




 from entering the United States as he tried to board a flight to New York. The

 reason Barghouti was denied entry to the U.S. was due to the fact that BDS,

 the group Barghouti founded and directs, includes five U.S.-designated

 terrorist organizations in its membership, including Hamas, Palestinian

 Islamic Jihad, and the Popular Front for the Liberation of Palestine.156

 Barghouti, who consistently incites antisemitism and supports Jihadist

 terrorism, was intending to speak at several venues, including NYU as a guest

 of SJP.157

       245. Following a March 2016 lecture by Israeli diplomat George Deek

 at UC Davis, Jewish students reported verbal threats such as “Death to the

 Jews.” SJP members interrupted Deek, a Christian Arab from the Israeli city

 of Jaffa, shouting, “Long live the Intifada,” “When Palestine is occupied,

 resistance is justified,” and “Takbir, Allahu Akbar.”

       246. UC Davis’ SJP branch exposed its goal of eliminating Israel in a

 July 2018 op-ed that appeared in the California Aggie student newspaper

 declaring that “It is an ideological fantasy to really believe that progress is

 possible so long as the state of Israel exists.”



       156 Support for Terrorism, Not Ideas, Kept Omar Barghouti Out of the U.S., Mosaic

 Magazine, https://mosaicmagazine.com/picks/israel-zionism/2019/04/support-for-terrorism-
 not-ideas-kept-omar-barghouti-out-of-the-u-s/ (last visited Jul 2, 2024). .
        157    https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-
 Version.pdf


                                          -107-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 108 of 218 PageID 304




       247. The following depicts an altar glorifying terrorist “martyrs”

 created by the University of Chicago’s SJP in November 2015. The altar

 commemorates Palestinian terrorists, including Hadeel al-Hashlamon, who

 attempted to stab an Israeli soldier, and Fadi Aloun, who stabbed a 15-year-old

 Israeli in October 2015.




       248. In 2016, the Irvine, California district attorney announced a

 criminal investigation of University of California Irvine’s SJP chapter, in

 response to an incident in which protestors interrupted an event by a pro-Israel

 student organization, chanting “‘Long live the intifada,’ ‘f *** the police,’

 ‘displacing people since ‘48, there’s nothing here to celebrate’ and ‘all white

 people need to die.’”

       249. Violent incidents have also been reported at Cornell, Loyola

 University in Chicago, and Stanford where Jewish students have been spat on,

 harassed, and assaulted on campus by SJP protestors.



                                      -108-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 109 of 218 PageID 305




       250. UCLA history professor Robin D.G. Kelley has argued that

 Palestinians have a right to use violence against Israel. Kelley has also

 declared in an article that the Israeli “government of injustice will indeed

 vanish.” Kelley has spoken at several events organized by UCLA SJP, the hosts

 of the 2018 National SJP Conference. UCLA SJP also hosted the event titled

 “International Solidarity with Palestine: Towards a Global Intifada,” where

 Kelley and BDS cofounder Omar Barghouti were featured speakers.

       251. University of Hawaii-Manoa English professor Cynthia Franklin

 has worked to establish new SJP chapters nationwide. She has also helped

 establish Faculty for Justice in Palestine (FJP) nationwide. In an Electronic

 Intifada podcast by Franklin and FJP cofounder, Purdue University English

 and American Studies professor Bill Mullen, Franklin explains that FJP was

 founded by a group of BDS-supporting faculty members. In the interview,

 Mullen noted that he designed the curriculum for his courses at Purdue to

 include material by author and PFLP terror-group leader Ghassan Kanafani

 and “other critical Palestinian writers who have, to some extent, been

 neglected outside of the narrow canons of Middle East literature, who I think

 now are becoming more familiar to students.”158




       158 https://www.youtube.com/watch?v=rB3TIt_AQvs




                                       -109-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 110 of 218 PageID 306




       252. Mullen and Franklin have also encouraged students to read books

 like Electronic Intifada cofounder and one-state activist Ali Abunimah’s Battle

 for Justice in Palestine. Mullen says that because of these reading selections

 and a strong campus SJP presence, “faculty and curricula are beginning to

 shift.”159 Mullen’s personal website includes the tagline “From the River to the

 Sea,” declaring his support for Israel’s destruction and features pictures of and

 quotes by Kanafani.160 On Mullen’s personal Facebook page, he celebrates the

 30th anniversary of the First Palestinian Intifada, shares links in support of

 the creation of “One State in Palestine,” and petitions in support of Palestinian

 Islamic Jihad terrorist Khader Adnan.161

       253. Iyman Chehade, a lecturer in Middle East History at Columbia

 College and the Art Institute of Chicago, serves as a faculty advisor to SJP and

 has been a featured speaker at National SJP conferences. In Chehade’s words,

 “everything I do basically ties back [to] Palestine. When you work on Palestine

 here, you’re resisting there as well.”162

       254. SJP has consistently played a central role in Israel Apartheid

 Week (“IAW”) activities. IAW consists of seven days of BDS activities held each

 spring at university campuses around the world. IAW was founded in 2005 at


       159 Id.

       160 https://www.billvmullen.com/palestine-bds-activism/

       161 https://www.facebook.com/bill.mullen.3511

       162 https://www.facebook.com/iymen.chehade/posts/10152429510613231




                                          -110-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 111 of 218 PageID 307




 the University of Toronto. SJP chapters have promoted IAW across the United

 States. It is often the busiest week of activities for each SJP chapter. IAW

 activities     include    speaker     series,    movie    screenings,     and     campus

 demonstrations all carrying one message: Israel is an illegitimate apartheid

 entity that must be replaced with a Palestinian state.163 IAW is not just about

 spreading an anti-Israel message but has become platforms for harassment

 and intimidation of students who question or disagree with IAW

 propaganda.164

        255. The following is a picture from SJP’s Facebook page at Indiana

 University-Purdue University Indianapolis lauding stabbing attacks and

 terror “resistance” against predatory “Israeli” wolves:




 https://jcpa.org/pdf/sjp_unmasked_2023.pdf


        163   https://www.timesofisrael.com/apartheid-week-really-does-threaten-israel-some-
 expertswarn/
        164 https://jcpa.org/pdf/sjp_unmasked_2023.pdf




                                            -111-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 112 of 218 PageID 308




            256. The following is a picture of an off-campus chalking activity on

 August 13, 2022, where members of Wayne State University SJP depicted

 Ibrahim al Nabulsi, who was a senior commander in the Hamas Al-Aqsa

 Martyrs Brigade and allegedly involved in several shootings in the West

 Bank,165 glorifying those who die as martyrs while committing terror.




            257. On September 2022, SJP at University of Wisconsin, Madison

 shared an Instagram story venerating several terrorists, including Leila

 Khaled and Yahya Ayyash. Ayyash is well-known for his role making bombs



 165

          Center on Extremism. (2023, September 12). You are being redirected... Adl.Org.
 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023
            165
                  https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023
 165
       https://www.instagram.com/p/CcoDxW6oSEY/
           https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023
            165

       165 Daniel Ackerman, 7 Things to Know About Campus Support for Hamas and

 Antisemitism, FDD (2023), https://www.fdd.org/analysis/2023/12/04/7-things-to-know-about-
 campus-support-for-hamas-and-antisemitism/ (last visited Jul 2, 2024).


                                                  -112-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 113 of 218 PageID 309




 for Hamas, many of which were used in suicide bombings that killed scores of

 Israel civilians in the 1990s.166

            258. On April 21, 2022, UCLA SJP held a “Hands off Palestine” rally at

 the Israeli Consulate, co-sponsored by Defendants AMP and USPCN. At the

 rally a UCLA SJP student read a statement which included, “Dismantling

 Zionism requires a tremendous organized effort for our people in Palestine.

 The struggle for Palestinian liberation continues and will continue until

 complete liberation.”167

            259. On February 27, 2023, an Instagram account representing SJP

 chapters across southern California shared a post venerating the firing of

 rockets at Israel and revenge against Israel from Resistance News Network

 (“RNN”), a radical anti-Zionist English-language channel on Telegram and

 Instagram that promotes violence against Israel.168

            260. In May of 2023, AMP and two SJP chapters cohosted an event

 featuring Mohammad el-Mezain, one of five individuals arrested and convicted

 as part of the federal case against the Holy Land Foundation for funding

 Hamas.169


            166 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023

 167
       https://www.instagram.com/p/CcoDxW6oSEY/
            168 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023

            169   Daniel Ackerman, 7 Things to Know About Campus Support for Hamas and
 Antisemitism, FDD (2023), https://www.fdd.org/analysis/2023/12/04/7-things-to-know-about-
 campus-support-for-hamas-and-antisemitism/ (last visited Jul 2, 2024).


                                                  -113-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 114 of 218 PageID 310




       261. The Anti-Defamation League issued a report titled “Anti-Israel

 Activism on U.S. Campuses, 2022-2023” (the “ADL Report”).170 The ADL

 Report found that: (1) anti-Israel activists on U.S. college campuses—the bulk

 of which are led by SJP chapters—embraced a strategy of vilifying Zionists and

 supporting terrorism against the Jewish state during the 2022-2023 academic

 school year; (2) there were 665 campus anti-Israel incidents during the 2022-

 2023 academic year— nearly double the number of incidents from the prior

 school year; and (3) SJP chapters appeared to be less restrained in expressing

 support for designated terrorist organizations and individuals who are known

 to have killed Israelis.171

       262. According to the ADL Report, SJP expressed on at least 10

 occasions admiration for Leila Khaled, a member of the PFLP. She is known

 for previously hijacking two planes. In a publicity post for their March 2017

 event about feminism in Palestine, SJP at UC San Diego posted a dramatic

 drawing of Leila Khaled, smiling while holding a rifle, subtitled “Don’t forget

 the struggle.”172 In February 2016, Vassar SJP posted an image of a student

 wearing a sweatshirt emblazoned with an image of Khaled holding a gun,




       170 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023

       171 Id.

       172 https://www.facebook.com/events/331924593871756/




                                          -114-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 115 of 218 PageID 311




 captioned, “resistance is not terrorism.”173 SJP’s decision to post this image on

 sweatshirts alongside the hashtag #ExistenceisResistance is a tacit indicator

 that they condone the use of violence.174

       263. Other SJP chapters at the University of Texas, Dallas, New York

 University Law School, and the University of Massachusetts posted violent

 images containing PLFP’s logo and guns. In January 2024, the University of

 Chicago’s SJP chapter honored Khairy Alqam—who murdered seven civilians

 in Jerusalem—in a collage titled “Honoring the Martyrs.” The ADP Report

 noted that many expressions of support for violence/terror were accompanied

 by the slogan that “[armed] resistance is justified when the people are

 occupied,” which is often used by activists to promote all violence against

 Israel, even against civilians.

       264. According to the ADL Report, in June 2022, National SJP and

 several of its campus chapters including Tufts SJP, Wellesley SJP, Rhode

 Island School of Design SJP and George Washington University SJP

 established “The Mapping Project.” The Mapping Project is a website that

 contains an interactive map pinpointing the locations of many Boston-area

 Jewish communal and other organizations, including elementary schools, that


       173     https://www.facebook.com/SJPatVC/photos/rpp.569630543102374/102605834
 0792923/?type=3&theater
       174 Center on Extremism. (2023b, October 19). You are being redirected... Adl.Org.

 https://www.adl.org/resources/backgrounder/students-justice-palestine-sjp


                                           -115-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 116 of 218 PageID 312




 the anonymous creators believe are responsible for the “colonization of

 Palestine” and other perceived “harms,” among which they include Zionism.

 The website includes a call to “dismantle” and “disrupt” all the named

 organizations and states.175

       265. According to the ADL Report, RNN was disseminated by many

 SJP chapters. The channel’s posts include the explicit promotion of Hamas, as

 well as many images of individuals with guns and the depiction of rockets being

 fired at Israel. RNN also occasionally posts communiques from Hamas’s Al

 Qassam Brigades.176

       266. According to the ADL Report, during the summer of 2022, a social

 media channel and website called Jisr Collective was promoted by some SJP

 chapters. Jisr Collective (now dormant after being banned from Twitter in

 November 2022) conveyed support for all forms of “armed resistance” to Israel,

 including from terror groups like Hamas.177 “The embrace by many SJP

 chapters of RNN, Jisr Collective and The Mapping Project signals that explicit

 promotion of violence against Israel and calls to eradicate Zionism and

 dismantle Zionist institutions are accepted among large swaths of the campus

 anti-Zionist movement.”178


       175 Id.

       176 Id.

       177 Id.

       178 https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2022-2023




                                          -116-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 117 of 218 PageID 313




       267. At Cornell, Jewish students were the subject of violent death

 threats targeting the Jewish dining hall following the October 7 Attacks,

 including statements like:

       268. “If I see another Jew on campus, I will stab you and slit your

 throat. If I see another pig female Jew, I will drag you away, rape you and

 throw you off a cliff. Jews are human animals and deserve pigs’ death.

 Liberation by any means from the River to the Sea, Palestine will be

 free…Gonna shoot up 104 West, the Kosher dining hall. Glory to Hamas,

 liberation by any means necessary.”179

       269. SJP chapters are not peaceful organizations advocating for the

 Palestinian people. SJP sanctions violence and harassment of Jewish and

 Israel-friendly students and faculty on campus, as well as Jewish

 organizations off campus. SJP applauds Hamas terrorist attacks in Israel and

 praises Hamas terrorists and “martyrs.” SJP receives monetary and material

 support from organizations and individuals who have demonstrable ties to

 Hamas. SJP also regularly intimidates and harasses Jewish and pro-Israel

 students. Documented incidents of antisemitism involving SJP members make

 the commonalities between SJP and Hamas extremists and terrorists

 apparent. The violent activities of SJP chapters on college campuses, their


       179     https://gop-waysandmeans.house.gov/seven-key-moments-from-ways-means-
 hearing-on-nexus-between-antisemitism-tax-exempt-universities-and-terror-financing/


                                          -117-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 118 of 218 PageID 314




 blatant antisemitism and glorification of terrorism and terrorists, and their

 calls for the destruction of the State of Israel mirror the activities and

 ideologies of Hamas, showing that Hamas has bred these student members of

 SJP to be the students of Hamas.

       270. “In short, SJP’s nationwide aggressive actions, initiatives, and

 programming have signaled to Hamas…that they could carry out the mass

 murder of Israelis with limited repercussions in the West.”180


 SJP Solidarity with and Support for Hamas’s October 7 Attacks
       271. Immediately following the October 7 Attacks, SJP chapters on

 multiple campuses led protests and other actions that openly praised Hamas

 terrorists and the death of innocent Israeli citizens. People participating in

 these protests bullied, intimidated, and harassed Jewish and pro-Israel

 students on campus. The harassment emerged as an extension of the October

 7 Attacks by SJP, the student arm of Hamas. This led to several American

 universities suspending or banning SJP from their campuses.

       272. SJP and National SJP praised the October 7 Attacks as a “historic

 win for the Palestinian resistance,” praised the Hamas terrorists as “martyrs,”

 and endorsed Hamas’s deliberate targeting of Israeli civilians and its calls for



       180 Dr. Dan Diker, JIHAD ON CAMPUS Unmasked HOW PRO-HAMAS STUDENTS

 FOR JUSTICE IN PALESTINE HIJACKED U.S. UNIVERSITIES, Jerusalem Center of
 Public Affairs (2023) https://jcpa.org/pdf/jihad_unmasked_2023.pdf


                                      -118-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 119 of 218 PageID 315




 the death of all Jewish people. An SJP toolkit distributed to campus chapters

 in the days after the October 7 Attacks overtly stated that “Responsibility for

 every single death falls solely on the Zionist entity” and that the attacks “are

 the natural and justified response” to poor conditions for Palestinians in the

 Gaza Strip.181

        273. On October 7, 2023, WOL published a statement declaring, “We

 must defend the Palestinian right to resist Zionist settler violence and support

 Palestinian resistance in all its forms. By any means necessary. With no

 exceptions and no fine print.”182

        274. On October 8, 2023, a coalition of student groups at Harvard

 signed a letter stating that they hold “the Israeli regime entirely responsible

 for all unfolding violence.”183 The letter was authored by the Palestinian

 Solidarity Committee, which is an SJP chapter.

        275. In the days following the October 7 Attacks, the national

 leadership of SJP and many of the organization’s campus chapters explicitly




        181https://dw-wp-production.imgix.net/2023/10/DAY-OF-RESISTANCE-

 TOOLKIT.pdf
      182 https://twitter.com/yaelbt/status/1740890032586768676

        183 J. Sellers   Hill & Nia L. Orakwue, Harvard Student Groups Face Intense Backlash
 for Statement Calling Israel ‘Entirely Responsible’ for Hamas Attack, The Harvard Crimson
 (2023), https://www.thecrimson.com/article/2023/10/10/psc-statement-backlash/ (last visited
 Jul 2, 2024).


                                              -119-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 120 of 218 PageID 316




 endorsed the actions of Hamas and voiced an increasingly radical call for

 confronting and “dismantling” Zionism on U.S. college campuses.

       276. On October 9, 2023, two days after the October 7th Attacks, the

 official Facebook account for the University of South Florida SJP posted the

 following message above a picture of an individual holding the Palestine flag

 while standing on a tank: The western media will continue to portray this as

 “terrorism” but this is a response to over 70 years of ongoing occupation, ethnic

 cleansing, genocide, and apartheid. We will continue to be the voice for the

 thousands of children, women, and men who have been silenced and killed. The

 Palestinian struggle is not anti-semitic, rather, a struggle against Israeli

 zionists; a struggle to exist. We stand in solidarity with our Palestinian people.

 “They would rather die on their feet, then be living on their knees.” - Former

 President, @lealishalabi And as always, free Palestine.




 @SJP, FACEBOOK (Oct. 9, 2023, 3:00 AM),
 https://www.facebook.com/sjpusf/posts/pfbid037qNsPmsux7ELzQzVwwiCrTX
 SJaTTHgJusgr1FdBZjmx5re9dSVWX77nV614Aa7cql.


                                       -120-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 121 of 218 PageID 317




       277. As explained in a report by the Jerusalem Center for Public

 Affairs: “SJP’s jihadi narrative has whitewashed terrorism and mass murder,

 transforming the students’ organization into a conduit for pro-jihadi activism

 while academically intellectualizing massacres of civilians.”184


 Day of Resistance Toolkit—SJP Views Itself as Part of Hamas
       278. National SJP chapters published a “Day of Resistance Toolkit” (the

 “Toolkit”) calling for a National Day of Resistance on college campuses by local

 SJP chapters on October 12, 2023.185 The Toolkit calls upon registered student

 organizations on campuses across the United States to fall into lockstep with

 the criminal actions of Hamas.

       279. The introduction to the Toolkit states:

       On the 50th anniversary of the 1973 war, the resistance in Gaza
       launched a surprise operation against the Zionist enemy which
       disrupted the very foundation of Zionist settler society. On the morning
       of October 7th, the Palestinian resistance stormed the illegitimate
       border fence, gaining control of the Gaza checkpoint at Erez, and re-
       entering 1948 Palestine. Referred to as Operation Towfan Al-Aqsa (Al-
       Aqsa Flood)…186




       184 Dr. Dan Diker, JIHAD ON CAMPUS Unmasked HOW PRO-HAMAS STUDENTS

 FOR JUSTICE IN PALESTINE HIJACKED U.S. UNIVERSITIES, Jerusalem Center of
 Public Affairs (2023) https://jcpa.org/pdf/jihad_unmasked_2023.pdf
        185              https://dw-wp-production.imgix.net/2023/10/DAY-OF-RESISTANCE-
 TOOLKIT.pdf
       186            https://dw-wp-production.imgix.net/2023/10/DAY-OF-RESISTANCE-
 TOOLKIT.pdf


                                        -121-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 122 of 218 PageID 318




       280. The Toolkit dubs the October 7 Attacks as “Operation Twfan Al-

 Aqsa (“Al-Aqsa Flood”) and refers to Hamas as the Palestinian resistance. The

 Toolkit also addresses the October 7 Attacks and openly admits that National

 SJP is the student arm of Hamas with the task of joining the Hamas

 enterprise:

       281. “Our people choose resistance over negotiated cages on our

 homeland. Fearlessly, our people struggle for complete liberation and

 return…our people have broken down the artificial barriers of the Zionist

 entity, taking with it the facade of an impenetrable settler colony and

 reminding each of us that total return and liberation to Palestine is near. As

 the Palestinian student movement, we have an unshakable responsibility

 to join the call for mass mobilization.”

       282. The Toolkit includes guidance that dehumanizes Israelis and

 justifies and promotes violence, including the following messages:

       283. “National liberation is near—glory to our resistance, to our

 martyrs, and to our steadfast people.”

       284. “Liberation is not an abstract concept. It is not a moment

 circumscribed to a revolutionary past as it is often characterized. Rather,

 liberating colonized land is a real process that requires confrontation by any

 means necessary …. It calls upon us to engage in meaningful actions that go

 beyond symbolism and rhetoric. Resistance comes in all forms—armed


                                      -122-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 123 of 218 PageID 319




 struggle, general strikes, and popular demonstrations. All of it is

 legitimate, and all of it is necessary.”

       285. The Toolkit writes the following message justifying the October 7

 Attacks:

       For over 75 years, our Palestinian people, through steadfast resistance,
       have waged a prolonged war for liberation and return to our colonized
       homeland. What we are witnessing now is a heightened stage of the
       Palestinian struggle–through tearing down colonial infrastructure and
       liberating our colonized land from illegal settlements and military
       checkpoints, our people are actualizing revolution. Palestine will be
       liberated from the river to the sea, and our resistance, through their
       bravery and love for land, continue to bring dignity and honor to
       the Palestinian people. As the diaspora-based student movement
       for Palestine liberation, our responsibility is to not only support,
       but struggle alongside our people back home.”

       286. The     Toolkit    provides    a    framework    to   “normalize      and

 support…fearless resistance,” including the following mantras:

       287. “You don’t get freedom peacefully. Freedom is never safe guarded

 peacefully.”

       288. “Unity Intifada: The revolution is being waged across historic

 Palestine—not just cross-factional, but unifying our people in the name of

 resistance; All Palestinian factions in Gaza appear to be participating under

 unified command; This is the first time since 1949 that a large-scale battle has

 been fought within ‘48 Palestine.”




                                        -123-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 124 of 218 PageID 320




       289. The Toolkit echoes and repeats Hamas propaganda used to

 indoctrinate its members and recruit terrorists. In fact, the Toolkit adopts

 much of the language of the Covenant of Hamas (“the 1988 Hamas Charter”)

 and the language of the “Document of General Principals and Policies” (“the

 2017 Hamas Charter”). The very title of the Toolkit, “Day of Resistance,”

 mirrors the title of the 1988 Hamas Charter, “Covenant of the Islamic

 Resistance Movement.” The Toolkit uses similar language to the 2017 Hamas

 Charter which states:

       290. “Resistance and jihad for the liberation of Palestine will remain a

 legitimate right, a duty and an honour [sic] for all the sons and daughters of

 our people and our Ummah.”

       291. “Resisting the occupation with all means and methods is a

 legitimate right…”

       292. The Day of Resistance Toolkit is the Hamas Charter for the

 student arm of Hamas promulgated after the October 7 Attacks. The use of the

 pronouns “our”, “we,” and “us in the National SJP Toolkit shows that National

 SJP and the SJP chapters are one with Hamas, not just in solidarity with

 Hamas. In fact, the Toolkit ends with the following statement:

       293. “We as Palestinian students in exile are PART of this

 movement, not in solidarity with this movement. This is a moment of

 mobilization for all Palestinians. We must act as part of this movement.


                                     -124-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 125 of 218 PageID 321




 All of our efforts continue the work and resistance of Palestinians on

 the ground.”

        294. National SJP and SJP openly view themselves as part of Hamas’s

 Operation Al-Aqsa Flood terror campaign. Following October 7, they sought to

 mobilize all SJP chapters to join the Operation Al-Aqsa Flood terror campaign

 and to continue the Hamas resistance. The Toolkit shows a continuity of the

 enterprise and a unity of interest between National SJP, SJP, and Hamas.

        295. Dr. Charles Asher Small of ISGAP stated in an interview that “the

 presence on campus of a national organization that declares itself to be a

 “PART” of [the Hamas] movement and not just a vehicle of solidarity amounts

 to a glaring and dangerous incongruity.” He went on to say that “if students

 are declaring themselves to be extensions of these organizations, how can

 college administrators allow them to maintain status on campus?”187

        296. SJP’s Toolkit and the National Day of Resistance show that

 National SJP and the SJP chapters share a common intent with Hamas and

 are engaged in the common pursuit of destroying the State of Israel through

 acts of violence and terrorism. The Toolkit is a manifesto publicly declaring

 that National SJP and the SJP chapters are one with Hamas.



  187 Charles   Asher Small, Dr. Charles Asher Small for the Washington Examiner » ISGAP,
  Washington Examiner (2023), https://isgap.org/post/2023/11/dr-charles-asher-small-for-the-
                    washington-examiner/ (last visited Jul 2, 2024).


                                            -125-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 126 of 218 PageID 322




 Columbia SJP And Defendant Kiswani Openly Voice Support of
 Hamas
         297. Columbia SJP’s Instagram account was dormant for five months

 from May 15, 2023 to October 5, 2023. Then, two days prior to the October 7

 Attacks, Columbia SJP posts the following on its Instagram account:




                        https://www.instagram.com/p/CyCRiqbu8uK/?hl=en

         298. On October 9, 2023, Columbia SJP posted on its Instagram account

 that it was “in full solidarity” with Hamas’s “resistance.”188




 188
    Daniela V. Fraga Alvarez et al., Alkalinity Enhancement during Reject Brine Electrolysis: Role of Electrocatalyst
 Placement on the Outer Surfaces of Porous Flow-Through Electrodes, 11 ACS Sustainable Chemistry &amp;
 Engineering 15620 (2023).; https://www.instagram.com/sjp.columbia/?hl=en


                                                       -126-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 127 of 218 PageID 323




         299. In a January 2024 video, Khymani James, a Columbia University

 student, declares that Zionists “don’t deserve to live” and should be killed . . .

 I feel very comfortable — very comfortable — calling for those people to die, . .

 Be glad, be grateful that I’m not just going out and murdering Zionists,”189

         300. On March 24, 2024, Columbia SJP co-hosted with WOL an

 unauthorized event that took place at Columbia University entitled

 “Resistance 101” featuring Khaled Barakat, who is a member and former

 senior officer of PFLP, and Charlotte Kates, Barakat’s wife and international

 coordinator of Samidoun (which is an affiliate of PFLP and active supporter of

 Hamas). Charlotte Kates has openly admitted that she met with Basem Naim,

 a prominent leader in Hamas, as late as December 2023. Defendant Kiswani,

 the founder of WOL, spoke several times as well during the event.

         301. During the event, the speakers repeatedly backed Palestinian

 resistance, including open and tangible support for Hamas. The speakers spoke

 of the “international front of resistance,” the role of National SJP and SJP in

 coordinating and uniting with and participating in the Hamas resistance

 against Israel. Some relevant statements include:

              • Barakat: “It’s central to our people and it’s really important to see
                how the Al Aqsa Food Operation have [sic] liberated the
                Palestinian inner strength outside the new generations that today

 189
    TOI staff, Columbia protest leader banned from campus for saying “Zionists don’t deserve to live,” The Times of
 Israel (2024), https://www.timesofisrael.com/columbia-protest-leader-banned-from-campus-for-saying-zionists-
 dont-deserve-to-live/ (last visited Jul 2, 2024).


                                                      -127-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 128 of 218 PageID 324




             are getting involved in the struggle and it’s so visible in the U.S.,
             Canada, Europe and elsewhere of a new generation that is actually
             leading our struggle in the diaspora.”190

          • Kates: “And so then the question for us who are organized
            particularly in North America in the belly of the beast in the heart
            of the imperial core is how do we get organized and use the
            organizing that we are doing in order to be a meaningful part of
            that global front of resistance.”191

          • Kiswani: “The principal of the united front is what we are
            interested in … The axis of resistance has proven itself many times
            over.”192

          • Kates: “Because we can’t simply say ‘Oh well they are an FTO
            so then it’s illegal.’…It’s important for us to come together
            to do everything that we can to make support for the
            resistance as mass-based and as popular as possible.
            Because the more that we are able to do that the less the state is
            able to pursue kind of unjust prosecutions. Material support
            does have a meaning and it’s meant to be material. Yes, the
            state wishes to expand the definition of that to comprise
            everything and anything in the world. However, it does not
            comprise moral and political support. It does not. There has been
            this attempt that’s never been tested in an actual case to say that
            say doing a campaign if you’re being coordinated by the FTO could
            be considered material support and that the state might want to
            try pursue this kind of thing in order to frighten and suppress the
            movement but the greater the support for the resistance is, the
            lesser their ability to pursue such a strategy is.193



       190 https://www.youtube.com/watch?v=2xRAyYn5YkQ (minute 13)

       191 https://www.youtube.com/watch?v=2xRAyYn5YkQ (minute 42:30)

       192 https://www.youtube.com/watch?v=2xRAyYn5YkQ (minute 47:30)

       193 https://www.youtube.com/watch?v=2xRAyYn5YkQ (minute 57:30)




                                      -128-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 129 of 218 PageID 325




          • Kiswani: “We are united in resistance… DON’T ACQUIESCE TO
            THE IDEA THAT THEY ARE CONSIDERED TERRORIST
            ORGANIZATIONS SO WE SHOULDN’T TALK ABOUT
            RESISTANCE.”194

          • Barakat: “When I speak TO MY FRIENDS AND BROTHERS
            IN HAMAS, ISLAMIC JIHAD, you know the PFLP in Gaza
            these days especially after October 7th…And so when they see
            students organizing outside Palestine, they really feel that
            they are being backed as a resistance and they’re being
            supported. Every demonstration in New York matters for
            Gaza…So your work is so important to the resistance in Gaza then
            more than ever.”195

          • Kates: “Hamas is a mass Palestinian movement that is in a
            leadership role in the liberation struggle right now. AND THERE
            IS NOTHING WRONG WITH BEING A MEMBER OF
            HAMAS, BEING A LEADER OF HAMAS, BEING A FIGHTER
            IN HAMAS. These are the people on the front lines defending
            Palestine and fighting for its liberation…It is actually necessary
            for us to do this if we are going to build an international popular
            cradle of the resistance to be alongside that which is Palestinian
            and that which is Arab and that which is regional.”196

          • Kiswani: “Make sure to continue to uplift the resistance in every
            action that we do here on campus and outside of campus.”197

       302. Because of the blatant support for Hamas by terrorist-affiliated

 speakers, Columbia University opened an investigation into Resistance 101




       194 https://www.youtube.com/watch?v=2xRAyYn5YkQ (1:09)

       195 https://www.youtube.com/watch?v=2xRAyYn5YkQ (1:16)

       196 https://www.youtube.com/watch?v=2xRAyYn5YkQ (1:34:30)

       197 https://www.youtube.com/watch?v=2xRAyYn5YkQ (1:41:45)




                                       -129-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 130 of 218 PageID 326




 and indefinitely suspended four students over their involvement in the

 unauthorized Resistance 101.198

       303. Contrary to Kates’s claim in Resistance 101 that material support

 “does not comprise moral and political support,” Columbia President Shafik

 released a statement on April 5, 2024, declaring the content in the program

 and its promotion of terror and violence by terrorist-affiliated speakers to

 constitute support for a terrorist organization in violation of university policies

 meriting an investigation and suspension of the students involved. 199

       304. Resistance 101 was an SJP and WOL co-sponsored program aimed

 at promoting and encouraging SJP, as the student arm of Hamas, to continue

 its support of and coordination with Hamas and commending its efforts on

 behalf of Hamas thus far.

       305. Columbia SJP has also encouraged financial support of Hamas. In

 May 2024, Columbia SJP urged people to donate to the Hamas affiliated

 Municipality of Gaza “Life for Gaza” campaign by reposting a tweet from "Gaza

 Funds.” In 2019, Hamas appointed Yahya Sarraj as the new president of the


       198 Sarah Huddleston, Four Columbia students suspended, evicted from University

 housing following unauthorized ‘Resistance 101’ event, Columbia Daily Spectator (2024),
 https://www.columbiaspectator.com/news/2024/04/04/four-columbia-students-suspended-
 evicted-from-university-housing-following-unauthorized-resistance-101-event/ (last visited
 Jul 2, 2024).
         199 Minouche Shafik, Statement from Columbia University President Minouche

 Shafik, Office of the President (2024), https://president.columbia.edu/news/statement-
 columbia-university-president-minouche-shafik-4-5-24 (last visited Jul 2, 2024).


                                           -130-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 131 of 218 PageID 327




 Hamas-controlled Gaza Municipality.200 Furthermore, the Gaza Municipality

 shows on its website that they are partnered with 'Aman Palestin'201, a

 Malaysian charity suspected of raising money for and collaborating with

 Hamas.202




 200
     Asharq Al Awsat, Hamas Appointing Municipal Administrations in Gaza Sparks Controversy, Asharq Al-Awsat
 (2019), https://english.aawsat.com/home/article/1836121/hamas-appointing-municipal-administrations-gaza-sparks-
 controversy (last visited Jul 2, 2024).
 201
     ‫ بلدية غزة‬- Municipality of Gaza, ENSANY GLOBAL (2024), https://gaza-city.ensany.com (last visited Jul 2,
 2024).
 202
     Abha Shankar, Extensive Malaysian Propaganda and Fundraising Network Enables Hamas Plots Targeting Jews,
 The Investigative Project on Terrorism (2022), https://www.investigativeproject.org/9145/extensive-malaysian-
 propaganda-and-fundraising (last visited Jul 2, 2024).


                                                     -131-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 132 of 218 PageID 328




 SJP Chapters Continue Voicing Enthusiastic Support of the October
 7 Attacks
       306. In November 2023, WOL published a map of Jewish and pro-Israel

 organizations in New York claiming they had “blood on their hands” and

 calling for people to “Make these locations a stop in your protests. picket and

 leaflet outside of them, make supporters of genocide uncomfortable.”203

       307. An interview with Adela Cojab Moadeb, the complainant in a

 Department of Education action pushing for equal protection for Jewish

 students at NYU in 2019, revealed that SJP “may be an active facilitator of

 Hamas’ strategy.” According to Cojab, “SJP was ready with relevant material

 for dissemination immediately after October 7, which was only possible for a

 student organization with some advance warning. In other words, from the

 level of action readiness by SJP campus groups, SJP chapters were made ready

 for a rapid propaganda response to any anticipated Hamas action.”204 Such a

 rapid propaganda response to the October 7 Attacks by SJP chapters




       203 Luke Tress, Pro-Palestinian group’s map of NY Jewish organizations condemned

 by politicians, community leaders, Jewish Telegraphic Agency, November 17, 2023,
 https://www.jta.org/2023/11/16/ny/elected-officials-and-jewish-leaders-decry-pro-
 palestinian-groups-map-of-jewish-organizations-with-blood-on-their-hands (last visited Jul
 2, 2024).
         204 Dr. Dan Diker, Unmasking the Ivy League Jihad of Students for Justice in

 Palestine, Jerusalem Center for Public Affairs (2023), https://jcpa.org/unmasking-the-ivy-
 league-jihad-of-students-for-justice-in-palestine/ (last visited Jul 2, 2024)


                                           -132-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 133 of 218 PageID 329




 legitimizing the October 7 Attacks is indicative of their participation in the

 Hamas plot to terrorize and destroy Israel.

       308. In a statement published after the October 7 Attacks, National

 SJP described Hamas’s massacres of Israelis as “a historic win for Palestinian

 resistance,” and called for “Not just slogans and rallies, but armed

 confrontation with the oppressors.”205 In its “Day of Resistance Toolkit,”

 National SJP made clear that it advocates for Hamas to militarily conquer all

 of Israel; it applauded the Hamas occupation of Israeli towns along the Gaza

 border and proclaimed that its goal is “complete liberation” of Israel and the

 full influx of Palestinians to Israeli land.206

       309. Five days after the terrorist attacks, National SJP organized a

 “National Day of Resistance” of which called for “armed confrontation with the

 oppressors.” It created an unsafe environment for many Jewish students on

 campus. National SJP’s Day of Resistance Toolkit pledged to bring the spirit

 of resistance to U.S. college campuses. “We must continue to resist directly

 through dismantling Zionism, and wielding the political power that our

 organizations hold on our campuses and in our communities,” it reads.



       205Randy   Kessler, Language around “Day of Resistance and Protest” leaves Jews
 fearful, The Seattle Times (2023), https://www.seattletimes.com/opinion/language-around-
 day-of-resistance-and-protest-leaves-jews-fearful/ (last visited Jul 2, 2024).
         206            https://dw-wp-production.imgix.net/2023/10/DAY-OF-RESISTANCE-
 TOOLKIT.pdf


                                          -133-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 134 of 218 PageID 330




 “Challenging Zionist hegemony and popularizing our resistance is a critical

 part of advancing our national movement!”207

       310. Following the October 7 Attacks, posters depicting the hostages

 taken into Gaza were hung up in public spaces on college campuses as a

 reminder of the innocent civilians and soldiers being held by Hamas in Gaza.

 Many SJP students proceeded to rip down the posters.

       311. Following the October 7 Attacks, SJP George Mason University

 stated: “We as Students for Justice in Palestine at George Mason call for a free

 Palestine, from the river to the sea, and support all forms of resistance

 which helps [sic] the Palestinian people inch closer to that reality. We call on

 all those who identify as ‘allies’ to the Palestinian liberation movement to take

 similar action. Peace cannot exist without justice, and justice for the

 Palestinians cannot prevail without action. With steadfastness and

 confrontation, GMU SJP.”208

       312. The University of Illinois SJP chapter shared a video which

 showed a Hamas terrorist who filmed himself from inside the home of an

 Israeli family during the October 7 Attacks. Several SJP chapters referred




       207 Id.

       208   https://www.adl.org/resources/blog/students-justice-palestine-endorses-terrorism-
 and-dismantling-zionism-plans-day


                                             -134-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 135 of 218 PageID 331




 members to RNN, an encrypted messaging application that shares violent

 images and videos of attacks on Israelis and disseminates Hamas propaganda.

        313. Videos from the October 7 Attacks show Hamas terrorists dragging

 dead bodies and innocent hostages into cars and celebrating and parading

 Israeli bodies around Gazan cities.209 Several SJP chapters shared these

 violent images and videos of the October 7 Attacks, supporting Hamas’s

 objectives of glorifying the October 7 Attacks.

        314. Following the October 7 Attacks, the SJP chapter of CUNY Law

 shared, “If you support Palestine understand that necessitates supporting our

 right to defend ourselves and liberate our homeland by any means

 necessary.”210

        315. SJP chapters have also adopted the image of people flying in

 paragliders, a clear reference to the Hamas terrorists who utilized paragliders

 as part of their massacre of Israeli civilians in the October 7 Attacks, as a

 symbol of their call for resistance.211




        209   Paul P. Murphy, Allegra Goodwin, Benjamin Brown, and Sharif Paget, Desert
 horror: Music festival goers heard rockets, then Gaza militants fired on them and took hostages,
 CNN (updated Oct. 9, 2023), https://www.cnn.com/2023/10/07/middleeast/israel-gaza-
 fighting-hamas-attack-music-festival-intl-hnk/index.html
        210 https://www.adl.org/resources/backgrounder/students-justice-palestine-sjp

        211 https://www.adl.org/resources/backgrounder/students-justice-palestine-sjp




                                             -135-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 136 of 218 PageID 332




       A poster published by the Bard College branch of SJP.

       316. On October 12, 2023, University of Minnesota’s SJP Chapter held

 a bake sale “in loving memory of Palestine’s martyrs.” On October 21, it

 organized an “urgent public meeting” on campus calling for a “communist

 movement here to overthrow U.S. imperialism. Intifada until victory!”212

       317. University of North Carolina SJP claimed “it is our moral

 obligation to be in solidarity with the dispossessed, no matter the pathway to

 liberation they choose to take. This includes violence.” New York University

 SJP rejected “peaceful discourse” and instead claimed “there is no peace in a

 colonized people living under occupation, subjugation, and apartheid.”




       212   https://coalitionforjewishvalues.org/wp-content/uploads/2024/03/ZLI-Coalition-
 Prosecution-Request-to-AG.pdf


                                          -136-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 137 of 218 PageID 333




 University of Virginia SJP declared that the mass murder of civilians on

 October 7th was “a step towards a free Palestine.”213 Immediately following the

 October 7th Attacks, anti-Israel protests became violent at several

 universities, including Columbia, leaving Jewish students harmed and

 frightened. Protesters at Harvard surrounded a pro-Israel student and shoved

 and harassed him. At MIT, Jewish students were reportedly warned to avoid

 certain areas for their personal safety amid a disruptive demonstration. A

 furious Columbia University professor despaired, “We cannot protect your

 children from pro-terror student organizations because the president of

 Columbia University will not speak out against pro-terror student

 organizations.” The main campus group supporting these violent protests is

 SJP.214 An anti-Israel protest at Tulane University devolved into violence.

 Jewish students at University of Massachusetts were physically assaulted.

       318. In October 2023, several violent SJP on campus incidents

 transpired. At Amherst University, students staged a riot that led to the arrest




       213 Congressional Record Online through the Government Publishing Office. (2023,

 October 19). Congressional record, volume 169 issue 172 (thursday, october 19, 2023).
 Govinfo.Gov. https://www.govinfo.gov/content/pkg/CREC-2023-10-19/html/CREC-2023-10-
 19-pt1-PgS5113.htm
        214 David May, Antisemitism on Campus Must End, FDD (2023),
 https://www.fdd.org/analysis/2023/12/19/antisemitism-on-campus-must-end/ (last visited Jul
 2, 2024).


                                           -137-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 138 of 218 PageID 334




 of 57 individuals after they took over the administration building. At Tulane

 University, SJP students burned the Israeli flag during a demonstration.

       319. Following the October 7 Attacks, at George Washington

 University, students associated with SJP projected onto the exterior of a

 campus library building the messages—“Glory To Our Martyrs,” “Divestment

 From Zionist Genocide Now,” and “Free Palestine From The River To The

 Sea.”215




       320. In October 2023, Florida Gov. Ron DeSantis directed state

 universities to deactivate their SJP chapters. “Based on the National SJP’s

 support of terrorism, in consultation with Governor DeSantis, the student

 chapters must be deactivated,” the system’s Chancellor Ray Rodrigues wrote

 in a memo to university leaders.216


       215   Andrew Lapin, “Glory to our martyrs” projected onto building at George
 Washington University, The Times of Israel (2023), https://www.timesofisrael.com/glory-to-
 our-martyrs-protected-onto-building-at-george-washington-university/ (last visited Jul 2,
 2024).
        216 Andrew Hay, Florida’s DeSantis bans pro-Palestinian student group, Reuters,

 October 26, 2023, https://www.reuters.com/world/us/floridas-desantis-bans-pro-palestinian-
 student-group-2023-10-25/ (last visited Jul 2, 2024).


                                           -138-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 139 of 218 PageID 335




       321. According to the Chancellor’s memo National SJP broke the law

 by saying it is “part” of the terrorist actions in Israel. As a result, Rodrigues

 required that student SJP chapters be derecognized. National SJP’s “Day of

 Resistance Toolkit,” refers to campus SJP organizations as “chapters” and

 states:

       “We as Palestinian students in exile are PART of this movement, not
       [merely] in solidarity with this movement. This is a moment of
       mobilization for all Palestinians. We must act as part of this movement.
       All of our efforts continue the work and resistance of Palestinians on the
       ground.”

 Accordingly, SJP has not just declared it is part of Hamas’s terrorist activities,

 but it has also implicated all SJP chapters at U.S. colleges.217

       322. DeSantis said in November during a GOP presidential debate. “We

 had a group of students for Justice of Palestine,” he said. “They said they are

 common cause with Hamas. They said, ‘We’re not just in solidarity. This is

 what we are.’ We deactivated them. We’re not gonna [sic] use tax dollars to

 fund Jihad.”218




       217 Adam Kissel, Resistance Toolkits Open SJP Chapters to Felony Charges in Florida

 —        Minding       The        Campus,         Minding The       Campus        (2023),
 https://www.mindingthecampus.org/2023/10/25/resistance-toolkits-open-sjp-chapters-to-
 felony-charges-in-florida/ (last visited Jul 2, 2024).
         218 Denise Royal & Steve Contorno, Florida University System says it has not

 deactivated Students for Justice in Palestine chapters, CNN, November 9, 2023,
 https://edition.cnn.com/2023/11/09/politics/florida-students-for-justice-in-palestine-
 chapters/index.html (last visited Jul 2, 2024).


                                          -139-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 140 of 218 PageID 336




            323. In November 2023, SJP students at UCLA were captured on video

 battering a piñata bearing an image of Israeli Prime Minister Benjamin

 Netanyahu while shouting “Beat that Jew!”219

            324. In November 2023, a group of Jewish students published an op-ed

 in the New York Times that documented the specifics of what had been

 happening across college campuses after the October 7 Attacks. The article

 explained:

            “Since the Hamas terrorist attacks on Oct. 7, campus life in the United

            States has imploded into a daily trial of intimidation and insult for

            Jewish students. A hostile environment that began with statements from

            pro-Palestinian student organizations justifying terrorism has now

            rapidly spiraled into death threats and physical attacks, leaving Jewish

            students alarmed and vulnerable. On an online discussion forum last

            weekend, Jewish students at Cornell were called ‘excrement on the face

            of the earth,’ threatened with rape and beheading and bombarded with

            demands like “eliminate Jewish living from Cornell campus.”220

            325. In November 2023, a group of New York State legislators wrote to

 Gov. Kathy Hochul asking her to work with institutions, investigate, and




 219
       https://x.com/AYM_Higher_/status/1722471983823130635
              220 Gabriel Diamond, Talia Dror & Jillian Lederman, Opinion, The New York Times, November 3, 2023,

 https://www.nytimes.com/2023/11/03/opinion/antisemitism-jews-campus.html (last visited Jul 2, 2024).


                                                      -140-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 141 of 218 PageID 337




 potentially shut down SJP chapters. They said the umbrella group directly

 associates with Hamas and endorses the use of violence and attacks on

 citizens. The letter stated, “The National Students for Justice in Palestine

 (National SJP), the umbrella organization which New York chapters are

 under, published a “toolkit” that refers to the Hamas operation as ‘the

 resistance’ and states that ‘Palestinian students in exile are PART of this

 movement, not in solidarity with this movement.’ As such, National SJP is

 essentially admitting that it is part of a U.S. government-designated Foreign

 Terrorist Organization.”221

       326. In November 2023, Brandeis University banned SJP, with the

 school’s President Ronald Liebowitz stating that student groups calling for

 violence against Jews or Israel’s destruction “should lose all privileges

 associated with affiliation at their schools.”222 Columbia University also

 suspended it SJP chapter in November 2023. George Washington University

 suspended its SJP chapter as well after it projected messages onto the campus

 library that the university president said were antisemitic and in violation of

 university policy. Rutgers University took similar action in December 2023


       221 Gregory Price, Letter to Gov Hochul Re SJP Chapters at NYS Universities, Scribd

 (2023),          https://www.scribd.com/document/685974552/Letter-to-Gov-Hochul-Re-SJP-
 Chapters-at-NYS-Universities#fullscreen&from_embed (last visited Jul 2, 2024).
         222 Menachem Wecker, Brandeis becomes first private university to ban Students for

 Justice in Palestine, JNS.org (2023), https://www.jns.org/brandeis-becomes-first-private-
 university-to-ban-students-for-justice-in-palestine/ (last visited Jul 2, 2024).


                                           -141-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 142 of 218 PageID 338




 after an associate dean determined the group’s activities “pose a substantial

 and immediate threat to the safety and well-being of others.”223On February

 26, 2024, students attending a talk by an Israeli Defense Forces soldier were

 forced to evacuate the University of California, Berkeley’s Zellerbach

 Playhouse after protesters from Bears for Palestine (the Berkeley SJP chapter)

 descended on the venue, breaking two windows and a door. Several attendees

 reported to campus police that they were physically assaulted and called

 antisemitic slurs by the protesters. Disturbing footage shows an angry mob

 chanting “intifada, intifada” and banging violently on the glass doors. In one

 clip, a student could be heard telling his friends inside the auditorium that a

 woman outside spat on him and called him “Jew, Jew, Jew—literally right to

 my face.” Other students also claimed the protesters shoved a senior into the

 auditorium door as he tried to check in attendees and grabbed a freshman by

 the neck. One person could be heard shouting, “You got what you deserve.”

 Afterward, one student said she heard the protesters chant, “We won, we won,

 we won.”224




        223 Andrew Lapin, Rutgers suspends Students for Justice in Palestine for violating

 university policies, The Times of Israel (2023), https://www.timesofisrael.com/rutgers-
 suspends-students-for-justice-in-palestine-for-violating-university-policies/ (last visited Jul
 2, 2024).
        224https://nypost.com/2024/02/28/us-news/angry-mob-forces-jewish-students-to-

 evacuate-uc-berkeley-theater/


                                             -142-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 143 of 218 PageID 339




       327. Bears for Palestine’s founder and Defendant Hatem Bazian has

 repeatedly justified terror attacks against Israel and intifada in the US.

 Shortly after the October 7 Attacks, the group issued a statement saying it

 supports ‘the resistance, the liberation movement, and indisputably supports

 the Uprising.225

       328. On March 19, 2024, the Harvard Palestine Solidarity Committee,

 which is an alternative name for SJP, organized a memorial to honor the

 “martyrs” killed during a raid on Al-Shifa hospital where IDF forces killed a

 senior Hamas commander, Faiq Maghouh.226

       329. On March 29, 2024, the student government of Harvard Law

 School passed a resolution which “formally calls upon [Harvard Management

 Company] to divest completely from weapons manufacturers, firms, academic

 programs, corporations, and all other institutions that aid the ongoing illegal

 occupation of Palestine and the genocide of Palestinians.” It further “calls upon




       225   Germania Rodriguez Poleo, Inside UC Berkeley’s secretive Bears for Palestine
 student group that supports Hamas terrorists..., Daily Mail, October 15, 2023,
 https://www.dailymail.co.uk/news/article-12625035/UC-berkeley-Bears-Palestine-SJP-
 Isreal-hamas-professor-history.html (last visited Jul 2, 2024).
         226 Rosa Doherty, Racist fans threaten to boycott James Bond over Jewish 007, The

 Jewish Chronicle, March 25, 2024, https://www.thejc.com/news/usa/racist-fans-threaten-to-
 boycott-james-bond-over-jewish-007-s1le77qx (last visited Jul 2, 2024).


                                           -143-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 144 of 218 PageID 340




 all institutions and organizations within the Harvard community to divest”

 from the same.227

        330. On March 25, 2024, the Zachor Legal Institute sent a prosecution

 request, cosigned by several other organizations, to Attorney General Merrick

 B. Garland relating to the “deprivation of rights of Jewish students by SJP and

 groups aligned with SJP.”228 The request alleges that SJP has launched a

 nationwide campaign violently harassing Jewish students, including

 “brandishing weapons on campus, physically attacking Jews and using large

 crowds to physically prevent Jews from attending classes or using campus

 facilities.”229

        331. On March 30, 2024, Abdullah Akl, led a rally for WOL leading a

 sizeable crowd in a chant translated as “Abu Obaida [a well-known Hamas

 terrorist], my love, Strike, Strike, Tel Aviv!” This frightful call for murder and

 destruction was widely distributed over a variety of different media. Abdullah

 Akl is a WOL organizer and also serves as the Director of Advocacy & Civic

 Engagement for the Muslim American Society. According to a legal brief from


        227 S. Mac Healey   & Saketh Sundar, , 2 Members of HLS Student Government Resign
 After Resolution to Divest From ‘Illegal Israeli Settlements,’ The Harvard Crimson (2023),
 https://www.thecrimson.com/article/2024/3/30/hls-student-reps-resign-israel-divestment/
 (last visited Jul 2, 2024).
         228Mark       Zachor, Zachor       Legal      Institute    (March     25,    2023)
 https://coalitionforjewishvalues.org/wp-content/uploads/2024/03/ZLI-Coalition-Prosecution-
 Request-to-AG.pdf
         229 Id.




                                            -144-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 145 of 218 PageID 341




 Federal prosecutors, the Muslim American Society “was founded as the overt

 arm of the Muslim Brotherhood in America.”230




 https://www.instagram.com/reel/C5TmEKNO60G/?igsh=MTcwdmw3YTVjN3

 g5dQ==

        332. On April 10, 2024, a movement named A15 released a video on

 social media platforms calling on the public to blockade shipping activity at



        230   NGO Monitor, The NGO Network Orchestrating Antisemitic Incitement on
 American      Campuses »        ngomonitor,     ngomonitor      (2024),     https://www.ngo-
 monitor.org/reports/ngo-network-orchestrating-antisemitic-incitement-on-american-
 campuses/ (last visited Jul 2, 2024).; United States v. Benkahla, 530 F.3d 300, 313 (4th Cir.
 2008)


                                            -145-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 146 of 218 PageID 342




 ports around the world on April 15, 2024 “for a Free Palestine,” that is, against

 Israel’s defensive military actions against Hamas following the October 7

 Attacks.231 A15’s video has primarily been promoted on social media by far-left

 organizations, including radical Palestinian activist organizations such as

 WOL.

            333. Meanwhile, SJP, AMP, and WOL simultaneously called for an

 April 15 “Strike 4 Gaza” – a national strike to “[d]isrupt the US war machine!

 Students, walk out! Show the power of the youth! Business owners, close the

 shops! Join the national strike on April 15th! Let them hear you roar for Gaza!

 Say no to genocide, say yes to the power of the people!”232


 Hamas’s Encouragement and Praise of Global Solidarity After the
 October 7 Attacks
            334. Hamas has for years been permeating American universities and

 spreading its influence in the United States via SJP chapters and with the help

 of all Defendants.

            335. As early as 2014, Hamas’s Interior Ministry issued guidelines to

 social-media activists on pandering to its Palestinian supporters in the United

 States and elsewhere. The guidelines reinforce the importance for Hamas of

 maintaining contact with its worldwide network of supporters, garnering their



            231 https://www.youtube.com/watch?v=30CaIPeNbvc↩︎

 232
       https://www.instagram.com/ampalestine/p/C5aYKFJuVx-/?img_index=2


                                                    -146-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 147 of 218 PageID 343




 support for the benefit of Hamas and giving them a role in the terrorist

 conspiracy. The guidelines provided a series of suggestions specifically for

 Palestinians who speak to Westerners via social media. One of the guidelines

 stated:

       When speaking to the West, you must use political, rational, and
       persuasive discourse, and avoid emotional discourse aimed at begging
       for sympathy. There are elements with a conscience in the world; you
       must maintain contact with them and activate them for the
       benefit of Palestine. Their role is to shame the occupation and
       expose its violations.233

       336. Since the October 7 Attacks, Hamas has recognized the rise in

 global solidarity with its movement—reaping the fruits of its labor in planting

 seeds in the United States for years with Defendants’ assistance. Hamas has

 encouraged, recognized, and praised the support it is receiving in the United

 States for its cause.

       337. On October 7, 2023, Hamas leader, Ismail Haniyeh, in describing

 the October 7 Attacks, stated on Al-Jazeera Network: “This is not the battle of

 the Palestinian people alone, or Gaza alone. This is a call to our resistance…to

 our resistance abroad, to our strategic allies, to all the sons of this nation:

 Therefore, I call upon the sons of this entire nation in their various locations



       233   Hamas Interior Ministry To Social Media Activists: Always Call The Dead
 “Innocent Civilians”; Don’t..., Middle East Media Research Institute, July 17, 2014,
 https://www.memri.org/reports/hamas-interior-ministry-social-media-activists-always-call-
 dead-innocent-civilians-dont-post (last visited Jul 2, 2024).


                                          -147-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 148 of 218 PageID 344




 to join this battle any way they can… Let us be partners in creating this great

 victory.”234

       338. On November 12, 2023, Osama Hamdan from Hamas Political

 Bureau states on Al-Jazeeera Network, “The activity of the angry masses on

 all the continents of the world is a very important matter that has a large

 impact in pressuring the decision makers of the world. We salute and thank

 the Arab and Muslim people and the free people who took to the streets…

 Today, the people of the world stand with our people. They stand with truth…

 We call upon these free people to increase their activity and their solidarity

 with Gaza and the Palestinians… Oh, people of the world, the sons of the

 Islamic nation, and the free people of the world: Keep up your activity on the

 ground. Your voice is louder than their tyranny, missiles, and terrorism.”235

       339. Hamas leader Khaled Mashal states in a January 2024 Amar

 Taki’s podcast, “Palestine is free from the River to the Sea”—that’s the slogan

 of the American students.”236

       340. On Hamas’s miliary wing website, www.alqassam.ps/arabic/,

 Mahmoud Al-Rantisi writes on January 25, 2024, “In the context of talking


       234 Id. MEMRI, Connecting The Dots: Pro-Palestinian Protests In The U.S. And The

 West – Called For By Hamas And..., Middle East Media Research Institute, April 1, 2024,
 https://www.memri.org/tv/connecting-dots-pro-palestinian-protests-us-and-west-called-
 hamas-and-cheered-hizbullah (last visited Jul 2, 2024).
         235 Id.

       236 Id.




                                         -148-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 149 of 218 PageID 345




 about the soft power here of the Palestinian resistance, we say very clearly: It

 has transcended Palestinian geography to reach the entire global geography,

 and perhaps no liberation movement during the past four decades has received

 such solidarity and desire for support.”237 With respect to reaching the youth

 and spreading the terrorist ideology globally, Al-Rantisi continues, “Also, the

 most prominent figure of the Palestinian resistance currently and the most

 attractive is the figure of the military spokesman, ‘Abu Ubaida,’ who continues

 to charge the batteries of the people’s will in his speech, and refers to the

 people’s steadfastness and legendary sacrifices as a renewable energy source

 for the performance of the resistance in the field. ‘Abu Ubaida’ has become a

 global symbol that the rising generation looks up to all over the world, and they

 are eager for every new speech from him, which is what is called in soft power

 literature, winning minds and hearts.”238

       341. On March 30, 2024, Kahled Barakat stated on Al-Manar TV: “The

 vast majority among the new generation [in the U.S. and Canada] support

 armed resistance as well as the removal of the Zionist entity from the occupied

 Palestine in its entirety. This is why we see that the main slogan of all these

 movements, demonstrations, and activities is ‘Palestine will be free from the


       237 www.alqassam.ps/arabic/ “The most important industry...the Palestinian fighting

 human industry” by Mahmoud Al-Rantisi, 01-25-2024 (Arabic translated using Google
 Translate).
       238 Id.




                                          -149-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 150 of 218 PageID 346




 River to the Sea.’”239

        342. On March 27, 2024, Khaled Mashal, the Hamas leader abroad,

 called for millions to take to the streets in protest, saying there had been an

 unprecedented shift in global public opinion.240


 Defendants’ Escalation of Violence and Open Support for Hamas
        343. On April 18, 2024, over 100 people were arrested and issued

 summonses for trespass, including Isra Hirsi, the daughter of Rep. Ilhan

 Omar, after protesters set up an encampment at Columbia University in

 support of Gaza. Many of those arrested were Columbia SJP members,

 including Hirsi who is an organizer for Columbia SJP. Hirsi said on social

 media platform X that she was suspended for “standing in solidarity with

 Palestinians facing a genocide.”241

        344. While these Columbia protests and arrests were going on, Eden

 Yadegar, a junior at Columbia and the daughter of American immigrants who

 fled Iran 45 years ago to escape antisemitism, spoke at a Congressional hearing




        239 Id.

        240   Steven Stalinsky, Who’s Behind the Anti-Israel Protests, Wall Street Journal
 (2024),       https://www.wsj.com/articles/whos-behind-the-anti-israel-protests-hamas-gaza-
 hezbollah-talking-points-d2f538ca?st=1hdnvzst5l9h6s3&reflink=article_whatsapp_share.
         241 Melissa Chan & Phil Helsel, 108 arrested at pro-Palestinian protest at Columbia

 University, NBC News, April 18, 2024, https://www.nbcnews.com/news/us-news/rep-ilhan-
 omars-daughter-students-suspended-barnard-college-refusing-l-rcna148445 (last visited Jul
 2, 2024).


                                            -150-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 151 of 218 PageID 347




 investigating antisemitism at Columbia University:

       I am horrified that the same Jew hate that drove my family to the U.S.
       has become normalized here. It is pervasive in classrooms, across
       campus, in student groups and online… ‘Long live the Palestinian
       armed struggle’ and shouts of ‘Free Palestine.’… We [Jewish students]
       are ostracized, mocked, harassed and scapegoated because of our
       identities. ‘F*** the Jews’ yelled at visibly Jewish friends of mine on
       multiple separate occasions… Another professor claimed to be Hamas.
       We have been attacked with sticks outside of our library. We have been
       surrounded by angry mobs and we have been threatened to ‘keep f***
       running.’242

       345. On April 19, 2024, calls for violence and terrorism continued at

 Columbia. SJP students shouted:

       346. “Go Hamas. We love you. We support your rockets too.”

       347. “Free, free, free Palestine!!! There is only one solution. Intifada

 revolution!!!”

       348. “Al-Qassam make us proud! Take another soldier out!”

       349. “We say justice, you say how? Burn Tel Aviv to the ground. Go

 Hamas, we love you. We support your rockets too.”243

       350. Flyers were handed out calling for “Worldwide Intifada.”




       242https://www.instagram.com/reel/C56IALWLcEu/?igsh=dWY2NmRwNWg2Mmw1

       243https://www.instagram.com/reel/C58kt07tFpf/?igsh=M3k1NmUxajBkejg2;

 https://www.jpost.com/diaspora/antisemitism/article-798160


                                          -151-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 152 of 218 PageID 348




 https://twitter.com/persianjewess/status/1783195763960602656/photo/1

       351. During a Columbia protest, a protest leader said in a speech:

       Let it be known that it was the Al-Aqsa Flood that put the global intifada
       back on the table again. And it is the sacrificial spirit of the Palestinian
       freedom fighters that will guide every struggle on every corner of the
       earth to victory. Remember that militancy breeds Resistance.
       Thousands upon thousands of students around the world have
       been moved to rebel because of your militancy.244

       352. The protesters targeted Jewish students, calling them “Al-

 Qassam’s next targets” in reference to the military wing of Hamas. One

 protester yelled, “Remember the 7th of October!” and threatened that it would

 happen “10,000 times.”245 WOL leader and Defendant Kiswani, entered the

 Columbia campus and led the crowd in a chant in a video published by SJP




       244 Id. (emphasis added)

       2452024   USA OR 1933 GERMANY?: Columbia University’s Rabbi Tells Jewish
 Students To Go Home Over Threat Of Violence, Yeshiva World News (2024),
 https://www.theyeshivaworld.com/news/general/2279348/2024-usa-or-1933-germany-
 columbia-universitys-rabbi-tells-jewish-students-to-go-home-over-threat-of-violence.html
 (last visited Jul 2, 2024).


                                          -152-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 153 of 218 PageID 349




 Columbia, saying “There is only one solution, Intifada revolution.”246 Jewish

 students and the Chabad Rabbi of Columbia University were forced to leave

 the campus for their safety during this violent pro-Hamas demonstration.

 Sami Al-Arian, who pleaded guilty in 2005 for supporting PIJ and was

 deported from the U.S. after serving time in jail, had boasted and shared a

 photo on social media that his wife, Nahla, was among those who joined the

 Columbia protests.

       353. On April 21, 2024, Rabbi Eli Buechler, the director of the OU-JLIC

 at Columbia/Barnard, issued a letter urging students to leave campus and go

 home due to growing threats of anti-Jewish violence by pro-Hamas

 provocateurs on the university’s campus.247 This post was headlined,

 “CAMPUSES IN REVOLT FOR GAZA AND DIVEST.”




       246 Michael Starr, Calls for violence by anti-Israel activists continue at Columbia, The

 Jerusalem Post, April 21, 2024, https://www.jpost.com/diaspora/antisemitism/article-798160
 (last visited Jul 2, 2024).
         2472024 USA OR 1933 GERMANY?: Columbia University’s Rabbi Tells Jewish

 Students To Go Home Over Threat Of Violence, Yeshiva World News (2024),
 https://www.theyeshivaworld.com/news/general/2279348/2024-usa-or-1933-germany-
 columbia-universitys-rabbi-tells-jewish-students-to-go-home-over-threat-of-violence.html
 (last visited Jul 2, 2024).


                                            -153-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 154 of 218 PageID 350




 People rally against Israel on the campus of Columbia University, which is

 occupied by pro-Palestinian protesters, in New York on April 22, 2024. (Charly

 Triballeau/AFP)

       354. On April 22, 2024, due to security concerns because of the violent

 SJP protests on campus, Columbia officials decided to make all classes

 virtual.248 The Columbia protests and encampment lasted well over a week,

 and on the night of April 30, 2024, a violent mob broke a window in a campus

 building and the NYPD raided the campus and arrested over 100 people.

       355. On Day 7 of the pro-Hamas protests at Columbia, Defendant

 Osama Abuirshaid stopped by the student encampment and made a fiery


       248Minouche Shafik, Statement from Columbia University President Minouche Shafik,

 Columbia Office of the President (2024), https://president.columbia.edu/news/statement-
 columbia-university-president-minouche-shafik-4-
 22#:~:text=Dear%20Members%20of%20the%20Columbia,time%20and%20effort%20to%20r
 eaffirm.


                                         -154-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 155 of 218 PageID 351




 speech, “This is not only a genocide that is being committed in Gaza,”

 Abuirshaid said. “This is also a war on us here in America.”249

         356. Columbia SJP encampments to this day are still happening.

 Its commencement on May 12, 2024 had several disruptions - one student

 appeared to have the name of a Hamas leader — Mazen Jamal Al-Natsheh —

 written on her cap as she accepted her degree; several PhD students walked

 out of their graduation; MA students walked across the stage waving their

 Palestine flags; and several students donned keffiyehs.250 On June 1, 2024, a

 Hamas propaganda film was shown on the Columbia encampment lawn.251

         357. Meanwhile, similar SJP violent protests were spiraling out of

 control on the Yale campus. On April 20, 2024, a Jewish student was jabbed in

 the eye with a Palestinian flagpole. The protesters had pushed her and her

 friend repeatedly, and she noted signs of Walid Daqqah, the recently deceased

 terrorist who was part of a cell that kidnapped, tortured, and murdered IDF

 soldier Moshe Tamam in 1984. Yalies for Palestine and American Muslims for




 249
     Will Carless & Romina Ruiz-Goiriena, Amid campus protests, organizers with past ties to Hamas support also
 emerge, USA TODAY, May 22, 2024, https://www.usatoday.com/story/news/investigations/2024/05/22/gaza-
 student-protests-american-muslims-for-palestine/73775372007/ (last visited Jul 2, 2024).;
 https://www.instagram.com/ampalestine/reel/C6Ky7Q7rL3x/
 250
     By JERUSALEM POST STAFF, Columbia graduation ceremonies hijacked by pro-Palestine protests, The
 Jerusalem Post, May 13, 2024, https://www.jpost.com/international/article-801036 (last visited Jul 2, 2024).
 251
     https://x.com/MarinaMedvin/status/1796913868217651690


                                                      -155-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 156 of 218 PageID 352




 Palestine Connecticut said on social media that they had succeeded “because

 no arrests had been made during their protests.”252

        358. On April 19, 2024, dozens of arrests were made at Yale for criminal

 trespass due to the encampment set up on campus by pro-Palestinian students.

        359. Following the protests at Columbia and Yale, clusters of student

 encampments and violent protests led by SJP spread at universities across the

 United States. Ninety-three student protesters were detained by police dressed

 in riot gear at the University of Southern California, which canceled all its

 planned commencement speakers. The gates to Harvard Yard were closed to

 the public on April 22, 2024. Encampments sprung up at campuses from

 Boston to Ann Arbor and Chapel Hill. More than 100 people were arrested at

 Emerson College in Boston on April 25, 2024. At University of Texas in Austin

 at least 34 protesters, including a member of the media from a local news

 station, were arrested during the night on April 24. At California State

 Polytechnic University, Humboldt, protesters barricaded themselves in a

 university building using furniture, tents, chains and zip-ties, prompting a

 campus shutdown. At UC Berkeley, the “Free Palestine Camp” has grown over

 three days into a sit-in. At Cal Poly Humboldt, the campus has been closed and



        252   Michael Starr, Pro-Palestinian students assault Jewish Yale student at
 demonstration,        The       Jerusalem         Post,        April        21,        2024,
 https://www.jpost.com/diaspora/antisemitism/article-798092 (last visited Jul 2, 2024).


                                            -156-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 157 of 218 PageID 353




 classes are being held remotely after pro-Palestinian protesters barricaded

 themselves in a building for a sit-in.

          360. National SJP announced the launch of a cross-campus initiative

 called “Popular University for Gaza.” “Today, April 20th, 2024, National

 Students for Justice in Palestine announces the Popular University for Gaza,

 a coordinated pressure campaign against university administrations and

 trustees to immediately divest from the Israeli [sic] state. . . Palestine has

 made the battle lines on campus clearer than ever. In the footsteps of our

 comrades at Rutgers-New Brunswick SJP, Tufts SJP, Columbia SJP,

 Yalies4Palestine, and many more, SJP chapters across the nation will seize

 the university and force the administration to divest for the people of Gaza!”253

          361. WOL declared their solidarity with the Popular University for

 Gaza initiative.




 253
    Popular University for Gaza — National Students for Justice in Palestine, National Students for Justice in
 Palestine, https://nationalsjp.org/popular-university-for-gaza (last visited Jul 2, 2024).


                                                       -157-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 158 of 218 PageID 354




        362. AMP on several occasions also showed support and solidarity with

 the college encampments.254

        363. On April 22, 2024, clashes broke out between police and

 demonstrators at New York University after police moved in to clear out an

 anti-Israel “liberated zone” set up by pro-Palestinian protesters. The

 university called in the police after the scene became disorderly and the

 university received reports of “intimidating chants and several antisemitic


 254

 https://www.facebook.com/AMPNJChapter/posts/pfbid0g9XYFCouHrCFsVUggwHz4DrnZwxjd8jVH1BGkU7Dz6
 Nfv1tfxQBAmR1gyXtoKqUGl;
 https://www.facebook.com/AMPNJChapter/posts/pfbid022mvYsRvwabUK9PDXwM4E7pxDyqGoSfX4CYD6b1c5
 PEfTwZ161nm4rqS2oHA4hhzGl; https://www.instagram.com/p/C6cRc8ty-e_/?img_index=1;
 https://www.instagram.com/p/C6aIqsNAozA/;
 https://www.facebook.com/ampalestinechicago/posts/pfbid02qwCeu9wZ3SeWyS9H4nMPaLpAn62RCuFC1YQ3W
 5Y8PmKcX9AXR1eXgExoDpwRrdm3l;
 https://www.facebook.com/AMPNJChapter/posts/pfbid025BiJrqzTthx5n67ibNnjHTSZTQNs4ZhzVre3WM4cmMK
 snHqKCY4jcaf4QnEbCs2Ml


                                            -158-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 159 of 218 PageID 355




 incidents.” Officers in riot gear scuffled with demonstrators as some of the

 protesters appeared to act violently toward officers, with a masked man draped

 in a keffiyeh throwing a chair toward them. One hundred and thirty-three

 protesters—including students and faculty—were arrested.255

         364. Defendant Osama Abuirshaid spoke in support of Hamas’s mission

 at an April 25, 2024 George Washington University encampment. He loudly

 claimed that Zionism will be a dark moment in history, and the generation of

 the participants in the encampment will bring this "disgrace to an end."256 His

 speech was live-streamed and translated by Al-Jazeera.257

         365. Defendant Herzallah visited the University of Minnesota Twin

 Cities encampment in April 2024. “There are some who believe that this

 movement will fizzle out after finals next week, Herzallah said. No, the

 protesters shouted back. ‘The irony,’ Herzallah said, as he took in what was

 becoming an iconic scene of a campus protest, ‘is that in 15 years, this

 university will be using this picture on their recruiting pamphlets.’”258




         255 TOI Staff. (2024, April 23). Over 130 arrested at NYU “liberated zone” as anti-Israel

 encampments       sweep        US      campuses.       The       Times     of     Israel.
 https://www.timesofisrael.com/dozens-arrested-at-nyu-as-anti-israel-encampments-sweep-
 across-us-campuses/
 256
     https://www.facebook.com/100081124266537/videos/834445198543625
 257
     https://x.com/JSchanzer/status/1787119321828753688
 258
     Will Carless & Romina Ruiz-Goiriena, Amid campus protests, organizers with past ties to Hamas support also
 emerge, USA TODAY, May 22, 2024, https://www.usatoday.com/story/news/investigations/2024/05/22/gaza-
 student-protests-american-muslims-for-palestine/73775372007/ (last visited Jul 2, 2024).


                                                      -159-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 160 of 218 PageID 356




         366. At a Stanford University encampment on April 26, 2024, a man

 was spotted wearing a headband like the one worn by Hamas terrorist fighters.




         https://www.foxnews.com/us/stanford-university-students-recall-photo-
         man-hamas-headband-we-were-just-in-shock

         367. Defendant Hatem Bazian posted on his Facebook page several

 college encampments he visited.259 He shared a livestream from the

 encampment at UC Berkeley on May 7, 2024, where one of the speakers shouts,

 "We are now 13 or 14 days into our encampment here in Berkeley, and we are

 not here for fun and games. We are here to tell them that as long as you

 continue this annihilation of our people, we will continue to punch your power

 in its eye, we will continue to be a headache, we will continue to be a thorn in

 your neck like our resistance is, and we will continue to fight for our people as




 259
    Casiano, L. (2024, May 2). Stanford Jewish students taking photo of man with Hamas headband on campus: “We
 were just in shock.” Fox News. https://www.foxnews.com/us/stanford-university-students-recall-photo-man-hamas-
 headband-we-were-just-in-shock


                                                    -160-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 161 of 218 PageID 357




 our resistance has taught us."260Pamphlets were handed out at the UC

 Berkeley SJP encampment showing its solidarity with Hamas:




         https://x.com/camhigby/status/1789433659247788117

         “Since the Columbia protests and encampment, violent SJP protests and

         encampments spread like wildfire across U.S. college campuses:261

                                 Pro-Palestinian student protesters are encamped on
  Columbia University
                                 campus. Over 100 people have been arrested.
                                 Students set up tents and demanded the university
  Harvard University
                                 to divest from Israel.
  New York University Encampment swelled to hundreds of protesters.
  (NYU)               Police called in, resulting in arrests.


 260
    UC Berkeley Prof. Hatem Bazian Livestreams On Facebook From Campus Protest Encampment: Our Martyrs’...,
 Middle East Media Research Institute, June 14, 2024, https://www.memri.org/reports/uc-berkeley-prof-hatem-
 bazian-livestreams-facebook-gaza-encampment-our-martyrs-souls-will (last visited Jul 2, 2024).
 261George Petras et al., From Harvard to UT Austin to USC, college protests over Gaza are

 spreading.     See     our      map.,        USA    TODAY,       April      25,                    2024,
 https://www.usatoday.com/story/graphics/2024/04/25/college-campus-protests-gaza-
 map/73450230007/ (last visited Jul 2, 2024).


                                                  -161-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 162 of 218 PageID 358




                         Dozens of protesters arrested during pro-Palestinian
  Yale University
                         demonstrations.
  Massachusetts
                         Students gathered on the university’s Kresge Lawn,
  Institute of
                         demanding the university to cut ties with Israel.
  Technology (MIT)
  University of North
                         Students gathered outside the chancellor’s office in
  Carolina at Chapel
                         solidarity with Columbia University students.
  Hill
  California State
  Polytechnic            Students barricaded themselves inside a building
  University,            during protests.
  Humboldt
  University of          Pro-Palestinian student demonstrators set up
  Michigan               encampments, demanding divestments from Israel.
  University of          Students staged a walkout in response to university
  Minnesota              police arresting protesters.
  University of
                         LAPD arrested 93 people, and encampments were
  Southern California
                         cleared by the police in riot gear.
  (USC)
                         At least 57 people were arrested during a student
  University of Texas
                         walkout demanding divestment from manufacturers
  at Austin
                         supplying weapons to Israel.
  Ohio State             Two students were arrested during a protest on
  University             campus.
                         More than 100 people were arrested after Boston
  Emerson College
                         police forcibly cleared a tent encampment.
                         Protesters camped out on campus demanding
  University of
                         divestment from companies connected to weapons
  California, Berkeley
                         supplied to Israel.
  Stanford University    Hundreds of students held a walkout.
                         About 300 University of Delaware students, faculty
  University of
                         and staff marched to demand that the university
  Delaware
                         divest from Israeli military operations. The protest



                                     -162-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 163 of 218 PageID 359




                           was organized by the University of Delaware chapter
                           of Students for Justice in Palestine.
                           About 200 students stage a sit-in to call for a cease-
  Tufts University
                           fire.
                           Twenty-four students and employees were arrested
                           during a protest against the university’s financial
                           ties to companies accused of human rights abuses in
  Cornell University
                           Gaza. They are set to appear in court and could face
                           up to 15 days in jail if convicted. This marks the first
                           arrest of protesters at Cornell in nearly two decades.
                           A coalition of student groups staged a sit-in protest
  University of            in front of the Cathedral of Learning, demanding
  Pittsburgh               that Pitt divest from Israeli institutions and support
                           Palestinian liberation.
                           Students set up tents on the lawn known as Parrish
  Swarthmore College
                           Beach in front of Clothier Hall.
                           Protesters pitched more than two dozen tents on the
  Brown University
                           main green.
  University of Texas      About 150 protesters marched through campus to
  at San Antonio           demand a cease-fire.
  George Washington        Hundreds of demonstrators launched an
  University               encampment and gathered to call for a cease-fire.
                           Rice Students for Justice in Palestine created a
  Rice University
                           "liberated zone" on campus in solidarity with Gaza.
                           A group of student demonstrators set up an
  The New School           encampment in the lobby of The New School’s
                           University Center building.
  University of Illinois   Hundreds of students flooded the streets and
  Urbana-Champaign         marched.
  University of New        A few dozen students, alumni and community
  Mexico                   members gathered at pro-Palestinian encampments.
  University of            More than a dozen students set up and gathered at
  Rochester                an encampment.



                                        -163-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 164 of 218 PageID 360




                         Protesters set up tents at Emory University’s
  Emory University
                         quadrangle.
                         About 100 protesters gathered in the lawns outside
  Princeton University
                         the chapel.
  University of Texas    About 150 protesters carried signs and chanted
  at Arlington           during a campuswide walkout.
                         Over 100 students staged a sit-in in the
  University of Texas
                         administration building, which lasted around nine
  at Dallas
                         hours.
  University of North    Protesters set up a Gaza solidarity encampment zone
  Carolina at            until they were instructed to remove their tents by
  Charlotte              Charlotte security.
                         Hundreds of students rallied before marching to the
  American University
                         president’s office building.
  City University of     Students launched a pro-Palestinian encampment
  New York               and called for CUNY to divest from Israel.
                         Over 15 students participated in a walkout showing
  Miami University       solidarity with the arrested Columbia University
                         protesters.
                         Community members created an encampment on
  Indiana University     campus, which lead to police and state troopers
                         arriving and making arrests.
                         Students set up an encampment on campus,
  Northwestern
                         prompting the school to ban tents in the common
  University
                         area.
  University of          A few hundred students gathered and one was
  Connecticut            arrested.
  University of          Hundreds of people gathered at an encampment,
  California, Los        then counter-protestors breached it leading to
  Angeles                barricades being erected.
  Fashion Institute of   About 150 people stormed into The Museum at FIT
  Technology,            before it was secured, and encampments were set up
  Manhattan              both inside and outside.



                                     -164-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 165 of 218 PageID 361




  Florida State
                        About 40 students set up an outdoor encampment.
  University
  Michigan State        Students set up an outdoor encampment, and the
  University            Board of Trustees granted them a camping permit.
  University of
                        Students staged a sit-in on campus.
  Maryland
  University of         About 30 people, mostly students, gathered and
  Southern Maine        marched down a street.
                        Students set up an outdoor encampment after
  Purdue University
                        interrupting a presidential lecture series.
  Loyola University     Students gathered in an outdoor demonstration.
  University of         Hundreds participated in a series of indoor activities
  California, Santa     to express solidarity, including workshops and art
  Barbara               projects.
  University of         Several hundred protesters rallied on campus as
  California, Irvine    they called for the university to divest from Israel.
  Kennesaw State
                        Students and faculty marched around campus.
  University
  Northeastern
                        Students set up an outdoor encampment
  University
  Indianan University   Students set up an outdoor encampment
  Arizona State
                        Students set up an outdoor encampment
  University
  University of
                        Students set up an outdoor encampment
  Pennsylvania
  University of
                        40 students arrested
  Colorado Denver
  California State
  Polytechnic           Campus closed for semester after protestors
  University in         barricaded themselves in a building
  Humboldt




                                     -165-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 166 of 218 PageID 362




             368. The website https://escalatenetwork.org/ was established to

 provide resources and help foster these protests and encampments. Its “About”

 page states:

                      “The people of Palestine have called for this movement to escalate

                      its pressure. We are here to answer that call and help this

                      movement ESCALATE. We want this movement to break out of

                      the confines of universities, to spread throughout society,

                      paralyzing the economy that is driving the genocide of the

                      Palestinian people, and has made all of us complicit in decades of

                      colonial war.

                      This site is a clearing house for reports and reflections from

                      encampments and beyond, a place to share resources produced by

                      and for the unfolding movement.”262

             369. A post on https://escalatenetwork.org/ showing the students’

 allegiance to Hamas reads:

                      “[T]he Palestinian Resistance–the people who are on the ground

                      fighting and dying–are calling for American students to escalate.

                      It is our duty to heed their call!”263




 262
       About, Tumblr, https://escalatenetwork.org/about (last visited Jul 2, 2024).
 263
       https://escalatenetwork.org


                                                           -166-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 167 of 218 PageID 363




         370. On May 12, 2024, Mother’s Day, a group of pro-Hamas students

 wearing masks and face coverings at Depaul University’s music school lawn

 chanted praise for Hamas, “Let’s go Hamas! G-d make you strong Hamas. May

 G-d make you win Hamas.”264

         371. On May 23, 2024, Defendant Abdullah Akl, disrupted a graduation

 at the College of Staten Island with vitriolic pro-Hamas chants.265

         372. On June 12, 2024, SJP protesters participating in an encampment

 that has been ongoing for a month at California State University, Los Angeles,

 occupied a campus building with employees still inside. Vandalism was seen

 inside and outside of the building, with “free Palestine” and “End ties w/

 Zionists” written in red on walls.266

         373. On May 10, 2024, in a speech at the United Nations General

 Assembly, Israeli Ambassador Gilad Erdan spoke of the students of Hamas:

                 “The chants of the pro-Palestinian rioters on campus are
                 calls for Israel’s destruction. We always knew that Hamas
                 hides in schools. We just didn’t realize that it’s not only
                 schools in Gaza. It’s also Harvard, Columbia and many elite
                 universities. This is what we hear at academic institutions
                 across the world and they directly represent the
                 Palestinians goal. The only solution for them is a single
                 Palestinian state that is Judenrein- Jew free. From the



 264
      https://www.instagram.com/reel/C7CO5M9t4Js/?igsh=MXJzOWJtc2Z0MWJ1Zg%3D%3D
 265
     https://x.com/JCAndersonNYC/status/1793717024612638884?t=S_T4V8ouNFcn-eTNQ9F10A&s=09
 266
      Adam Sabes, HOSTAGE SITUATION?: Cal State LA anti-Israel protesters occupy building with administrators
 still inside, university asks employees to shelter in place, Campus Reform (2024),
 https://www.campusreform.org/article/hostage-situation-cal-state-la-anti-israel-protesters-occupy-building-
 administrators-still-inside-university-asks-employees-shelter-place/25647 (last visited Jul 2, 2024).


                                                   -167-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 168 of 218 PageID 364




                  River to the Sea. Achieved through repeated October 7ths
                  against Israel and also against Jews.”267


 Hamas Approves of SJP Organized Protests
          374. Hamas has openly acknowledged and approved of the April 2024

 protests across American college campuses. Hamas spokesperson Bassem

 Naim said in an interview:

          375. “We in the Hamas movement believe that any popular movement

 demanding an end to the aggression and genocide against our people are useful

 and supportive activities for our cause…The importance of this increases if

 these activities involve young people and university students, given that this

 reflects the vision of future generations. The American administration’s

 attempts to suppress these activities will not change the reality of the

 situation, whether regarding the justice of the Palestinian cause or the

 brutality and racism of the Israeli occupation. We believe that suppressing

 these activities will increase the youth’s adherence to their position and reveal

 the falsity of American democracy.”268

          376. Izzat Al-Risheq, a member of Hamas’s Political Bureau, blamed

 President Joe Biden for “violating the individual rights and the right to


   aJobnik. (2024). Israeli ambassador Gilad Erdan slams UN’s “joke” of indifference in fiery speech [Video]. In
 267

 YouTube. https://www.youtube.com/watch?v=Q3tu1HkWYOw
 268   Tom O’Connor, Hamas Slams US Crackdown on Pro-Palestinian College Protests,
 Newsweek, April 24, 2024, https://www.newsweek.com/hamas-slams-us-crackdown-pro-
 palestinian-college-protests-1893962 (last visited Jul 2, 2024).


                                                      -168-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 169 of 218 PageID 365




 expression through arresting university students and faculty members for

 their rejection of the genocide to which our Palestinian people are being

 subjected in the Gaza Strip at the hands of the neo-Nazi Zionists.”269 Al-Risheq

 wrote in the statement: “Today’s students are the leaders of the future, and

 their suppression today means an expensive electoral bill that the Biden

 administration will pay sooner or later.”270

          377. The following is a picture of a statement released by Hamas in

 support of the encampments on the U.S. college campuses:




          https://x.com/AviMayer/status/1783240883896267058/photo/1




 269   Sarah Beth Hensley, Speaker Johnson alleges Hamas support for anti-Israel campus
 protests,       threatens    intervention,    ABC       News,     April      25,     2024,
 https://abcnews.go.com/Politics/speaker-johnson-alleges-hamas-support-anti-israel-
 campus/story?id=109626661 (last visited Jul 2, 2024).
         270 Id.




                                           -169-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 170 of 218 PageID 366




       378. Tents with thank you messages thanking the SJP protestors for

 their support and solidarity were visible in Gaza:




                                      -170-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 171 of 218 PageID 367




 (source unknown)




 Palestinians in Rafah thank students protesting at USA universities 27.4.2024

 19:37:19 by HAITHAM IMAD271




 271   Imad, H. (2024, April 27). Palestinians in Rafah thank students protesting at USA
 universities. EPA. https://epaimages.com/search.pp?pictureid=


                                           -171-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 172 of 218 PageID 368




       379. The “Palestinian Student Movement from the Gaza Strip”

 allegedly sent these messages to SJP students in the U.S. praising the

 international solidarity and calling upon them for support:




       https://t.me/PopularUniversity/821


                                     -172-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 173 of 218 PageID 369




 Defendants’ Escalation of Violence and Open Support for Hamas
 Arising from the College Encampments and “Popular University for
 Gaza”
       380. On May 23, 2024, the Palestinian Youth Movement tweeted on X,

 “We are the Youth Movement (‫)إنا حركة الشباب‬, an anthem by and for the youth of

 the Palestinian liberation movement”272 along with a frightening video clip of

 its anthem in solidarity and support of Hamas depicting various images since

 the October 7 Attacks of student SJP chapters across the U.S. supporting

 Hamas’s agenda and disseminating its propaganda.

       381. On May 29, 2024, the University of Albany SJP chapter posted on

 Instagram an appeal from the student movement in the Gaza Strip to all of the

 student SJP chapters:




       272
             https://x.com/palyouthmvmt/status/1793843851150622945


                                                   -173-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 174 of 218 PageID 370




            https://www.instagram.com/p/C7kUfbcp04I/?img_index=2

            382. On June 8, 2024, several pro-Hamas organizations participated in

 the “National Mobilization: Surround the White House for Gaza” to show their

 support for Hamas.273 The organizing website stated, “(W)e will come together

 from across the country and surround the White House. Wearing red, and

 raising our demands high, we will show the world that we are the red line. We

 demand an immediate ceasefire, an immediate end to the siege on Gaza, the

 freedom of all Palestinian prisoners, and an end to the occupation of




 273
       https://www.youtube.com/live/fxqcxisC9_Y


                                                  -174-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 175 of 218 PageID 371




 Palestine.”274 Among the list of endorsers of the event spreading the Hamas

 narrative were Defendants, National SJP, various SJP chapters, USPCN and

 CodePink.275 At the protest shouts in support of Hamas were repeated

 including, “Al Qassam make us proud! Kill another soldier now!”276




         https://x.com/DMVSJP/status/1796743844291019255




         https://x.com/ShirionOrg/status/1799478794794709280


 274
     June 8 National Mobilization: Surround the White House for Gaza, ANSWER Coalition,
 https://www.answercoalition.org/gazajune8 (last visited Jul 2, 2024).
 275
     Id.
 276
     https://x.com/ShirionOrg/status/1799478794794709280


                                                    -175-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 176 of 218 PageID 372




       https://x.com/TimcastNews/status/1799474429103390825




       https://x.com/EYakoby/status/1799983790535635279




       https://x.com/sentdefender/status/1799515108026065081




                                     -176-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 177 of 218 PageID 373




         383. On June 10, 2024, WOL organized rallies in New York City called

 “Escalate for Gaza” which was billed as a “citywide day of rage for Gaza.” The

 demonstration began in Union Square, where some protesters unfurled a

 “Long live October 7th” banner and culminated on Wall Street where

 protestors chanted “Long Live the Intifada” in front of the Nova Music Festival

 Exhibition. “There’s only one reason why these protesters would march in front

 of a Manhattan exhibit in memory of those killed at the Nova music festival on

 October 7th,” Joel Petlin, superintendent of the Kiryas Joel School District,

 said in a social media post. “They support the terrorists who perpetrated it,

 and they want it to happen again.”277 A tweet on X showed a video on a subway

 car on route to the “Escalate for Gaza” rallies where a pro-Hamas mob of WOL

 and Columbia SJP members chanted “Raise your hands if you’re a Zionist. This

 is your chance to get out. Okay, no Zionists, we’re good.”278

         384. Also on June 10, 2024, USPCN held a rally in Chicago in support

 of Hamas:




 277
     David Propper, Anti-Israel mob chanting “Long live Intifada” lights flares outside NYC exhibit that
 memorializes Oct. 7 Nova Music Festival victims, New York Post, June 11, 2024,
 https://nypost.com/2024/06/10/us-news/anti-israel-mob-chanting-long-live-intifada-light-flares-outside-nyc-exhibit-
 that-memorializes-oct-7-nova-music-festival-victims/ (last visited Jul 2, 2024).
 278
     https://x.com/CampusJewHate/status/1800555809299935385


                                                       -177-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 178 of 218 PageID 374




         385. On June 21, 2024, a “Summer of Resistance" kick-off event at

 Hunter College transpired where pro-Hamas protesters were waving Hamas

 flags while holding photos of Hamas leader Yahya Sinwar.279

         386. On June 23, 2024, Defendant CodePink organized a violent rally

 outside of a Jewish synagogue in Los Angeles to protest “A Mega Zionist Real

 Estate Event”.280 The protest was an attempt to prevent a real estate auction

 event for land in Israel at the synagogue.281 The demonstrators waved



 279
     Canary Mission. (2024a, June 23). x.com. X (Formerly Twitter).
 https://x.com/ShirionOrg/status/1799478794794709280;
 https://x.com/ManhattanMingle/status/1804307730057826370
 280
     https://www.instagram.com/p/C8c6f8dyplb/?img_index=1
 281
     The Algemeiner, Anti-Israel Activists Swarm Los Angeles Synagogue, Assault and Batter Jews -
 Algemeiner.com, Algemeiner.com - The fastest growing Jewish newspaper in America. Your one stop source for all
 news and commentary from Israel and the Jewish world, Jewish art, Jewish culture, Jewish music, analysis, opinion,
 blogs and more... (2024), https://www.algemeiner.com/2024/06/24/anti-israel-activists-swarm-los-angeles-
 synagogue-assault-batter-jews/ (last visited Jul 2, 2024).


                                                      -178-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 179 of 218 PageID 375




 Palestine flags and donned keffiyehs while blocking entry into the synagogue.

 They chanted “intifada revolution” and “free Palestine” in front of the building

 while intimidating bystanders. The demonstrations devolved into chaos and

 violence where pro-Hamas protestors were shoving, punching, and screaming

 at Jews attempting to enter the synagogue.282


 Congress Initiates Investigations into AMP, National SJP, SJP, and
 WOL for Their Support of Hamas
         387. A letter dated May 10, 2024 addressed to the U.S. Department of

 Homeland Security (“DHS) and Federal Bureau of Investigation (“FBI”) signed

 by the Committee on Homeland Security and the Subcommittee on

 Counterterrorism, Law Enforcement, and Intelligence requested information

 regarding efforts to assist law enforcement against the surge of pro-Hamas

 mobs on college campuses. “While we recognize that every American has the

 right to peacefully protest, individuals who endorse or espouse terrorist

 activity or support a terrorist organization are patently dangerous, and

 potentially criminal.” (Footnote citing 18 U.S.C. 2332b which prohibits acts of

 terrorism transcending national boundaries into the U.S., and 2339A which

 prohibits providing material support to terrorists.)283




 282
   Id.
 283
   https://homeland.house.gov/wp-content/uploads/2024/05/2024.05.10-Letter-to-Mayorkas-and-Wray-Pro-Hamas-
 Mobs.pdf


                                                  -179-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 180 of 218 PageID 376




            388. A letter dated May 22, 2024, addressed to the U.S. Department of

 State and signed by Representative Brian Mast, requested all records and

 correspondence the State Department has with radical pro-Hamas groups

 linked to the pro-Hamas protests that have exploded across campuses in the

 U.S., including SJP, WOL and AMP.284 The letter also implied that these pro-

 Hamas groups have been successful in doing Hamas’s bidding in the U.S.

 because the letter requested all information regarding whether the State

 Department met with these pro-Hamas groups prior to President Biden’s

 decision to withhold weapons from Israel. “Given the anti-Israel stance

 increasingly being adopted by the Biden administration, Congress needs to

 know if State Department officials have been in contact with these

 organizations or their representatives.”285

            389. A letter dated May 29, 2024, addressed to Defendant National SJP,

 c/o Defendant Abuirshaid, as executive director of Defendant AMP, with AMP’s

 address, and signed by Representative James Comer, Chairman of the

 Committee of Oversight and Accountability, requested documents and

 information into how the pro-Hamas propaganda and illegal encampments on

 college campuses are being funded. The letter outlined many of the same facts




 284
       https://freebeacon.com/wp-content/uploads/2024/05/May22GroupMeetingletter.pdf
 285
       Id.


                                                      -180-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 181 of 218 PageID 377




 and allegations as are outlined in this Amended Complaint. The requests in

 the letter included:

          - documents and communications related to National SJP’s funding;
         - documents and communications related to the October 7 Attacks
         (including National SJP’s public response to the October 7 Attacks);
         - documents and communications related to the promotion by National
         SJP of illegal activity or activity providing material support to terrorist
         organizations, including Hamas; and
         - documents and communications, regardless of topic, created on or sent
         between October 6, 2023 – to October 8, 2023.286



 This Complaint Is Not About Defendants’ Free Speech Rights
         390. This lawsuit does not target the Defendants’ ideology or the

 content of their messages. The lawsuit does not target Defendants’ messages

 or ideology during college protests, Apartheid week, the statements of guest

 speakers, or the expressed views of individuals attending and speaking at

 conferences. Plaintiffs’ allegations related to Defendants’ statements and

 messages made during college protests, the Toolkit, violent and threatening

 behavior on college campuses, terrorist-linked guest speakers, and terrorist-

 linked speakers at conferences are presented to underline Defendants’

 assistance to Hamas and pursuit of the same object. This is put forth as

 evidence establishing that Defendants created and maintain the United States

 arm of Hamas.


 286
    https://oversight.house.gov/wp-content/uploads/2024/05/Letter-to-National-SJP-5.29.24.pdf;
 https://oversight.house.gov/release/comer-continues-to-investigate-groups-funding-and-organizing-illegal-
 encampments-and-pro-hamas-activities-in-the-united-states%EF%BF%BC/


                                                      -181-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 182 of 218 PageID 378




       391. The ideology and message of HLF, IAP, and AMS were central to

 the determination that these entities were liable in the original Boim Action.

 In granting the Boims’ motion for summary judgment on liability, the judge

 determined that IAP and AMS “desired to help Hamas’ activities succeed” and

 engaged in acts of “helping those activities succeed” based on evidence that

 IAP/AMS (among other things): (a) held a meeting where attendees condemned

 the 1993 Oslo Accords and vowed to ensure its failure; (b) sponsored a speaker

 who urged “supporting Jihad”; (c) discussed ways to support “the Movement”

 (being careful not to use the name “Hamas”); (d) published and distributed pro-

 Hamas documents; (e) published an editorial advocating martyrdom; (f)

 assisted fundraising and encouraged donations to groups found to have

 supported Hamas; (g) allowed such groups to set up booths at conventions; (h)

 published documents designed to garner support for individuals affiliated with

 Hamas; (i) invited pro-Hamas speakers to attend conferences and conventions;

 and (j) ‘subtly’ praised terrorist activities by using terms such as “martyrs” and

 “freedom fighters.”287 These actions mirror the types of behavior exhibited by

 the Defendants. Similar to IAP and AMS in Boim, the Defendants desired to

 help Hamas’s activities to succeed by engaging in acts helping those activities

 succeed—sponsoring speakers who support Jihad, discuss ways to support the



       287 Boim v. QLI, 340 F. Supp. 2d at 908-912.




                                           -182-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 183 of 218 PageID 379




 resistance, publish on social media and in newsletters pro-Hamas documents

 and ideology, allow terrorist-affiliated groups to speak at conventions, publish

 the Toolkit, praise terrorist activities during protests, and much more.

       392. The Judge in Boim also found that while some of the Boim

 Defendants’ ideology and messaging may not in themselves violate the law,

 these were evidence of key elements of the Boims’ Section 2333 claim: “Of

 course, publishing documents in support of members of Hamas or in support

 of organizations or people known to support Hamas is not against the law. But

 all of this does tend to evidence a desire on the part of IAP to help Hamas

 succeed.”288 The Seventh Circuit confirmed that Boim Defendants provide

 material support to terrorist organizations, including Hamas.289 So while many

 of the Defendants’ ideology and messaging may not in themselves violate the

 law, they are nevertheless key elements of the Plaintiff’s section 2333 claim.

 All of the activities of the Defendants set forth in this complaint evidence the

 desire on the part of the Defendants to help Hamas succeed.

       393. Plaintiffs do not assert that Defendants are liable for endorsing

 any ideology, disseminating specific speech, or associating with particular

 individuals or organizations. Plaintiffs do not request that this Court suppress

 or limit any speech or association. The Defendants remain free to espouse their


       288 Boim v. QLI, 340 F. Supp. 2d at 911.

       289 Boim v. HLF, 549 F.3d at 700.




                                           -183-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 184 of 218 PageID 380




 Jew hatred and to applaud both the means and aims of Hamas. The crux of

 this case is that the Defendants’ ideology, messages, and actions closely align

 with those of Hamas, so much so that they share a common pursuit. Use of this

 evidence to demonstrate that the Defendants serve as arms of Hamas in the

 United States does not implicate the First Amendment here to any further

 extent than it did in the Boim Action. As Governor Ron Desantis stated when

 he called to ban SJP from college campuses in Florida following the publication

 of the Toolkit, “You have a right to go out and demonstrate, but you can’t

 provide material support to terrorism. They’ve linked themselves to Hamas …

 it’s not a first amendment issue. That’s a material support to terrorism

 issue.”290 National SJP claiming to be part of Hamas’s Operation Al-Aqsa Flood

 terror campaign in the Toolkit is not a free-speech issue; it is an admission by

 National SJP of being part of the Hamas conspiracy. All of the Defendants have

 likewise, through their words and actions, admitted to being part of the Hamas

 conspiracy.

        394. In Dr. Jonathan Schanzer’s testimony before the House Ways and

 Means Committee, he states:

        In short, individuals who previously worked for Hamas charities are
        now a driving force behind the large, pro-Hamas demonstrations taking

          Edward Helmore, Ron DeSantis defends call to ban pro-Palestinian groups from
        290

 Florida colleges, The Guardian, October 29, 2023, https://www.theguardian.com/us-
 news/2023/oct/29/ron-desantis-florida-colleges-pro-palestinian-groups-ban (last visited Jul 2,
 2024).


                                            -184-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 185 of 218 PageID 381




       place in major cities across America. This same network is also
       providing training, talking points, materials, and financial support to
       students intimidating and threatening Jewish and pro-Israel students
       on college campuses. Of course, every attendee of these rallies has a
       right to declare his or her political beliefs. But they also have the right
       to know who is behind this activity. The same goes for every state
       government, municipality, and university impacted by this recent surge
       in pro-Hamas activity.”291

       395. In October 2023, the ADL, along with a legal nonprofit called the

 Brandeis Center, sent a letter to nearly two hundred college presidents

 condemning SJP for its “pro-Hamas” and “violent anti-Israel” rhetoric stating,

 “SJP chapters are not advocating for Palestinian rights; they are celebrating

 terrorism.” It also urged colleges to investigate their SJP chapters for

 “potentially providing material support to Hamas.”292

       396. The United State Supreme court held in Holder v. Humanitarian

 Law Project that “the First Amendment does not protect political speech or

 expressive conduct that materially supports foreign terrorist organizations.”293

       397. The Court went on to state:

       Given the sensitive interests in national security and foreign affairs at
       stake, the political branches have adequately substantiated their
       determination that, to serve the Government’s interest in preventing
       terrorism, it was necessary to prohibit providing material support in the

       291      https://gop-waysandmeans.house.gov/wp-content/uploads/2023/11/Schanzer-
 Testimony.pdf
       292 Emma Green, How a Student Group Is Politicizing a Generation on Palestine, The

 New Yorker, December 15, 2023, https://www.newyorker.com/news/annals-of-education/how-
 a-generation-is-being-politicized-on-palestine (last visited Jul 2, 2024).
        293 Holder v. Humanitarian Law Project, 561 U.S. 1 (2010)




                                          -185-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 186 of 218 PageID 382




       form of training, expert advice, personnel, and services to foreign
       terrorist groups, even if the supporters meant to promote only the
       groups’ nonviolent ends…Given the purposes, organizational structure,
       and clandestine nature of foreign terrorist organizations, it is highly
       likely that any material support to these organizations will ultimately
       inure to the benefit of their criminal, terrorist functions—regardless of
       whether such support was ostensibly intended to support non-violent,
       non-terrorist activities.”294

       398. Congress made specific findings regarding the serious threat posed

 by international terrorism when it enacted the ATA and other such statutes,

 including that “foreign organizations that engage in terrorist activity are so

 tainted by their criminal conduct that any contribution to such an

 organization facilitates that conduct.” AEDPA §301(a)(7) (emphasis added).”295

       399. SJP’s various events and publications (including the Toolkit) and

 National SJP annual conferences over the course of the last decade and up

 until the present day fall within the purview of training and expert advice

 regarding the violent and terrorist mission of Hamas. These activities and

 statements have directly contributed to the promulgation and strengthening

 of Hamas’s agenda in the United States and to the recruitment of followers.

 This training and expert advice does not fall within the protections of the First

 Amendment but constitutes the conduct the government is seeking to prohibit

 in order to prevent material support of terrorism.


       294 Id.

       295 Holder v. Humanitarian Law Project, 561 U.S. 1 (2010)




                                          -186-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 187 of 218 PageID 383




       400. All of the material support that all of the Defendants have

 provided to Hamas, both before and after the October 7 Attacks, regardless of

 whether they were intended to support terrorist or non-terrorist activities,

 have ultimately inured to the benefit of Hamas and its terrorist agenda.


 Defendants Conspired With, Aided and Abetted, and Materially
 Supported Hamas
       401. Congress intended to provide litigants with “the broadest possible

 basis for relief under JASTA.” Atchley v. AstraZeneca UK Ltd., 22 F.4th 204

 (D.C. Cir. 2022). To that end, the statutory text is not confined to acts of

 international    terrorism      ‘committed’       by   designated         Foreign   Terrorist

 Organizations, but also reaches those committed by someone else if they

 were…’authorized’ by a designated group.” Id. The court in Atchley concluded

 that allegations of close integration and allegiance suffice to plausibly plead” a

 claim under JASTA.296

       402. As demonstrated in this Complaint, Defendants have close

 integration with and allegiance to Hamas. Defendants conspired with Hamas

 by supporting their terrorist agenda to annihilate the State of Israel and its

 residents by any means possible. Hamas led a conspiracy, the object of which

 was to commit terrorist attacks on Israeli civilians, including the October 7




       296 Atchley v. AstraZeneca UK Ltd., 22 F.4th 204 (D.C. Cir. 2022)




                                             -187-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 188 of 218 PageID 384




 Attacks (the “Hamas Conspiracy”). Defendants participated in and supported

 the Hamas Conspiracy in pursuit of the same object. At all times, Defendants

 shared the common goal of Hamas of destroying the State of Israel and injuring

 Israelis and Jews.

        403. From their creation, HLF, IAP, AMS, and AMP worked in tandem

 to support Hamas.297 These organizations are the continued implementation of

 a plan initiated over thirty-five years ago to support Hamas and introduce

 Hamas in the United States. At the 1993 Philadelphia meeting, Hamas-

 affiliated representatives in the U.S. discussed the need to garner support from

 the American Muslim community for Hamas with a nuanced approach:

        404. Omar Ahmed, head of IAP, stated, “We can’t, as an American

 organization, say we represent [Hamas].”

        405. Abu Baker, head of HLF, stated, “I swear by Allah that war is

 deception… we are fighting our enemy with a kind heart.…Deceive,

 camouflage, pretend that you’re leaving while you’re walking that way. Deceive

 your enemy.298 This was the inception of the Hamas conspiracy to secretly

 spread its terrorist web across the United States.



        297 See Boim v. QLI, 340 F. Supp. 2d at 909.

        298 The wiretaps of the Philadelphia meeting were introduced as evidence in the 2007

 Holy Land Foundation trial through dozens of separate documents, all publicly available (see
 NEFA Foundations’ website: http://www.nefafoundation.org/hlfdocs.html). LINK NOT
 FOUND


                                            -188-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 189 of 218 PageID 385




       406. Defendants AMP and AJP became the successors of IAP/AMS and

 HLF following the Boim Judgment and continue the same enterprise of

 sustaining Hamas in the United States and conspiring with Hamas.

 Defendants National SJP and SJP were established by Defendants AMP and

 USPCN to continue the same ongoing enterprise of IAP/AMS and HLF and

 AMP, but on a college level where they could infiltrate the minds of the young

 and easily influenced. This was facilitated by Defendants WOL and CodePink,

 and Defendants, Hatem Bazian, Osama Abuirshaid, Zarefah Baroud, Magdi

 Odeh, Rafeeq Jaber, Hatem Abudayyeh, Taher Herzallah, Saleh Sarsour,

 Shakeel Sayed, Munjed Ahmed, Nerdeen Kiswani, and Abdullah Akl. The

 youth and impressionability of college students was the perfect breeding

 ground to radicalize students and create a student arm to conspire with

 Hamas. The evidence shows a continuity of the enterprise and a unity of

 interest between all of the Defendants and Hamas.

       407. Defendants National SJP and SJP joined the Hamas Conspiracy

 in 2010 when National SJP was formed by Defendants AMP and USPCN at a

 conference sponsored by BNC. Just like their predecessor organizations, AMP

 and USPCN are affiliated with Hamas, along with BCN. AMP and USPCN are

 intermediaries between Hamas, National SJP, and SJP. The joining of

 Defendants, National SJP and SJP, into the Hamas Conspiracy was facilitated

 by Defendants, WOL and CodePink, and the twelve individual Defendants


                                     -189-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 190 of 218 PageID 386




 Hatem Bazian, Osama Abuirshaid, Zarefah Baroud, Magdi Odeh, Rafeeq

 Jaber, Hatem Abudayyeh, Taher Herzallah, Saleh Sarsour, Shakeel Sayed,

 Munjed Ahmed, Nerdeen Kiswani, and Abdullah Akl, who are also part of the

 Hamas Conspiracy by virtue of their active involvement with and support of

 Hamas.

       408. National SJP and SJP joined in the Hamas Conspiracy by holding

 annual conferences hosting Hamas-affiliated speakers and promoting Hamas

 violent propaganda, participating in Israel Apartheid Weeks, promoting BDS

 terrorist ideology, hosting anti-Israel speakers on college campuses who

 propound the violent destruction of Israel, and further indoctrinating students

 to be supportive of Hamas’s agenda.

       409. National SJP and SJP continued the Hamas Conspiracy after the

 October 7 Attacks by sharing videos of the October 7 Attacks legitimizing and

 glorifying the October 7 Attacks, posting propaganda on social media glorifying

 the October 7 Attacks, staging violent and intimidating protests on college

 campuses in support of Hamas, violently attacking Jewish students on college

 campuses, publishing The Day of Resistance Toolkit admitting that they are

 part of the conspiracy, hosting the Resistance 101 conference, and much more.

       410. SJP was ready with relevant material immediately after the

 October 7 Attacks, indicating they had prior advance warning of impending

 Hamas terrorism. National SJP and SJP, with the facilitation of all of the


                                       -190-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 191 of 218 PageID 387




 Defendants, knowingly conspired with Hamas, an organization engaged in

 terrorism. By participating in these acts, the Defendants assisted the Hamas

 Conspiracy’s objective to commit terrorist attacks in Israel and furthered the

 Hamas Conspiracy’s ultimate objective to carry out the October 7 Attacks. At

 all times, the Defendants had every intention for Hamas’s objectives to be

 achieved. Hamas committed an overt act in furtherance of the conspiracy when

 it perpetrated the October 7 Attacks.

       411. The Defendants engaged in activities, both before and after the

 October 7 Attacks, that lent legitimacy to Hamas, facilitating the Hamas

 Conspiracy’s ultimate objective to carry out the October 7 Attacks. The

 Defendants entered into the Hamas Conspiracy and acted in furtherance

 thereof in open, obvious, programmatic, and enduring ways for well over a

 decade.

       412. The Hamas Conspiracy involving Defendants did not happen in a

 vacuum. Terror organizations require extensive influence and a vast network

 to perpetrate abhorrent acts of terrorism. This wide web of terrorism is crucial

 for achieving their goals of intimidation, coercion, and influence.

       413. Over the last several years, Hamas has been planting seeds in the

 United States to serve these purposes. Each Defendant has been a part of and

 played a role in this wide web terrorism throughout the United States. Hamas




                                      -191-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 192 of 218 PageID 388




 recruited all of the Defendants to support its mass conspiracy to wreak terror

 against Israel culminating in the October 7 Attacks.

       414. “‘Material support’…helps lend legitimacy to foreign terrorist

 groups—legitimacy that makes it easier for those groups to persist, to recruit

 members, and to raise funds—all of which facilitate more terrorist attacks.”299

 Material support may take various forms.300 Defendants knowingly provided

 material support to Hamas by providing the platform, communication, public

 relations, and other material support within the United States, enabling

 Hamas to commit acts of terrorism, including the October 7 Attacks, followed

 by the receipt of worldwide support and validation for these terrorist acts or

 the denial of their atrocities. Defendants’ broad support, influence and

 activities act as a surrogate for Hamas, exerting political pressure, coercion

 and influence on the United States government and, by extension, on the State

 of Israel. This pressure and influence aim to prevent the release of hostages

 taken in the October 7 Attacks, maintain Hamas’s power, and allow Hamas to

 continue their atrocities, including the on-going rape and sexual violence

 against women hostages. Additionally, Defendants, National SJP and SJP

 serve Hamas’s agenda by terrorizing Jewish students on college campuses in

 the United States, indoctrinating students, promoting Jihad and advocating


       299 Id.

       300 United States v. Mehanna, 735 F.3d 32 (1st Cir. 2013)




                                           -192-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 193 of 218 PageID 389




 for the destruction of the State of Israel on college campuses, thereby extending

 Hamas’s influence across the United States.

       415. Defendants have knowingly materially supported Hamas by

 holding conferences hosting Hamas-affiliated speakers, promoting Hamas’s

 violent propaganda, indoctrinating students to be supportive of Hamas’s

 agenda, publishing videos of the October 7 Attacks glorifying Hamas, posting

 on social media support for Hamas and validation of the October 7 Attacks,

 promoting a Day of Resistance following the October 7 Attacks in support of

 Hamas, composing a Day of Resistance Toolkit legitimizing the October 7

 Attacks, ripping down hostage posters on college campuses, engaging in violent

 protests, violently attacking Jewish students on college campuses, and

 otherwise providing material support to Hamas in the United States with

 ripple effects abroad. Defendants’ material support of Hamas assisted Hamas

 in completing the commission of the October 7 Attacks and assisted Hamas in

 continuing its terrorist mission by holding and terrorizing hostages held in

 Gaza after the October 7 Attacks.

       416. Immediately      following   the    October   7    Attacks,   Hamas

 acknowledged its successful recruitment into its mass conspiracy and the

 material support it received by its co-conspirators.




                                      -193-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 194 of 218 PageID 390




   OCTOBER 7 ATTACKS’ IMPACT ON PLAINTIFFS AND DAMAGES

 Shnaider Plaintiff—Murdered Family; Kidnapped Mother, Father, and
 Two Babies—October 7, 2023
       417. At 6:30 AM on October 7, 2023, more than 150 terrorists infiltrated

 Kibbutz Nir Oz and committed horrific atrocities. Nearly 50 of the Kibbutz’s

 400 residents were horrifically murdered, about 70 hostages were taken and

 many homes were burned.

       418. Decedent, Margit Silverman, Maurice Shnaider’s sister, and her

 husband were murdered. The couple was initially assumed missing, as they

 were last seen being abducted from their home. But their bodies were later

 identified on October 21, 14 terrible days later.

       419. Margit’s son-in-law, Maurice Shnaider’s nephew-in-law, Yarden

 Bibas, was beaten and forcibly kidnapped from his home by Hamas into Gaza.

 A Hamas video circulated of Yarden with blood around his head, surrounded

 by terrorists. He remains in captivity, and it is unknown if he is alive or dead.

       420. Separately, Margit’s daughter, Maurice Shnaider’s niece, Shiri

 Bibas was taken hostage by Hamas into Gaza with her two babies Kfir (9

 months old at the time) and Ariel Bibas (then 4 years old). A video filmed by

 Hamas terrorists widely circulated with Shiri holding both boys in her arms.

 She looked terrified and was clearly trying to protect her babies with her body.

 On November 29, 2023, as part of ongoing psychological warfare, Hamas



                                       -194-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 195 of 218 PageID 391




 claimed Shiri Bibas and her two babies were killed, but never provided any

 proof of death. The State of Israel and their family continue to assume they are

 alive until proven otherwise.

       421. Plaintiff, Maurice Shnaider, is devastated and traumatized by the

 death of his sister and his brother-in-law, the lengthy waiting period he

 endured until he received confirmation of their deaths, and the horrific

 abduction and continued captivity of his niece, nephew and great-nephews.

 The plaintiff suffered emotional and psychological injuries as a result of the

 attack.


 Rom Plaintiffs—Supernova Rave Festival Massacre--October 7, 2023
       422. Decedent Jonathan Rom a/k/a Yonatan Rom was attending the

 Supernova Rave festival at Kibbutz Re’im on the morning of October 7, 2023.

       423. When Hamas terrorists began infiltrating the festival grounds

 during their attack, decedent Jonathan Rom broke away from the other festival

 goers who were attempting to flee in order to assist a friend who was

 experiencing a panic attack.

       424. While Jonathan attempted to calm his friend down and escape,

 both he and his friend were shot by terrorists who opened fire on them.

       425. Plaintiffs, his family members, were devastated to learn that their

 son and brother had been killed. They suffered severe psychological and

 emotional injuries as a result of the attack.

                                       -195-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 196 of 218 PageID 392




 Halley Plaintiffs—Supernova Rave Massacre—October 7, 2023
       426. Plaintiff Ethan Halley a/k/a Eitan Halley was attending the

 Supernova Rave festival at Kibbutz Re’im on the morning of October 7, 2023.

       427. At 6:30 AM on the morning of October 7, 2023, Ethan Halley and

 other festival goers saw rockets overhead and went to a nearby bomb shelter.

       428. As Hamas terrorists began infiltrating the festival grounds, the

 shelter the Plaintiff was in was bombarded by terrorist grenades, guns, RPG

 rockets, etc.

       429. Ethan Halley watched as his friends were killed around him or

 taken hostage. When terrorists came in to inspect the bodies left in the shelter,

 Ethan Halley pretended to be dead for hours under and near the bodies of his

 friends.

       430. Ethan Halley suffered severe physical injuries, with shrapnel

 lodged in various parts of his body, including his lungs.

       431. Ethan Halley was eventually rescued by the Israel Defense Forces

 and taken to Soroka Medical Center to receive treatment.

       432. The Plaintiff suffered severe physical, psychological and emotional

 injuries as a result of the attacks. Plaintiffs Adam Fischer Halley, Wendy

 Kessler Halley, Boaz Kessler Halley, Sadie Kessler Halley, Jane Kessler and

 Robert Kessler, suffered severe psychological and emotional injuries from the

 attack in which their son, brother and grandson was injured.


                                      -196-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 197 of 218 PageID 393




 Lubin Plaintiffs—Terrorist Stabbing—November 6, 2023
       433. On the morning of October 7, Rose Ida Lubin, decedent, was off

 duty on Kibbutz Sa’ad at the home of her adopted family for the holiday of

 Simhat Torah. When terrorists broke into the kibbutz, Rose grabbed her

 weapon and fought the terrorists. She fought fiercely throughout the day until

 she was called back to Jerusalem and ordered to take up her duties with the

 Israeli Border Police.

       434. Having survived the horrific Hamas terror attack of October 7,

 2023, Rose was tragically murdered by terrorists on November 6, 2023.

       435. On the morning of November 6, 2023, decedent Sergeant Rose Ida

 Lubin, who was serving in the Israel Border Police, was patrolling near Herod’s

 Gate, outside Jerusalem’s Old City. While patrolling, Rose Ida Lubin and

 another officer were attacked and stabbed by a 16-year-old terrorist.

       436. Decedent Rose Ida Lubin was treated on site by Magen David

 Adom paramedics and then rushed to Hadassah-University Medical Center in

 Jerusalem for treatment, where she succumbed to her injuries and died.

       437. Decedent was killed in an extrajudicial killing by a terrorist from,

 or supported by, a specifically designated global terrorist organization.

       438. Plaintiffs Hal David Lubin, Robin Lynn Lubin, Alec Meyer Lubin,

 L.Z.L., J.H.L., I.E.L., Eve Lapides Lubin Marx, Nathan G. Lubin, and Alan

 Howard Halpern were devastated to learn that their daughter, sister, and


                                      -197-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 198 of 218 PageID 394




 granddaughter had been killed. They suffered severe psychological and

 emotional injuries as a result of the attack.


 Saadon Plaintiffs—Killed Defending Others—October 7, 2023
       439. On the morning of October 7, 2023, decedent Hallel Shmuel

 Saadon, a staff sergeant in the Israel Defense Forces, was stationed in

 southern Israel near Kibbutz Safa.

       440. In the early morning, terrorists began invading near where he was

 stationed and Hallel Shmuel Saadon, along with the other soldiers attempted

 to defend against the onslaught of attacks from the Hamas terrorists.

       441. Decedent Hallel Shmuel Saadon was then killed in an extrajudicial

 killing during a terrorist attack by specifically designated global terrorist

 organization Hamas, while attempting to protect other civilians and soldiers.

       442. Plaintiffs, his family members, were devastated to learn that their

 son, brother, grandson, and great-grandson had been killed. They suffered

 severe psychological and emotional injuries as a result of the attack.


 Zenilman Plaintiffs—Killed in Action —December 10, 2023
       443. Decedent Ari Zenilman was called for reserve duty in the Israel

 Defense Forces on October 7, 2023, when more than three thousand terrorists

 from the Gaza Strip infiltrated Israel through its southern security fence and

 brutally massacred and tortured thousands of civilians.



                                       -198-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 199 of 218 PageID 395




       444. Ari Zenilman quickly said goodbye to his wife and three young

 children and headed south to join his unit. Two months later, Ari Zenilman

 was still serving in reserves duty on December 10, 2023, when he was attacked

 in Gaza by terrorists from specifically designated global terrorist organization

 Hamas and was killed in an extrajudicial killing.

       445. Plaintiffs, Yonah Chava Landau Zenilman, A.D.Z., T.C.Z., M.N.Z.,

 Lisa Marta Weinsoff, Robert Alan Zenilman, Eli Dov Weinsoff Zenilman,

 Yonatan Meir Weinsoff Zenilman, Eitan Pinchas Zenilman, and Shira Ronit

 Zenilman Brull suffered severe psychological and emotional injuries from the

 attack in which, their husband, father, son, and brother was killed.


 Margulies Plaintiffs—Injured in Action
       446. Plaintiff Isaac Margulies was serving in the Israel Defense Forces

 when he was attacked in an extrajudicial attack in Gaza by terrorists from

 specifically designated global terrorist organization Hamas and badly injured.

       447. Isaac Margulies received treatment for his injuries, including

 burns, broken bones, and shrapnel injuries, at Rabin Medical Center.

       448. Plaintiff Isaac Margulies suffered severe physical, psychological,

 and emotional injuries as a result of the attack. In addition, Plaintiffs Jacob

 Margulies, Ellyn Margulies, Simon Margulies, and Asher Solomon Margulies,

 suffered severe psychological and emotional injuries from the attack in which,

 their son and brother were injured.

                                       -199-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 200 of 218 PageID 396




 Merkin Plaintiffs —Car Ramming Terror Attack in Raanana—Jan 15,
 2024
       449. At around 1:30 pm on Jan 15, 2024, two terrorists stole several

 vehicles and began ramming and stabbing pedestrians in multiple locations

 around the city of Raanana.

       450. At around 1:40 pm, Plaintiff I.T.M. was waiting at the bus stop for

 his bus home from school at the intersection of Ahuza Street and Jerusalem

 Street in Raanana when one of the terrorists, rammed his car into the group

 waiting at the stop. Plaintiff I.T.M. was struck by the terrorist’s car and flung

 into the air.

       451. Plaintiff I.T.M. lost consciousness and received severe lacerations

 on his right side and very deep bruising. Plaintiff I.T.M. had to use crutches

 for the next five weeks and was unable to return to usual physical activities

 even until today.

       452. Plaintiff I.T.M. suffered severe physical, psychological, and

 emotional injuries as a result of the attack. Plaintiffs Nicholas Albert Merkin,

 Sharon Celine Stein, Jonathan Dov Merkin, and Eytan Louis Merkin, suffered

 severe psychological and emotional injuries from the attack in which their son

 and brother was injured.




                                      -200-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 201 of 218 PageID 397




                                CLAIMS FOR RELIEF

                             FIRST CAUSE OF ACTION
     Violation Of the Anti-Terrorism Act, 18 U.S.C. § 2333(a) and (d)
             [Conspiracy Liability, Against All Defendants]

        453. Plaintiffs repeat and re-allege each of the foregoing allegations

 with the same force and effect as if more fully set forth herein.

        454. JASTA imposes secondary civil liability on anyone “who conspires

 with the person who committed…an act of terrorism.” 18 U.S.C. § 2333(d)(2).

 Secondary liability “reaches persons who do not engage in the proscribed

 activities at all, but who give a degree of aid to those who do.”301

        455. Hamas has been and continues to be a Foreign Terrorist

 Organization.

        456. Hamas committed, planned, and authorized activities—including

 the October 7 Attacks—which involved violent acts and acts dangerous to

 human life that violated the criminal laws of the United States or would have

 violated those laws had they been committed within the jurisdiction of the

 United States or of any State.

        457. The acts Hamas committed, planned, and authorized were

 intended: (a) to intimidate or coerce the civilian populations of Israel and the



        301 Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164,

 176 (1994).


                                            -201-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 202 of 218 PageID 398




 United States; (b) to influence the policy of Israel and the United States by

 intimidation and coercion; and (c) to affect the conduct of the Israeli and United

 States governments by mass destruction, assassination, and kidnapping.

       458. At all relevant times to this action, Defendants knew that Hamas

 is a Foreign Terrorist Organization engaging in illegal acts of terrorism.

       459. Defendants knowingly conspired, directly and indirectly, with

 Hamas to facilitate its operations in committing, planning, or authorizing acts

 of international terrorism, including acts that caused the Plaintiffs to be

 injured in his or her person and property. Hamas acted overtly in support of

 the conspiracy through, at least, the commissions of the October 7 Attacks.

       460. Defendants entered into a conspiracy with one another and with

 Hamas to further its murderous agenda and decades of terrorist attacks,

 including the perpetration of the October 7 Attacks that injured and killed

 Plaintiffs and their family members. Defendants furthered Hamas’s agenda by

 providing material support to Hamas in the United States with ripple effects

 abroad, by establishing and serving as the U.S. student arms of Hamas,

 providing essential platforms, communications, and public relations within the

 United States which enables Hamas to commit acts of terrorism, including the

 October 7 Attacks, and by fomenting further encouragement and support for

 Hamas since October 7, 2023.




                                       -202-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 203 of 218 PageID 399




       461. At all times, Defendants were and continue to be engaged in a

 common pursuit with Hamas and shared its objectives. Each of the Defendants

 furthered the conspiracy and shared the same object as Hamas through their

 knowing direct and/or indirect participation in Hamas’s broad, coordinated,

 global campaign to destroy the state of Israel by committing acts of violence

 and terrorism, including the October 7 Attacks.

       462. Each of the Defendants specifically intended for Hamas to commit

 violent acts of terrorism against Israelis and Israeli-Americans and were one

 in spirit with the terrorists, as evidenced throughout this Complaint. Each of

 the Defendants intended for Hamas to achieve the object of the conspiracy and

 kill as many Israelis and Jews as possible, including the October 7 Attacks.

       463. Defendants’ hate for Israel and support for the object of the

 conspiracy has been openly promulgated for years and even more so since the

 October 7 Attacks.

       464. Each Defendant knew that the objective of the conspiracy was to

 facilitate terrorist attacks against Israelis and Israeli-Americans, including

 the October 7 Attacks.

       465. The October 7 Attacks was a foreseeable act in furtherance of this

 conspiracy that caused Plaintiffs’ injuries.

       466. Plaintiffs were injured in their persons, properties, and/or

 businesses by reason of Hamas’s acts of terrorism, including the October 7


                                       -203-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 204 of 218 PageID 400




 Attacks. Plaintiffs suffered economic, physical, and emotional injuries

 proximately caused by the October 7 Attacks; are survivors and/or heirs of U.S.

 nationals who suffered such injuries; or both.

       467. Defendants are liable pursuant to 18 U.S.C. § 2333(d) for threefold

 any and all damages that the Plaintiffs have sustained as a result of such

 injuries, and the costs of this suit, including attorney’s fees, pursuant to 18

 U.S.C.§ 2333(a).


                        SECOND CAUSE OF ACTION
     Violation Of the Anti-Terrorism Act, 18 U.S.C. § 2333(a) and (d)
        [Aiding and Abetting Liability, Against All Defendants]

       468. Plaintiffs repeat and re-allege each of the foregoing allegations

 with the same force and effect as if more fully set forth herein.

       469. The Justice Against Sponsors of Terrorism Act (“JASTA”) imposes

 secondary civil liability on anyone “who aids and abets, by knowingly providing

 substantial assistance, or who conspires with the person who committed such

 an act of international terrorism.” 18 U.S.C. § 2333(d)(2).

       470. Hamas has been and continues to be a Foreign Terrorist

 Organization.

       471. Hamas committed, planned, and authorized activities—including

 the October 7 Attacks—which involved violent acts and acts dangerous to

 human life that violated the criminal laws of the United States or would have


                                      -204-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 205 of 218 PageID 401




 violated those laws had they been committed within the jurisdiction of the

 United States or of any State.

       472. The acts Hamas committed, planned, and authorized were

 intended: (a) to intimidate or coerce the civilian populations of Israel and the

 United States; (b) to influence the policy of Israel and the United States by

 intimidation and coercion; and (c) to affect the conduct of the Israeli and United

 States governments by mass destruction, assassination, and kidnapping.

       473. The activities committed, planned, or authorized by Hamas

 occurred entirely or primarily outside of the territorial jurisdiction of the

 United States and constituted acts of international terrorism as defined in 18

 U.S.C. § 2331(1).

       474. At all relevant times to this action, Defendants knew that Hamas

 is a Foreign Terrorist Organization engaging in illegal acts of terrorism.

       475. Defendants knowingly provided substantial assistance and

 encouragement to Hamas in the furtherance of its murderous agenda,

 including the perpetration of the October 7 Attacks that injured and killed

 Plaintiffs and their family members, and thus aided and abetted Hamas in

 committing, planning, or authorizing international acts of terrorism, including

 the acts that injured Plaintiffs.

       476. Defendants aided and abetted the commission of Hamas’s acts of

 terrorism by establishing and serving as the U.S. student arms of Hamas,


                                       -205-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 206 of 218 PageID 402




 providing essential platforms, communications, and public relations within the

 United States, acting as a surrogate for Hamas, exerting political pressure,

 coercion, and influence on the United States government and, by extension,

 the State of Israel. Defendants aided and abetted the commission of Hamas’s

 acts of terrorism by helping Hamas maintain its power, conceal its diversion of

 hundreds of millions of dollars in aid intended for Gazan civilians, and allow

 Hamas to perpetrate and continue their atrocities. Additionally, Defendants

 serve and continue to serve Hamas’s agenda by encouraging and perpetrating

 the terrorizing of Jewish students on college campuses, promoting Jihad,

 supporting boycott initiatives, and advocating for the destruction of the State

 of Israel, thereby extending and strengthening Hamas’s influence within the

 United States.

       477. Plaintiffs were injured in their persons, properties, and/or

 businesses by reason of Hamas’s acts of terrorism, including the October 7

 Attacks. Plaintiffs suffered economic, physical, and emotional injuries

 proximately caused by the October 7 Attacks; are survivors and/or heirs of U.S.

 nationals who suffered such injuries; or both.

       478. Defendants are liable pursuant to 18 U.S.C. § 2333(d) for threefold

 any and all damages that the Plaintiffs have sustained as a result of such

 injuries, and the costs of this suit, including attorney’s fees, pursuant to 18

 U.S.C.§ 2333(a).


                                      -206-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 207 of 218 PageID 403




                             THIRD CAUSE OF ACTION
   Violation of The Anti-Terrorism Act, 18 U.S.C. § 2339B and § 2333(a)
           [Material Support Liability, Against All Defendants]

        479. Plaintiffs repeat and re-allege each of the foregoing allegations

 with the same force and effect as if more fully set forth herein.

        480. Each of the Defendants knowingly (or with willful blindness)

 provided material support to Hamas, a foreign terrorist organization as

 defined in 18 U.S.C. §2339B. At all relevant times, Defendants had knowledge

 of Hamas’s connection to terrorism.302

        481. Providing material support to Hamas in violation of 18 U.S.C.

 §2339B also constitutes acts of international terrorism pursuant to 18 U.S.C.

 § 2331(1).303

        482. At all relevant times, Defendants knew of Hamas’s terrorist

 activities. Defendants also knew that Hamas had been designated a Foreign

 Terrorist Organization (“FTO”) by the United States Government.


        302 Holder v. Humanitarian Law Project ( HLP ), 561 U.S. 1, 130 S.Ct. 2705 (2010)

 explains that a specific intent to advance the organization’s terrorist activities is not
 essential, just that the aid be intentional.
        303 See Crosby v. Twitter, Inc., 921 F.3d 617, 622 (6th Cir. 2019) (“Under 18 U.S.C.

 § 2339B(a)(1), it is a crime to provide material support to a foreign terrorist organization.
 And if that material support also qualifies as an act of ‘international terrorism’ under 18
 U.S.C. § 2331(1), a plaintiff can recover for injuries that occurred ‘by reason of’ the
 defendant’s conduct. 18 U.S.C.§ 2333(a).”); Boim v. Quranic Literacy Inst., 291 F.3d 1000,
 1015 (7th Cir. 2002) (“If the plaintiffs could show that [defendants] violated either section
 2339A or section 2339B, that conduct would certainly be sufficient to meet the definition of
 ‘international terrorism’ under sections 2333 and 2331.”).


                                            -207-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 208 of 218 PageID 404




       483. Defendants provided material support to Hamas by establishing

 and serving as the U.S. student arms of Hamas, providing essential platforms,

 communications, and public relations within the United States which enable

 Hamas to commit acts of terrorism, including the October 7 Attacks, followed

 by the receipt of worldwide support and validation for these terrorist acts or

 the denial of their atrocities. Defendants’ support and influence, including by

 acting as a surrogate for Hamas, exerted political pressure, coercion, and

 influence on the United States government and, by extension, the State of

 Israel. This pressure and influence helped maintain Hamas’s power, conceal

 Hamas’s diversion of hundreds of millions of dollars in aid intended for Gazan

 civilians, and allow Hamas to perpetrate and continue their atrocities.

 Additionally, Defendants serve and continue to serve Hamas’s agenda by

 encouraging and perpetrating the terrorizing of Jewish students on college

 campuses, promoting Jihad, supporting boycott initiatives, and advocating for

 the destruction of the State of Israel, thereby extending and strengthening

 Hamas’s influence within the United States.

       484. Providing material support to Hamas in violation of 18 U.S.C.

 §2339B constituted acts of international terrorism pursuant to 18 U.S.C.

 § 2331(1), and Plaintiffs are entitled to recover economic and non-economic

 damages under 18 U.S.C. § 2333(a). As a result of Defendants’ liability under




                                     -208-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 209 of 218 PageID 405




 18 U.S.C. § 2333(d), Plaintiffs are entitled to recover economic and non-

 economic damages, including solatium damages.

                              JURY TRIAL DEMAND

          The Plaintiffs demand a trial by jury.

                               PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs request that the Court:

          a.    Enter judgment against Defendants finding them jointly and

 severally liable under the Anti-Terrorism Act, 18 U.S.C. § 2333;

          b.    Awarding Plaintiffs compensatory and punitive damages to the

 maximum extent permitted by law, and treble any compensatory damages

 awarded under the Anti-Terrorism Act pursuant to 18 U.S.C. § 2333(a);

          c.    Award Plaintiffs their attorney’s fees and costs incurred in this

 action, pursuant to 18 U.S.C. § 2333(a);

          d.    Enter an order declaring that the Defendants have violated, and

 are continuing to violate, the Antiterrorism Act, 18 U.S.C. § 2331 et seq.;

          e.    Leave to amend this Complaint as the interests of justice may

 allow;

          f.    Trial by jury on all issues so triable; and

          g.    Granting any and all such further relief as the Court may deem

 just and proper.




                                          -209-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 210 of 218 PageID 406




 Dated: July 15, 2024

                                    THE BERKMAN LAW OFFICE, LLC
                                    Attorneys for Plaintiffs

                                    by:
                                          Robert J. Tolchin

                                    829 East 15th Street, Box 7
                                    Brooklyn, New York 11230
                                    (718) 855-3627
                                    rtolchin@berkmanlaw.com




                                     -210-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 211 of 218 PageID 407




                       EXHIBIT 1—
       DEFENDANTS STUDENTS FOR JUSTICE IN PALESTINE
                       CHAPTERS

 American University SJP
 Arizona State University SJP
 Atlanta University Center Consortium SJP
 Bard College SJP
 Benedictine University SJP
 Boston University SJP
 Boston College SJP
 Bowdoin College SJP
 Brandeis University SJP
 Brown University SJP
 Bryn Mawr College Bi-Co SJP
 Butler University SJP
 Cal Poly Pomona SJP
 Caltech SJP
 Carleton College SJP
 Case Western Reserve University SJP
 Central Connecticut State University SJP
 Champlain College SJP
 Chapman University SJP
 Claremont Colleges—System SJP
 Clark University SJP
 Cleveland State University SJP
 Colgate University SJP
 College of DuPage SJP
 College of New Jersey SJP
 College of William and Mary SJP
 Colorado College SJP
 Colorado State University—Colostate SJP
 Columbia College Chicago SJP
 Columbia University/Barnard College SJP
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 212 of 218 PageID 408




 CSU East Bay - Hayward SJP
 CSU Fullerton SJP
 CSU Long Beach SJP
 Cornell University SJP
 CSU Los Angeles SJP
 CSU Northridge SJP
 CSU Sacramento SJP
 CSU San Bernadino SJP
 CUNY Baruch College SJP
 CUNY Brooklyn College SJP
 Brooklyn Law SJP
 CUNY City College SJP
 CUNY College of Staten Island SJP
 CUNY Hunter College - Palestine Solidarity Alliance at Hunter
 CUNY John Jay College SJP
 CUNY Lehman College SJP
 CUNY New York City College of Technology (City Tech) SJP
 CUNY Queens College SJP
 CUNY School of Law SJP
 Denison University SJP
 DePaul University SJP
 Drew University SJP
 Drexel University SJP
 Duke University SJP
 Earlham College SJP
 Emerson College SJP
 Evergreen State SJP
 Emory University SJP
 Fairleigh Dickinson University SJP
 Florida Atlantic University SJP
 Florida International University SJP
 Florida State University SJP
 Fordham University SJP
 Graduate SJP at Fordham University


                                      -2-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 213 of 218 PageID 409




 George Mason University SJP
 George Washington University SJP
 George Washington Law SJP
 Georgetown University SJP
 Georgetown University Law SJP
 Georgia State University SJP
 Governors State University SJP
 Grand Valley State University SJP
 Grinnell College SJP
 Harvard University - Palestine Solidarity Committee
 Haverford College - Bi-Co Students for Justice in Palestine
 Howard University SJP
 Illinois Institute of Technology SJP
 Irvine Valley College SJP
 John Carroll University SJP
 Johns Hopkins University SJP
 Kalamazoo College SJP
 Kent State University SJP
 Kenyon College SJP
 Lafayette College SJP
 Louisiana State University SJP
 Loyola Marymount University SJP
 Loyola Marymount - Law Students for Justice in Palestine LLS
 Loyola University Chicago SJP
 Marquette University SJP
 Miami University Ohio SJP
 Middlebury College SJP
 Montclair State University SJP
 Moorpark College SJP
 Moraine Valley Community College SJP
 Mt. Holyoke College SJP
 New York University SJP
 NYU Law SJP
 Northeastern University SJP


                                      -3-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 214 of 218 PageID 410




 Northeastern University School of Law SJP
 Northern Arizona University SJP
 Northwestern University SJP
 Oakland University SJP
 Occidental College SJP
 Ohio State University SJP
 Moritz Law SJP at The Ohio State University
 Old Dominion University SJP
 Pennsylvania State University SJP
 Princeton University SJP
 Purdue University SJP
 Reed College SJP
 Rhode Island School of Design SJP
 Rice University SJP
 Rowan University SJP
 Rutgers University - New Brunswick SJP
 Rutgers University—Newark - SJP
 Salem State University SJP
 San Diego State University SJP
 San Francisco State University -General Union of Palestinian Students
 (GUPS)
 San Jose State University SJP
 Sarah Lawrence College SJP
 School of Visual Arts SJP
 School of the Art Institute of Chicago SJP
 Seattle University SJP
 Shenandoah University SJP
 Spelman College SJP
 Stanford University SJP
 SUNY Binghamton SJP
 St. Cloud State University SJP
 St. John’s University SJP
 St. Xavier University SJP
 SoCal SJP


                                      -4-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 215 of 218 PageID 411




 Southern Illinois University SJP
 Stockton University SJP
 Suffolk University SJP
 SUNY Fashion Institute of Technology SJP
 SUNY Stony Brook SJP
 Swarthmore College SJP
 Temple University SJP
 Texas Tech University SJP
 The New School SJP
 Tufts University SJP
 Tulane University SJP
 University of Akron SJP
 University of Arizona SJP
 University of California Berkeley Law SJP
 University of California Berkeley - Bears for Palestine
 UC Berkeley Graduate SJP
 University of California Davis SJP
 University of California Irvine SJP
 University of California Irvine Law Students for Justice in Palestine at UCI
 Law
 University of California Los Angeles SJP
 University of California Los Angeles - Graduate Students for Justice in
 Palestine (GSJP) at UCLA
 University of California Los Angeles SJP at UCLA Law
 University of California Riverside SJP
 University of California San Diego SJP
 University of California Santa Barbara SJP
 University of California Santa Cruz SJP
 University of Central Florida SJP
 University of Chicago SJP
 University of Cincinnati SJP
 University of Colorado Boulder SJP
 University of Connecticut SJP
 University of Delaware SJP


                                      -5-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 216 of 218 PageID 412




 University of Denver SJP
 University of Detroit Mercy SJP
 University of Florida, Gainesville SJP
 University of Georgia SJP
 University of Hawaii Manoa - Students and Faculty for Justice in Palestine
 at the U of Hawaii
 University of Houston SJP
 University of Houston, Clear Lake SJP
 University of Illinois Urbana Champaign SJP
 University of Illinois at Chicago SJP
 University of Louisville SJP
 University of Maryland SJP
 University of Mary Washington SJP
 University of Maryland Baltimore County SJP
 University of Massachusetts Amherst SJP
 University of Massachusetts Boston SJP
 University of Massachusetts Lowell SJP
 University of Michigan Law SJP
 University of Michigan—Dearborn SJP
 University of Minnesota Twin Cities SJP
 University of Nebraska, Lincoln SJP
 University of Nebraska, Omaha SJP
 University of North Carolina Chapel Hill SJP
 University of Oregon SJP
 University of Richmond SJP
 University of Rochester SJP
 University of San Diego SJP/Palestine Solidarity Committee
 University of South Carolina SJP
 University of South Florida SJP
 University of Southern California SJP
 University of Texas Arlington SJP
 University of Texas Austin- Palestine Solidarity Committee
 University of Texas Dallas SJP
 University of Texas San Antonio SJP


                                      -6-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 217 of 218 PageID 413




 University of Texas San Antonio Palestine Solidarity Committee
 University of Toledo SJP
 University of Vermont SJP
 University of Virginia SJP
 University of Wisconsin, Madison SJP
 University of Wisconsin, Milwaukee SJP
 Vanderbilt University SJP
 Vassar College SJP
 Virginia Commonwealth University SJP
 Wayne State University SJP
 Wellesley College SJP
 Wesleyan University SJP
 Whitman College SJP
 William & Mary SJP
 William Paterson University SJP
 Williams College SJP
 Yale University SJP
 Yale Law SJP
 Youngstown State University SJP




                                      -7-
Case 8:24-cv-01067-MSS-SPF Document 6 Filed 07/15/24 Page 218 of 218 PageID 414




                          EXHIBIT 2—
            ORGANIZATIONS REFERENCED IN COMPLAINT

 American Muslims for Palestine (“AMP”);
 Americans for Justice in Palestine Educational Foundation (“AJP”);
 U.S. Palestinian Community Network (“USPCN”);
 National Students for Justice in Palestine (“National SJP”);
 Students for Justice in Palestine chapters (“SJP”);
 Within Our Lifetime (“WOL”)
 CodePink (“CodePink”)
 Palestine Liberation Organization (“PLO”);
 Palestinian Authority (“PA”);
 Popular Front for the Liberation of Palestine (PFLP);
 Palestinian Islamic Jihad (PIJ);
 United Nations Relief and Work Agency for Palestine Refugees in the Near
 East (“UNRWA”);
 Palestinian National and Islamic Forces (“PNIF”);
 Palestinian Campaign for the Academic and Cultural Boycott of Israel
 (“PACBI”);
 Boycott Divestment and Sanctions (“BDS”);
 Palestinian BDS National Committee (“BNC”);
 Holy Land Foundation for Relief and Development (“HLF”);
 American Muslim Society (“AMS”);
 Islamic Association for Palestine (“IAP”, together with AMS, “IAP/AMS”);
 KindHearts for Charitable Relief and Development (“KindHearts”);
 Americans for Justice in Palestine (“AJP”);
 Unlimited Friends Association for Social Development (“UFA”);
 Westchester People’s Action Coalition Foundation (“Wespac”);
 Within Our Lifetime (“WOL”);
 Anti-Defamation League (“ADL”);
 Israel from Resistance News Network (“RNN”).
